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                                    BlueChoice·
                                                                     Option


                        MEDICAL BENEFIT BOOKLET

                                                         FOR


                                      HOUSTON COUNTY BOC



                                               Administered By




                           Anthem+.I     Anthem Blue Cross and Blue Shield is the trade name of Blue Cross Blue
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                                         Cross and Blue Shield Association. ANTHEM is a registered trademark of
                                                           Anthem Insurance Companies, Inc.



 Si necesita ayuda en español para entender este documento, puede solicitarla sin costo adicional, llamando al
                                        número de servicio al cliente.



If you need Spanish-language assistance to understand this document, you may request it at no additional cost by calling
                        Member Services at the number on the back of your Identification Card.


                                                                                              02/23/2021
Effective 01/01/2019
                                                                                          Kenneth Carter

                                                                                          EXHIBIT 1
ASO.POS-01.01.19

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  Federal Patient Protection and Affordable Care Act Notices
Choice of Primary Care Physician
The Plan generally allows the designation of a Primary Care Physician (PCP). You have the right to
designate any PCP who participates in the Claims Administrator’s network and who is available to accept
you or your family members. For information on how to select a PCP, and for a list of PCPs, contact the
telephone number on the back of your Identification Card or refer to the Claims Administrator’s website,
www.anthem.com. For children, you may designate a pediatrician as the PCP.

Access to Obstetrical and Gynecological (ObGyn) Care
You do not need prior authorization from the Plan or from any other person (including a PCP) in order to
obtain access to obstetrical or gynecological care from a health care professional in the Claims
Administrator’s network who specializes in obstetrics or gynecology. The health care professional,
however, may be required to comply with certain procedures, including obtaining prior authorization for
certain services or following a pre-approved treatment plan. For a list of participating health care
professionals who specialize in obstetrics or gynecology, contact the telephone number on the back of
your Identification Card or refer to the Claims Administrator’s website, www.anthem.com.




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                              Additional Federal Notices
Statement of Rights under the Newborns’ and Mother’s Health
Protection Act
Group health plans and health insurance issuers generally may not, under Federal law, restrict benefits
for any Hospital length of stay in connection with childbirth for the mother or newborn child to less than 48
hours following a vaginal delivery, or less than 96 hours following a cesarean section. However, Federal
law generally does not prohibit the mother’s or newborn’s attending Provider, after consulting with the
mother, from discharging the mother or her newborn earlier than 48 hours (or 96 hours as applicable). In
any case, plans and issuers may not, under Federal law, require that a provider obtain authorization from
the Plan or the insurance issuer for prescribing a length of stay not in excess of 48 hours (or 96 hours).

Mental Health Parity and Addiction Equity Act
The Mental Health Parity and Addiction Equity Act provides for parity in the application of aggregate
treatment limitations (day or visit limits) on mental health and substance abuse benefits with dollar limits
or day/visit limits on medical/surgical benefits. In general, group health plans offering mental health and
substance abuse benefits cannot set day/visit limits on mental health or substance abuse benefits that
are lower than any such day or visit limits for medical and surgical benefits. A plan that does not impose
day or visit limits on medical and surgical benefits may not impose such day or visit limits on mental
health and substance abuse benefits offered under the Plan. Also, the Plan may not impose Deductibles,
Copayment, Coinsurance, and out of pocket expenses on mental health and substance abuse benefits
that are more restrictive than Deductibles, Copayment, Coinsurance, and out of pocket expenses
applicable to other medical and surgical benefits. Medical Necessity criteria are available upon request.

Coverage for a Child Due to a Qualified Medical Support Order
(“QMCSO”)
If you or your spouse are required, due to a QMCSO, to provide coverage for your child(ren), you may
ask your Employer or Plan Administrator to provide you, without charge, a written statement outlining the
procedures for getting coverage for such child(ren).

Statement of Rights Under the Women’s Cancer Rights Act of 1998
If you have had or are going to have a mastectomy, you may be entitled to certain benefits under the
Women’s Health and Cancer Rights Act of 1998 (WHCRA). For individuals receiving mastectomy-related
benefits, coverage will be provided in a manner determined in consultation with the attending Physician
and the patient, for:
 All stages of reconstruction of the breast on which the mastectomy was performed;
 Surgery and reconstruction of the other breast to produce a symmetrical appearance;
 Prostheses; and
 Treatment of physical complications of the mastectomy, including lymphedema.

These benefits will be provided subject to the same Deductibles and Coinsurance applicable to other
medical and surgical benefits provided under this Plan. (See the “Schedule of Benefits” for details.) If you
would like more information on WHCRA benefits, call the number on the back of your Identification Card.




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Special Enrollment Notice
If you are declining enrollment for yourself or your Dependents (including your spouse) because of other
health insurance coverage, you may in the future be able to enroll yourself or your Dependents inthis
Plan, if you or your Dependents lose eligibility for that other coverage (or if the employer stops
contributing towards your or your Dependents’ other coverage). However, you must request enrollment
within 31 days after your or your Dependents’ other coverage ends (or after the employer stops
contributing toward the other coverage).

In addition, if you have a new Dependent as a result of marriage, birth, adoption, or placement for
adoption, you may be able to enroll yourself and your Dependents. However, you must request
enrollment within 31 days after the marriage, birth, adoption, or placement for adoption.

Eligible Subscribers and Dependents may also enroll under two additional circumstances:

   The Subscriber’s or Dependent’s Medicaid or Children’s Health Insurance Program (CHIP) coverage
    is terminated as a result of loss of eligibility; or
   The Subscriber or Dependent becomes eligible for a subsidy (state premium assistance program).

The Subscriber or Dependent must request Special Enrollment within 60 days of the loss of
Medicaid/CHIP or of the eligibility determination.

To request special enrollment or obtain more information, call the Member Services telephone number on
your Identification Card, or contact your Employer.




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                                          Introduction
This Benefit Booklet gives you a description of your benefits while you are enrolled under the health care
plan (the “Plan”) offered by your Employer. You should read this Benefit Booklet carefully to get to know
the Plan’s main provisions and keep it handy for reference. A thorough understanding of your coverage
will allow you to use your benefits wisely. If you have any questions about the benefits shown in this
Benefit Booklet, please call your Employer’s Health Plan Administrator or the Member Services number
on the back of your Identification Card.

The Plan benefits described in this Benefit Booklet are for eligible Members only. The health care
services are subject to the limitations and Exclusions, Copayments, Deductible, and Coinsurance rules
given in this Benefit Booklet. Any group plan or certificate which you received before will be replaced by
this Benefit Booklet.

Your Employer has agreed to be subject to the terms and conditions of Anthem’s Provider agreements
which may include precertification and utilization management requirements, timely filing limits, and other
requirements to administer the benefits under this Plan.

Many words used in the Benefit Booklet have special meanings (e.g., Employer, Covered Services, and
Medical Necessity). These words are capitalized and are defined in the "Definitions" section. See these
definitions for the best understanding of what is being stated. Throughout this Benefit Booklet you will
also see references to “we”, “us”, “our”, “you”, and “your”. The words “we”, “us”, and “our” mean the
Claims Administrator. The words “you” and “your” mean the Member, Subscriber and each covered
Dependent.

If you have any questions about your Plan, please be sure to call Member Services at the number on the
back of your Identification Card.     Also be sure to check the Claims Administrator’s website,
www.anthem.com for details on how to find a Provider, get answers to questions, and access valuable
health and wellness tips.

Important: This is not an insured benefit Plan. The benefits described in this Benefit Booklet or any rider
or amendments attached hereto are funded by the Employer who is responsible for their payment.
Anthem provides administrative claims payment services only and does not assume any financial risk or
obligation with respect to claims.

Anthem is an independent corporation operating under a license from the Blue Cross and Blue Shield
Association, permitting Anthem to use the Blue Cross and Blue Shield Service Marks in the State of
Georgia. Although Anthem is the Claims Administrator and is licensed in Georgia you will have access to
providers participating in the Blue Cross and Blue Shield Association BlueCard network across the
country. Anthem has entered into a contract with the Employer on its own behalf and not as the agent of
the Association.

How to Get Language Assistance
The Plan is committed to communicating with Members about the health Plan, no matter what their
language is. The Claims Administrator employs a language line interpretation service for use by all their
Member Services call centers. Simply call the Member Services phone number on the back of your
Identification Card and a representative will be able to help you. Translation of written materials about
your benefits can also be asked for by contacting Member Services. TTY/TDD services also are available
by dialing 711. A special operator will get in touch with us to help with your needs.

Identity Protection Services
Identity protection services are available your Employer’s Anthem health plans. To learn more about
these services, please visit www.anthem.com/resources.


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                                 Schedule of Benefits
In this section you will find an outline of the benefits included in your Plan and a summary of any
Deductibles, Coinsurance, and Copayments that you must pay. Also listed are any Benefit Period
Maximums or limits that apply. Please read the "What’s Covered" and Prescription Drugs section(s) for
more details on the Plan’s Covered Services. Read the “What’s Not Covered” section for details on
Excluded Services.

All Covered Services are subject to the conditions, Exclusions, limitations, and terms of this Benefit
Booklet including any endorsements, amendments, or riders.

To get the highest benefits at the lowest out-of-pocket cost, you must get Covered Services from
an In-Network Provider. Benefits for Covered Services are based on the Maximum Allowed Amount,
which is the most the Claims Administrator will allow for a Covered Service. When you use an Out-of-
Network Provider you may have to pay the difference between the Out-of-Network Provider’s billed
charge and the Maximum Allowed Amount in addition to any Coinsurance, Copayments, Deductibles, and
non-covered charges. This amount can be substantial. Please read the “Claims Payment” section for
more details.

Deductibles, Coinsurance, and Benefit Period Maximums are calculated based upon the Maximum
Allowed Amount, not the Provider’s billed charges.

Benefit Period                            Calendar Year


Dependent Age Limit                       To the end of the month in which the child attains age 26

                                          Please see the “Eligibility and Enrollment – Adding Members”
                                          section for further details.

Deductible                                                           In-Network        Out-of-Network
Individual                                                             $350                 $350

No more than one individual Deductible per Member
                                                                   In- and Out-of-Network combined

Per Family                                                            $1,050               $1,050

All other eligible Members combined                                In- and Out-of-Network combined

Note: The Family Deductible is an aggregate Deductible. This means any combination of amounts paid
by family Members toward Covered Services can be used to satisfy the Family Deductible.

The In-Network and Out-of-Network Deductibles are combined. Amounts you pay toward the In-Network
Deductible will apply toward the Out-of-Network Deductible and amounts you pay toward the Out-of-
Network Deductible will apply toward the In-Network Deductible.

When the Deductible applies, you must pay it before benefits begin. See the sections below to find out
when the Deductible applies.

Copayments and Coinsurance are separate from and do not apply to the Deductible.

Any amounts applied to the Deductible for costs you pay during the last three months of the Benefit
Period will also apply to the next Benefit Period’s Deductible.



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Coinsurance                                                          In-Network        Out-of-Network

Plan Pays (unless otherwise noted)                                       80%                60%

Member Pays (unless otherwise noted)                                     20%                40%

Reminder: Your Coinsurance will be based on the Maximum Allowed Amount. If you use an Out-of-
Network Provider, you may have to pay Coinsurance plus the difference between the Out-of-Network
Provider’s billed charge and the Maximum Allowed Amount.

Note: The Coinsurance listed above may not apply to all benefits, and some benefits may have a different
Coinsurance. Please see the rest of this Schedule for details.



Out-of-Pocket Limit                                               In-Network          Out-of-Network

Individual                                                           $2,000               $4,500

No more than one individual Out-of-Pocket Limit per Member       In- and Out-of-Network not combined



Per Family                                                           $6,000               $10,500

All other eligible Members combined                              In- and Out-of-Network not combined

The Out-of-Pocket Limit includes all Deductibles, Coinsurance, and Copayments you pay during a Benefit
Period unless otherwise indicated.

The Out-of-Pocket Limit does not include amounts you pay for the following benefits:
 Charges over the Maximum Allowed Amount,
 Penalties for not getting required pre-authorization / Precertification of services,
 Copayments paid toward Prescription Drugs,
 Amounts you pay for non-Covered Services.

Once the Out-of- Pocket Limit is satisfied, you will not have to pay any additional Deductibles,
Coinsurance, or Copayments for the rest of the Benefit Period, except for the services listed above.

The In-Network and Out-of-Network Out-of-Pocket Limits apply toward each other. Amounts paid toward
the In-Network Out-of-Pocket Limit will not apply toward the Out-of-Network Out-of-Pocket Limit and
amounts paid toward the Out-of-Network Out-of-Pocket Limit will apply toward the In-Network Out-of-
Pocket Limit.

The Out-of-Pocket Limit does not include any fourth quarter Deductible amounts carried over from the
previous Benefit Period.




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Important Notice about Your Cost Shares

In certain cases, if a Provider is paid amounts that are your responsibility, such as Deductibles,
Copayments or Coinsurance, such amounts may be collected directly from you. You agree that the
Claims Administrator, on behalf of the Plan, has the right to collect such amounts from you.

The tables below outline the Plan’s Covered Services and the cost share(s) you must pay. In many spots
you will see the statement, “Benefits are based on the setting in which Covered Services are received”.
In these cases you should determine where you will receive the service (i.e., in a Doctor’s office, at an
outpatient Hospital facility, etc.) and look up that location to find out which cost share will apply. For
example, you might get physical therapy in a Doctor’s office, an outpatient Hospital facility, or during an
Inpatient Hospital stay. For services in the office, look up “Office Visits”. For services in the outpatient
department of a Hospital, look up “Outpatient Facility Services”. For services during an Inpatient stay,
look up “Inpatient Services”.

                      Benefits                                  In-Network                  Out-of-Network


Allergy Services                                           Benefits are based on the setting in which Covered
                                                                         Services are received.


Ambulance Services (Air and Water)                                  20% Coinsurance no Deductible
Out-of-Network Providers may also bill you for any charges that exceed the Plan’s Maximum Allowed Amount.

Important Note: Air ambulance services for non-Emergency Hospital to Hospital transfers must be approved
through precertification. Please see “Getting Approval for Benefits” for details.


Ambulance Services (Ground)                                         20% Coinsurance no Deductible
Out-of-Network Providers may also bill you for any charges that exceed the Plan’s Maximum Allowed Amount.

Important Note: All scheduled ground ambulance services for non-Emergency transfers, except transfers from
one acute Facility to another, must be approved through precertification. Please see “Getting Approval for
Benefits” for details.


Autism Services
   Applied Behavior Analysis for Members                  Benefits are based on the setting in which Covered
    through age six.                                                     Services are received.
   All other Covered Services for autism                  Benefits are based on the setting in which Covered
                                                                         Services are received.


Behavioral Health Services                                See “Mental Health and Substance Abuse Services.”


Cardiac Rehabilitation                                     Benefits are based on the setting in which Covered
                                                                         Services are received.




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                      Benefits                                  In-Network                  Out-of-Network
Chemotherapy                                               Benefits are based on the setting in which Covered
                                                                         Services are received.


Chiropractic Services / Manipulation Therapy              Benefits are based on the setting in which Covered
                                                          Services are received. Also see “Therapy Services”.


Clinical Trials / Cancer Clinical Trial Programs           Benefits are based on the setting in which Covered
for Children                                                             Services are received.


Dental Services All Members / All Ages                     Benefits are based on the setting in which Covered
                                                                         Services are received.


Diabetes Education                                         Benefits are based on the setting in which Covered
                                                                         Services are received.


Diabetes Equipment and Supplies                            Benefits are based on the setting in which Covered
                                                                         Services are received.
Screenings for gestational diabetes are covered
under “Preventive Care.”


Diagnostic Services                                        Benefits are based on the setting in which Covered
                                                                         Services are received.


Dialysis / Hemodialysis                                    Benefits are based on the setting in which Covered
                                                                         Services are received.


Durable Medical Equipment (DME) and Medical               20% Coinsurance after          40% Coinsurance after
Devices, Orthotics, Prosthetics, Medical and                   Deductible                     Deductible
Surgical Supplies (Received from a Supplier)
The cost-shares listed above only apply when you get the equipment or supplies from a third-party supplier. If
you receive the equipment or supplies as part of an office or outpatient visit, or during a Hospital stay, benefits
will be based on the setting in which the covered equipment or supplies are received.
   Wigs                                                    20% Coinsurance after        40% Coinsurance after
                                                                 Deductible                   Deductible


Emergency Services
Emergency Room
   Emergency Room Facility Charge                         $250 Copayment per visit then 0% Coinsurance no
                                                              Deductible. Copayment waived if admitted



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                       Benefits                                   In-Network                Out-of-Network
   Emergency Room Doctor Charge                              0% No Copayment, Deductible, or Coinsurance
   Other Facility Charges (including diagnostic x-           0% No Copayment, Deductible, or Coinsurance
    ray and lab services, medical supplies)
   Advanced Diagnostic Imaging (including MRIs,              0% No Copayment, Deductible, or Coinsurance
    CAT scans)
   Non-emergency use of Emergency Room                    $250 Copayment per visit, then 20% Coinsurance, after
    Services                                                                  Deductible
Out-of-Network Providers may also bill you for any charges over the Plan’s Maximum Allowed Amount.


Foot Care: Care and removal of corns and calluses             Benefits are based on the setting in which Covered
                                                                            Services are received.


Habilitative Services                                        Benefits are based on the setting in which Covered
                                                                           Services are received.

                                                               See “Therapy Services” for details on Benefit
                                                                              Maximums.


Hearing Aids for Members 18 years of age and                20% Coinsurance after        40% Coinsurance after
under                                                            Deductible                   Deductible
Hearing Aid benefit maximum                                Limited to $3,000 per hearing aid per hearing impaired
                                                           ear every 48 months In-and Out-of-Network combined


Home Care
   Home Care Visits                                        20% Coinsurance after        40% Coinsurance after
                                                                 Deductible                   Deductible
   Home Dialysis / Hemodialysis                            20% Coinsurance after        40% Coinsurance after
                                                                 Deductible                   Deductible
   Home Infusion Therapy                                   20% Coinsurance after        40% Coinsurance after
                                                                 Deductible                   Deductible
   Other Home Care Services / Supplies                     20% Coinsurance after        40% Coinsurance after
                                                                 Deductible                   Deductible
Home Care Benefit Maximum                                                 120 visits per Benefit Period
                                                                       In- and Out-of-Network combined
                                                            The limit does not apply to Home Infusion Therapy or
                                                                         Home Dialysis / Hemodialysis.


Home Infusion Therapy                                                       See “Home Care.”




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                       Benefits                                 In-Network                  Out-of-Network
Hospice Care
   Home Care                                              20% Coinsurance after        40% Coinsurance after
   Respite Hospital Stays                                      Deductible                   Deductible
Out-of-Network Providers may also bill you for any charges over the Plan’s Maximum Allowed Amount.


Human Organ and Tissue Transplant (Bone                   Please see the separate summary later in this section.
Marrow / Stem Cell) Services


Infertility Services                                       See “Maternity and Reproductive Health Services.”


Inpatient Facility Services
Facility Room & Board Charge:
   Hospital / Acute Care Facility                         20% Coinsurance after        40% Coinsurance after
                                                                Deductible                   Deductible
   Skilled Nursing Facility                               20% Coinsurance after        40% Coinsurance after
                                                                Deductible                   Deductible
    Skilled Nursing Facility / Rehabilitation Services                  30 days per Benefit Period
    (Includes Services in an Outpatient Day                         In- and Out-of-Network combined
    Rehabilitation Program) Benefit Maximum
   Other Facility Services / Supplies (including          20% Coinsurance after        40% Coinsurance after
    diagnostic lab/x-ray, medical supplies, therapies,          Deductible                   Deductible
    anesthesia)
Doctor Services for:
   General Medical Care / Evaluation and                  20% Coinsurance after        40% Coinsurance after
    Management (E&M) (Professional services                     Deductible                   Deductible
    billed separately from Hospital charges)
   Surgery (Professional services billed separately       20% Coinsurance after        40% Coinsurance after
    from Hospital charges)                                      Deductible                   Deductible


Maternity and Reproductive Health Services
   Maternity Services (Global fee for the ObGyn’s         20% Coinsurance after        40% Coinsurance after
    prenatal, postnatal, and delivery services)                 Deductible                   Deductible

    If you change Doctors during your pregnancy,
    the prenatal and postnatal fees will be billed
    separately.
   Primary Care Physician / Provider (PCP)                  $15 Copayment no           40% Coinsurance after
                                                                 Deductible                  Deductible
   Specialty Care Physician / Provider (SCP)                $25 Copayment no           40% Coinsurance after
                                                                 Deductible                  Deductible



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                      Benefits                                    In-Network                Out-of-Network

   Inpatient Facility Services                             20% Coinsurance after        40% Coinsurance after
                                                                 Deductible                   Deductible
Newborn / Maternity Stays: If the newborn needs services other than routine nursery care or stays in the
Hospital after the mother is discharged (sent home), benefits for the newborn will be treated as a separate
admission.
   Infertility                                              Benefits are based on the setting in which Covered
    Limited to diagnostic services and treatment                           Services are received.


Mental Health and Substance Abuse Services
   Inpatient Facility Services                             20% Coinsurance after        40% Coinsurance after
                                                                 Deductible                   Deductible
   Residential Treatment Center Services                   20% Coinsurance after        40% Coinsurance after
                                                                 Deductible                   Deductible
   Inpatient Provider Services (e.g., Doctor and           20% Coinsurance after        40% Coinsurance after
    other professional Providers) billed separately              Deductible                   Deductible
    from Hospital charges
   Outpatient Facility Services                            20% Coinsurance after        40% Coinsurance after
                                                                 Deductible                   Deductible
   Outpatient Provider Services in an Outpatient           20% Coinsurance after        40% Coinsurance after
    Facility (e.g., Doctor and other professional                Deductible                   Deductible
    Providers)
   Partial Hospitalization Program / Intensive               0% No Copayment,           30% Coinsurance after
    Outpatient Program Services – Facility Services        Deductible, or Coinsurance         Deductible
   Partial Hospitalization Program / Intensive               0% No Copayment,           30% Coinsurance after
    Outpatient Program Services – Provider                 Deductible, or Coinsurance         Deductible
    Services (e.g., Doctor and other professional
    Providers)
   Office Visits (including Online Visits and                $15 Copayment no           40% Coinsurance after
    Intensive In-Home Behavioral Health Programs                  Deductible                  Deductible
    when available in your area)
Mental Health and Substance Abuse Services will be covered as required by law. Please see “Mental Health
Parity and Addiction Equity Act” in the “Additional Federal Notices” section for details.


Occupational Therapy                                        Benefits are based on the setting in which Covered
                                                            Services are received. Also see “Therapy Services”.


Office Visits and Physician Services
   Primary Care Physician / Provider (PCP)                   $15 Copayment no           40% Coinsurance after
                                                                  Deductible                  Deductible
   Specialty Care Physician / Provider (SCP)                 $25 Copayment no           40% Coinsurance after
                                                                  Deductible                  Deductible



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                       Benefits                                  In-Network                  Out-of-Network

   Retail Health Clinic Visit                                $15 Copayment no            40% Coinsurance after
                                                                  Deductible                   Deductible
   Online Visit (Other than Mental Health &                 0% No Copayment,             40% Coinsurance after
    Substance Abuse; see “Mental Health &                 Deductible, or Coinsurance           Deductible
    Substance Abuse Services” section for that             for the 3 visits, then $10
    benefit                                               Copayment no Deductible
   Counseling (including family planning)                  Covered in PCP / SCP          40% Coinsurance after
                                                                Copayment                      Deductible
   Nutritional Counseling                                   0% No Copayment,             40% Coinsurance after
                                                          Deductible, or Coinsurance           Deductible
            o    Nutritional Counseling – Benefit                        4 visits per Benefit Period
                 Maximum
            o    Nutritional Counseling for Diabetes                             Unlimited
                 – Benefit Maximum
            o    Nutritional Counseling for Eating                               Unlimited
                 Disorders – Benefit Maximum
   Allergy Testing                                          20% Coinsurance no           40% Coinsurance after
                                                                 Deductible                    Deductible
   Allergy Shots / Injections                               20% Coinsurance no           40% Coinsurance after
                                                                 Deductible                    Deductible
   Allergy Serum                                            20% Coinsurance no           40% Coinsurance after
                                                                 Deductible                    Deductible
   Diagnostic Labs (non-preventive) (i.e., reference         0% No Copayment, Deductible, or Coinsurance
    labs)
   Diagnostic X-ray (non-preventive)                       Covered in PCP / SCP          40% Coinsurance after
                                                                Copayment                      Deductible
   Diagnostic Tests (non-preventive; including             Covered in PCP / SCP          40% Coinsurance after
    hearing and EKG)                                            Copayment                      Deductible
   Advanced Diagnostic Imaging (including MRIs,            Covered in PCP / SCP          40% Coinsurance after
    CAT scans)                                                  Copayment                      Deductible
   Office Surgery                                          Covered in PCP / SCP          40% Coinsurance after
                                                                Copayment                      Deductible
    Therapy Services:
   Chiropractic Care / Manipulation Therapy                20% Coinsurance after         40% Coinsurance after
                                                                 Deductible                    Deductible
   Physical & Occupational Therapy                         20% Coinsurance after         40% Coinsurance after
                                                                 Deductible                    Deductible
   Speech Therapy                                          20% Coinsurance after         40% Coinsurance after
                                                                 Deductible                    Deductible
   Respiratory and Pulmonary                               20% Coinsurance after         40% Coinsurance after
                                                                 Deductible                    Deductible



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                       Benefits                                 In-Network                 Out-of-Network
   Cardiac Rehabilitation                                Covered in PCP / SCP          40% Coinsurance after
                                                              Copayment                      Deductible
   Dialysis / Hemodialysis                               20% Coinsurance after         40% Coinsurance after
                                                               Deductible                    Deductible
   Radiation / Chemotherapy / Non-Preventive             20% Coinsurance after         40% Coinsurance after
    Infusion & Injection                                       Deductible                    Deductible
   Non-Preventive Infusion & Injection                   Covered in PCP / SCP          40% Coinsurance after
                                                              Copayment                      Deductible
    See “Therapy Services” for details on Benefit
    Maximums.
   Prescription Drugs Administered in the Office         Covered in PCP / SCP          40% Coinsurance after
                                                              Copayment                      Deductible


Orthotics                                                 See “Durable Medical Equipment (DME) and Medical
                                                          Devices, Orthotics, Prosthetics, Medical and Surgical
                                                                                Supplies”


Outpatient Facility Services
   Facility Surgery Charge                               20% Coinsurance after         40% Coinsurance after
                                                               Deductible                    Deductible
   Other Facility Surgery Charges (including             20% Coinsurance after         40% Coinsurance after
    diagnostic x-ray and lab services, medical                 Deductible                    Deductible
    supplies)
   Doctor Surgery Charges                                20% Coinsurance after         40% Coinsurance after
                                                               Deductible                    Deductible
   Other Doctor Charges (including                       20% Coinsurance after         40% Coinsurance after
    Anesthesiologist, Pathologist, Radiologist,                Deductible                    Deductible
    Surgical Assistant)
   Other Facility Charges (for procedure rooms or        20% Coinsurance after         40% Coinsurance after
    other ancillary services)                                  Deductible                    Deductible

   Diagnostic Lab                                        20% Coinsurance after         40% Coinsurance after
                                                               Deductible                    Deductible
   Diagnostic X-ray                                      20% Coinsurance after         40% Coinsurance after
                                                               Deductible                    Deductible
   Diagnostic Tests: Hearing, EKG, etc. (Non-            20% Coinsurance after         40% Coinsurance after
    Preventive)                                                Deductible                    Deductible
   Advanced Diagnostic Imaging (including MRIs,          20% Coinsurance after         40% Coinsurance after
    CAT scans)                                                 Deductible                    Deductible




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                     Benefits                                   In-Network                Out-of-Network
    Therapy Services:
   Chiropractic Care / Manipulation Therapy              20% Coinsurance after        40% Coinsurance after
                                                               Deductible                   Deductible
   Physical & Occupational Therapy                       20% Coinsurance after        40% Coinsurance after
                                                               Deductible                   Deductible
   Speech Therapy                                        20% Coinsurance after        40% Coinsurance after
                                                               Deductible                   Deductible
   Respiratory and Pulmonary                             20% Coinsurance after        40% Coinsurance after
                                                               Deductible                   Deductible
   Cardiac Rehabilitation                                20% Coinsurance after        40% Coinsurance after
                                                               Deductible                   Deductible
   Dialysis / Hemodialysis                               20% Coinsurance after        40% Coinsurance after
                                                               Deductible                   Deductible
   Radiation / Chemotherapy / Non-Preventive             20% Coinsurance after        40% Coinsurance after
    Infusion & Injection                                       Deductible                   Deductible
    See “Therapy Services” for details on Benefit
    Maximums.
   Prescription Drugs Administered in an                 20% Coinsurance after        40% Coinsurance after
    Outpatient Facility                                        Deductible                   Deductible


Physical Therapy                                          Benefits are based on the setting in which Covered
                                                          Services are received. Also see “Therapy Services”.


Preventive Care                                             0% No Copayment,           30% Coinsurance after
                                                         Deductible, or Coinsurance         Deductible
No In-Network or Out-of-Network Deductible for preventive care services through age 5.


Private Duty Nursing (RN or LPN)                          20% Coinsurance after        40% Coinsurance after
                                                               Deductible                   Deductible


Prosthetics                                               See Prosthetics” under “Durable Medical Equipment
                                                          (DME) and Medical Devices, Orthotics, Prosthetics,
                                                                   Medical and Surgical Supplies”


Pulmonary Therapy                                         Benefits are based on the setting in which Covered
                                                          Services are received. Also see “Therapy Services”.


Radiation Therapy                                          Benefits are based on the setting in which Covered
                                                                         Services are received.



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                      Benefits                                      In-Network                  Out-of-Network


Rehabilitation Services                                        Benefits are based on the setting in which Covered
                                                               Services are received. Also see “Therapy Services”.


Respiratory Therapy                                            Benefits are based on the setting in which Covered
                                                               Services are received. Also see “Therapy Services”.


Skilled Nursing Facility                                                    See “Inpatient Services”.


Speech Therapy                                                 Benefits are based on the setting in which Covered
                                                               Services are received. Also see “Therapy Services”.


Surgery                                                        Benefits are based on the setting in which Covered
                                                                             Services are received.


Telemedicine
   Primary Care Physician / Provider (PCP)                      $15 Copayment no            40% Coinsurance after
                                                                     Deductible                   Deductible
   Specialist Care Physician / Provider (SCP)                   $25 Copayment no            40% Coinsurance after
                                                                     Deductible                   Deductible


Therapy Services                                               Benefits are based on the setting in which Covered
                                                                             Services are received.

Benefit Maximum(s):                                          Benefit Maximum(s) are for In- and Out-of-Network visits
                                                             combined, and for office and outpatient visits combined.

   Physical & Occupational Therapy                                        30 visits per Benefit Period

   Speech Therapy                                                         30 visits per Benefit Period

   Chiropractic Care / Manipulation Therapy                               30 visits per Benefit Period

   Respiratory Therapy                                                    30 visits per Benefit Period

Notes: The limits for physical, occupational, and speech therapy will not apply if you get that care as part of the
Hospice Care or the Inpatient Facility Services benefit.

When physical, occupational, speech therapy or pulmonary rehabilitation is rendered in the home, the Home
Care Visit limit will apply instead of the Therapy Services limits listed above.

Therapy visit limits do not apply to autism services.




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                      Benefits                                    In-Network                  Out-of-Network
Transplant Services                                       Please see “Human Organ and Tissue Transplant (Bone
                                                            Marrow / Stem Cell) Services” summary later in this
                                                                                 section.


Urgent Care Services                                          $15 Copayment no             40% Coinsurance after
                                                                  Deductible                    Deductible
If you get urgent care at a Hospital or other outpatient Facility, please refer to “Outpatient Facility Services” for
details on what you will pay.


Vision Services (All Members / All Ages) (For               Benefits are based on the setting in which Covered
medical and surgical treatment of injuries and/or                         Services are received.
diseases of the eye)

Certain vision screenings required by Federal law
are covered under the "Preventive Care" benefit.


Wigs                                                       See “Durable Medical Equipment (DME) and Medical
                                                           Devices, Orthotics, Prosthetics, Medical and Surgical
                                                                                 Supplies”




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                     Benefits                                  In-Network                   Out-of-Network
Human Organ and Tissue Transplant (Bone
Marrow / Stem Cell) Services

Please call the Claims Administrator’s Transplant Department as soon as you think you may need a
transplant to talk about your benefit options. You must do this before you have an evaluation and/or
work-up for a transplant. To get the most benefits under the Plan, you must get certain human organ
and tissue transplant services from an In-Network Transplant Provider. Even if a Hospital is an In-Network
Provider for other services, it may not be an In-Network Transplant Provider for certain transplant services.
Please call the Claims Administrator to find out which Hospitals are In-Network Transplant Providers. (When
calling Member Services, ask for the Transplant Case Manager for further details.)

The requirements described below do not apply to the following:

   Cornea transplants, which are covered as any other surgery; and
   Any Covered Services related to a Covered Transplant Procedure that you get before or after the Transplant
    Benefit Period. Please note that the initial evaluation, any added tests to determine your eligibility as a
    candidate for a transplant by your Provider, and the collection and storage of bone marrow/stem cells is
    included in the Covered Transplant Procedure benefit regardless of the date of service.

Benefits for Covered Services that are not part of the Human Organ and Tissue Transplant benefit will be based
on the setting in which Covered Services are received. Please see the “What’s Covered” section for additional
details.

Transplant Benefit Period                               In-Network Transplant             Out-of-Network
                                                               Provider                 Transplant Provider

                                                       Starts one day before a       Starts one day before a
                                                       Covered         Transplant    Covered            Transplant
                                                       Procedure and lasts for       Procedure and continues to
                                                       the applicable case rate /    the date of discharge at an
                                                       global time period. The       Out-of- Network Transplant
                                                       number of days will vary      Provider Facility.
                                                       depending on the type of
                                                       transplant received and
                                                       the In-Network Transplant
                                                       Provider agreement. Call
                                                       the Case Manager for
                                                       specific        In-Network
                                                       Transplant         Provider
                                                       information for services
                                                       received at or coordinated
                                                       by        an    In-Network
                                                       Transplant         Provider
                                                       Facility.




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                     Benefits                                  In-Network                 Out-of-Network
Covered Transplant Procedure during the                In-Network Transplant            Out-of-Network
Transplant Benefit Period                               Provider Facility / In-       Transplant Provider
                                                         Network Transplant         Facility / Out-of-Network
                                                       Provider Professional          Transplant Provider
                                                         and Ancillary (non-       Professional and Ancillary
                                                         Hospital) Providers        (non-Hospital) Providers

Precertification required                             Before and after the         If the Provider is also an In-
                                                      Transplant Benefit Period,   Network Provider for this
                                                      Covered Services will be     Plan (for services other than
                                                      covered    as    Inpatient   Covered            Transplant
                                                      Services,     Outpatient     Procedures), then you will
                                                      Services, Home Visits, or    not have to pay for Covered
                                                      Office Visits depending      Transplant         Procedure
                                                      where the service is         charges over the Maximum
                                                      performed.                   Allowed Amount.

                                                                                   If the Provider is an Out-of-
                                                                                   Network Provider for this
                                                                                   Plan, you will have to pay
                                                                                   for Covered Transplant
                                                                                   Procedure charges over the
                                                                                   Maximum Allowed Amount.

                                                                                   Prior to and after the
                                                                                   Transplant Benefit Period,
                                                                                   Covered Services will be
                                                                                   covered       as    Inpatient
                                                                                   Services,          Outpatient
                                                                                   Services, Home Visits, or
                                                                                   Office Visits depending
                                                                                   where     the    service   is
                                                                                   performed.

Transportation and Lodging

   Transportation and Lodging Limit              Covered, as approved by us, up to $10,000 per transplant
                                                             In- and Out-of-Network combined

Unrelated donor searches from an authorized,
licensed registry for bone marrow/stem cell
transplants for a Covered Transplant Procedure

   Donor Search Limit                                Covered, as approved by us, up to $30,000 per transplant
                                                                 In- and Out-of-Network combined




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Prescription Drug Retail Pharmacy and Home                  In-Network                   Out-of-Network
Delivery (Mail Order) Benefits

Each Prescription Drug will be subject to a cost share (e.g., Copayment / Coinsurance) as described below. If
your Prescription Order includes more than one Prescription Drug, a separate cost share will apply to each
covered drug. You will be required to pay the lesser of your scheduled cost share or the Maximum Allowed
Amount.

Prescription Drug Out of Pocket Limit

Per Member                                                      $4,000                        $4,000
                                                                  In- and Out-of-Network combined


Per Family                                                      $8,000                        $8,000


All other eligible Members combined                               In- and Out-of-Network combined


Note: The Prescription Drug Out of Pocket Limit is separate and does not apply toward any other Out of Pocket
Limit for Covered Services in this Plan. It includes all Copayments you pay for Prescription Drugs from a Retail
or Home Delivery (Mail Order) Pharmacy during a Benefit Period. It does not include charges over the Maximum
Allowed Amount or amounts you pay for non-Covered Services.

Once the Out-of- Pocket Limit is satisfied, you will not have to pay any additional Copayments for Prescription
Drugs from a Retail or Home Delivery (Mail Order) Pharmacy for the rest of the Benefit Period.


Day Supply Limitations – Prescription Drugs will be subject to various day supply and quantity limits. Certain
Prescription Drugs may have a lower day-supply limit than the amount shown below due to other Plan
requirements such as Prior Authorization, quantity limits, and/or age limits and utilization guidelines. No day
supply or quantity limits apply to prescriptions for inhalants to treat asthma.

    Retail Pharmacy (In-Network and Out-of-                                   30 days
    Network)

    Home Delivery (Mail Order) Pharmacy                                       90 days

    Specialty Pharmacy (In-Network and Out-of-                                 30 days*
    Network)                                              *See additional information in the “Specialty Drug
                                                             Copayments / Coinsurance” section below.




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Prescription Drug Retail Pharmacy and Home                   In-Network               Out-of-Network
Delivery (Mail Order) Benefits
Retail Pharmacy / Specialty Pharmacy:
Tier 1 Prescription Drugs                                          $10 Copayment no Deductible

Tier 2 Prescription Drugs                                          $35 Copayment no Deductible

Tier 3 Prescription Drugs                                          $75 Copayment no Deductible

Tier 4 Prescription Drugs                              20% Coinsurance no Deductible up to a maximum of $400
                                                                 per Prescription Drug, per Member

Home Delivery Pharmacy (Maintenance Drugs
Only) / Specialty Pharmacy:
Tier 1 Prescription Drugs                                          $15 Copayment no Deductible

Tier 2 Prescription Drugs                                          $53 Copayment no Deductible

Tier 3 Prescription Drugs                                          $113 Copayment no Deductible

Tier 4 Prescription Drugs                               $20% Coinsurance no Deductible up to a maximum of
                                                             $400 per Prescription Drug, per Member

Specialty Drug (Includes Specialty Home
Delivery):
Please note that certain Specialty Drugs are only available from an In-Network Specialty Pharmacy and you will
not be able to get them at a Retail Pharmacy or through the Home Delivery (Mail Order) Pharmacy. Please see
“Specialty Pharmacy” in the section “Prescription Drug Benefit at a Retail or Home Delivery (Mail Order)
Pharmacy” for further details. When you get Specialty Drugs from a Specialty Pharmacy, you will have to pay
the same Copayments / Coinsurance you pay for a 30-day supply at a Retail Pharmacy.

Notes: Prescription Drugs will always be dispensed as ordered by your Doctor.




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                                  How Your Plan Works
Introduction
If you have any questions about this Certificate, please call the member service number located on the
back of your Identification (ID) Card.

Your Plan is a POS plan. The Plan has two sets of benefits: In-Network and Out-of-Network. If you
choose an In-Network Provider, you will pay less in out-of-pocket costs, such as Copayments,
Deductibles, and Coinsurance. If you use an Out-of-Network Provider, you will have to pay more in out-
of-pocket costs.

In-Network Services
A Member has access to primary and specialty care directly from any In-Network Physician. A Primary
Care Physician / Provider (PCP) Referral is not needed.

Selecting a Primary Care Physician

Your Plan requires you to select a Primary Care Physician from the network, or the Claims Administrator
will assign one. The Claims Administrator will notify you of the PCP that was assigned. You may then
use that PCP or choose another PCP from the Claims Administrator’s Provider Directory. Please see
“How to Find a Provider in the Network” for more details.

PCPs include general practitioners, internists, family practitioners, pediatricians, and geriatricians. Each
member of a family may select a different Primary Care Physician; for example, an internist or general
practitioner may be chosen for adults and a pediatrician may be selected for children. If you want to
change your PCP, contact the Claims Administrator or refer to the website, www.anthem.com.

The First Thing To Do – Make an Appointment With Your PCP

Your PCP's job is to help you stay healthy, not just treat you when you are sick. After you choose a PCP,
make an appointment with your PCP. During this appointment, get to know your PCP and help your PCP
get to know you. At your first appointment, talk to your PCP about:

   Personal health history.
   Family health history.
   Lifestyle.
   Any health concerns you have.

It is important to note, if you have not established a relationship with your PCP, they may not be able to
effectively treat you. To see a Doctor, call their office:

   Tell them you are an Anthem Member,
   Have your Member Identification Card handy. The Doctor’s office may ask you for your group or
    Member ID number.
   Tell them the reason for your visit.

When you go to the office, be sure to bring your Member Identification Card with you.

If you need to see a Specialist, you can visit any In-Network Specialist including a behavioral health
Provider, gynecologist, obstetrician, dermatologist and an optometrist or ophthalmologist for medical
conditions only. You do not have to get a Referral.


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When you use an In-Network Provider or get care as part of an Authorized Service, Covered Services will
be covered at the In-Network level. Regardless of Medical Necessity, benefits will be denied for care that
is not a Covered Service. The Claims Administrator has final authority to decide the Medical Necessity of
the service.

In-Network Providers include Primary Care Physicians / Providers (PCPs), Specialists (Specialty Care
Physicians / Providers - SCPs, other professional Providers, Hospitals, and other Facilities who contract
with the Claims Administrator to care for you. Referrals are never needed to visit an In-Network
Specialist, including behavioral health Providers.

To see a Doctor, call their office:

   Tell them you are an Anthem Member,
   Have your Member Identification Card handy. The Doctor’s office may ask you for your group or
    Member ID number.
   Tell them the reason for your visit.

When you go to the office, be sure to bring your Member Identification Card with you.

For services from In-Network Providers:

1. You will not be required to file any claims. In-Network Providers will file claims for Covered Services
   for you. (You will still need to pay any Coinsurance, Copayments, and/or Deductibles that apply.)
   You may be billed by your In-Network Provider(s) for any non-Covered Services you get or when you
   have not followed the terms of this Benefit Booklet.

2. Precertification will be done by the In-Network Provider. (See the “Getting Approval for Benefits”
   section for further details.)

Please refer to the “Claims Payment” section for additional information on Authorized Services.

After Hours Care
If you need care after normal business hours, your Doctor may have several options for you. You should
call your Doctor’s office for instructions if you need care in the evenings, on weekends, or during a holiday
and cannot wait until the office reopens. If you have an Emergency, call 911 or go to the nearest
Emergency Room.

Out-of-Network Services
When you do not use an In-Network Provider or get care as part of an Authorized Service, Covered
Services are covered at the Out-of-Network level, unless otherwise indicated in this Benefit Booklet.

For services from an Out-of-Network Provider:

1. The Out-of-Network Provider can charge you the difference between their bill and the Plan’s
   Maximum Allowed Amount plus any Deductible and/or Coinsurance/Copayments;
2. You may have higher cost sharing amounts (i.e., Deductibles, Coinsurance, and/or Copayments);
3. You will have to pay for services that are not Medically Necessary;
4. You will have to pay for non-Covered Services;
5. You may have to file claims; and
6. You must make sure any necessary Precertification is done. (Please see “Getting Approval for
   Benefits” for more details.)


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How to Find a Provider in the Network
There are three ways you can find out if a Provider or Facility is in the network for this Plan. You can also
find out where they are located and details about their license or training.

   See your Plan’s directory of In-Network Providers at www.anthem.com, which lists the Doctors,
    Providers, and Facilities that participate in this Plan’s network.
   Call Member Services to ask for a list of Doctors and Providers that participate in this Plan’s network,
    based on specialty and geographic area.
   Check with your Doctor or Provider.

Please note that not all In-Network Providers offer all services. For example, some Hospital-based labs
are not part of our Reference Lab Network. In those cases you will have to go to a lab in the Reference
Lab Network to get In-Network benefits. Please call Member Services before you get services for more
information.

If you need details about a Provider’s license or training, or help choosing a Doctor who is right for you,
call the Member Services number on the back of your Member Identification Card. TTY/TDD services
also are available by dialing 711. A special operator will get in touch with the Claims Administrator to help
with your needs.

Please note that Anthem has several networks, and that a Provider that is In-Network for one plan may
not be In-Network for another. Be sure to check your Identification Card or call Member Services to find
out which network this Plan uses.

Your Cost-Shares
Your Plan may involve Copayments, Deductibles, and/or Coinsurance, which are charges that youmust
pay when receiving Covered Services. Your Plan may also have an Out-of-Pocket Limit, which limits the
cost-shares you must pay. Please read the “Schedule of Benefits” for details on your cost-shares. Also
read the “Definitions” section for a better understanding of each type of cost share.

The BlueCard Program
Like all Blue Cross & Blue Shield plans throughout the country, we participate in a program called
"BlueCard" which provides services to you when you are outside our Service Area. For more details on
this program, please see “Inter-Plan Arrangements” in the “Claims Payment” section.


Identification Card
The Claims Administrator will give an Identification Card to each Member enrolled in the Plan. When you
get care, you must show your Identification Card. Only covered Members have the right to receive
services under this Plan. If anyone gets services or benefits to which they are not entitled to under the
terms of this Benefit Booklet, he/she must pay for the actual cost of the services.




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                            Getting Approval for Benefits
Your Plan includes the process of Utilization Review to decide when services are Medically Necessary or
Experimental/Investigative as those terms are defined in this Benefit Booklet. Utilization Review aids the
delivery of cost-effective health care by reviewing the use of treatments and, when proper, level of care
and/or the setting or place of service that they are performed.

Reviewing Where Services Are Provided
A service must be Medically Necessary to be a Covered Service. When level of care, setting or place of
service is reviewed, services that can be safely given to you in a lower level of care or lower cost
setting/place of care, will not be Medically Necessary if they are given in a higher level of care, or higher
cost setting/place of care. This means that a request for a service may be denied because it is not
Medically Necessary for the service to be provided where it is being requested. When this happens the
service can be requested again in another place and will be reviewed again for Medical Necessity. At
times a different Provider or Facility may need to be used in order for the service to be considered
Medically Necessary. Examples include, but are not limited to:

    A service may be denied on an inpatient basis at a Hospital but may be approvable if provided on an
     outpatient basis at a Hospital.
    A service may be denied on an outpatient basis at a Hospital but may be approvable at a free
     standing imaging center, infusion center, Ambulatory Surgery Center, or in a Physician’s office.
    A service may be denied at a Skilled Nursing Facility but may be approvable in a home setting.

Utilization Review criteria will be based on many sources including medical policy and clinical guidelines.
It may be decided that a treatment that was asked for is not Medically Necessary if a clinically equivalent
treatment that is more cost effective is available and appropriate. “Clinically equivalent” means
treatments that for most Members, will give you similar results for a disease or condition.

If you have any questions about the Utilization Review process, the medical policies, or clinical
guidelines, you may call the Member Services phone number on the back of your Identification Card.

Coverage for or payment of the service or treatment reviewed is not guaranteed even if the Plan
decides Your services are Medically Necessary. For benefits to be covered, on the date You get
service:

1.   You must be eligible for benefits;
2.   Fees must be paid for the time period that services are given;
3.   The service or supply must be a Covered Service under Your Plan;
4.   The service cannot be subject to an Exclusion under Your Plan; and
5.   You must not have exceeded any applicable limits under Your Plan.

Types of Reviews
    Pre-service Review – A review of a service, treatment or admission for a benefit coverage
     determination which is done before the service or treatment begins or admission date.

    Precertification – A required Pre-service Review for a benefit coverage determination for a service
     or treatment. Certain services require Precertification in order for you to get benefits. The benefit
     coverage review will include a review to decide whether the service meets the definition of Medical
     Necessity or is Experimental/Investigative as those terms are defined in this Benefit Booklet.




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    For admissions following Emergency Care, you, your authorized representative or Doctor must tell
    the Claims Administrator within 48 hours of the admission or as soon as possible within a reasonable
    period of time. For childbirth admissions, Precertification is not needed unless there is a problem
    and/or the mother and baby are not sent home at the same time. Precertification is not required for
    the first 48 hours for a vaginal delivery or 96 hours for a cesarean section. Admissions longer than
    48/96 hours require precertification.

   Continued Stay/Concurrent Review - A Utilization Review of a service, treatment or admission for a
    benefit coverage determination which must be done during an ongoing stay in a facility or course of
    treatment.

Both Pre-Service and Continued Stay/Concurrent Reviews may be considered urgent when, in the view
of the treating Provider or any Doctor with knowledge of your medical condition, without such care or
treatment, your life or health or your ability to regain maximum function could be seriously threatened or
you could be subjected to severe pain that cannot be adequately managed without such care or
treatment. Urgent reviews are conducted under a shorter timeframe than standard reviews.

   Post-service Review – A review of a service, treatment or admission for a benefit coverage that is
    conducted after the service has been provided. Post-service reviews are performed when a service,
    treatment or admission did not need a Precertification, or when a needed Precertification was not
    obtained. Post-service reviews are done for a service, treatment or admission in which the Claims
    Administrator has a related clinical coverage guideline and are typically initiated by the Claims
    Administrator.

The Provider, facility or attending Physician should contact the Claims Administrator to request a
Precertification or Predetermination review. The Claims Administrator will work directly with the
requesting Provider for the Precertification request. However, you may designate an authorized
representative to act on your behalf for a specific request. The authorized representative can be anyone
who is 18 years of age or older.

Who is Responsible for Precertification?
Typically, Network Providers know which services need Precertification and will get any Precertification
when needed. your Primary Care Physician and other Network Providers have been given detailed
information about these procedures and are responsible for meeting these requirements. Generally, the
ordering Provider, facility or attending Doctor (“requesting Provider”) will get in touch with the Claims
Administrator to ask for a Precertification. However, you may request a Precertification or you may
choose an authorized representative to act on your behalf for a specific request. The authorized
representative can be anyone who is 18 years of age or older. The table below outlines who is
responsible for Precertification and under what circumstances.

    Provider Network          Responsibility to                           Comments
         Status              Get Precertification

In Network                  Provider                    The Provider must get Precertification when
                                                         required

Out-of- Network/            Member                      Member must get Precertification when
Non-Participating                                        required. (Call Member Services.)
                                                        Member may be financially responsible for
                                                         charges/costs related to the service and/or
                                                         setting in whole or in part if the service and or
                                                         setting is found to not be Medically
                                                         Necessary.



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   Provider Network           Responsibility to                          Comments
        Status               Get Precertification

Blue Card Provider          Member                      Member must get Precertification when
                            (Except for Inpatient        required. (Call Member Services.)
                            Admissions)                 Member may be financially responsible for
                                                         charges/costs related to the service and/or
                                                         setting in whole or in part if the service and or
                                                         setting is found to not be Medically
                                                         Necessary.
                                                        Blue Card Providers must obtain
                                                         precertification for all Inpatient Admissions.

NOTE: For an Emergency Care admission, precertification is not required. However, you, your
authorized representative or Doctor must tell the Claims Administrator within 24 hours of the
admission or as soon as possible within a reasonable period of time.


How Decisions are Made
The Claims Administrator will utilize its clinical coverage guidelines, such as medical policy, clinical
guidelines, and other applicable policies and procedures to help make Medical Necessity decisions. This
includes decisions about Prescription Drugs as detailed in the section “Prescription Drugs Administered
by a Medical Provider”. Medical policies and clinical guidelines reflect the standards of practice and
medical interventions identified as proper medical practice. The Claims Administrator reserves the right
to review and update these clinical coverage guidelines from time to time.

You are entitled to ask for and get, free of charge, reasonable access to any records concerningyour
request. To ask for this information, call the Precertification phone number on the back of your
Identification Card.

If you are not satisfied with the Plan’s decision under this section of your benefits, please refer to the
“Your Right To Appeal” section to see what rights may be available to you.

Decision and Notice Requirements
The Claims Administrator will review requests for benefits according to the timeframes listed below.
Timeframes and requirements listed are based on Federal laws. You may call the telephone number on
your Identification Card for additional information.

 Request Category                               Timeframe Requirement for Decision and
                                                Notification
 Prospective Urgent                             72 hours from the receipt of request
 Prospective Non-Urgent                         15 calendar days from the receipt of the request
 Urgent Continued Stay / Concurrent Review      24 hours from the receipt of the request
 when request is received more than 24
 hours before the expiration of the previous
 authorization
 Urgent Continued Stay / Concurrent Review      72 hours from the receipt of the request
 when request is received less than 24 hours
 before the expiration of the previous
 authorization or no previous authorization
 exists




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 Non-urgent Continued Stay / Concurrent           15 calendar days from the receipt of the request
 Review for ongoing outpatient treatment
 Post-Service Review                              30 calendar days from the receipt of the request

If more information is needed to make a decision, the Claims Administrator will tell the requesting
Provider and send written notice to you or your authorized representative of the specific information
needed to finish the review. If the Claims Administrator does not get the specific information needed or if
the information is not complete by the timeframe identified in the written notice, a decision will be made
based upon the information received.

The Claims Administrator will give notice of its decision as required by Federal law. Notice may be given
by one or more of the following methods: verbal, written, and/or electronic.

Important Information
From time to time certain medical management processes (including utilization management, case
management, and disease management) may be waived, enhanced, changed or ended. An alternate
benefit may be offered if in the Plan’s sole discretion, such change furthers the provision of cost effective,
value based and/or quality services.

Certain qualifying Providers may be selected to take part in a program or a Provider arrangement that
exempts them from certain procedural or medical management processes that would otherwise
apply. Your claim may also be exempted from medical review if certain conditions apply.

Just because a process, Provider or Claim is exempted from the standards which otherwise would apply,
it does not mean that this will occur in the future, or will do so in the future for any other Provider, claim or
Member. The Plan may stop or change any such exemption with or without advance notice.

You may find out whether a Provider is taking part in certain programs or a Provider arrangement by
contacting the Member Services number on the back of your Identification Card.

The Claims Administrator also may identify certain Providers to review for potential fraud, waste, abuse or
other inappropriate activity if the claims data suggests there may be inappropriate billing practices. If a
Provider is selected under this program, then the Claims Administrator may use one or more clinical
utilization management guidelines in the review of claims submitted by this Provider, even if those
guidelines are not used for all Providers delivering services to this Plan’s Members.

Health Plan Individual Case Management
The Claims Administrator’s health plan individual case management programs (Case Management) help
coordinate services for Members with health care needs due to serious, complex, and/or chronic health
conditions. The Claims Administrator’s programs coordinate benefits and educate Members who agree
to take part in the Case Management program to help meet their health-related needs.

Case Management programs are confidential and voluntary and are made available at no extra cost to
you. These programs are provided by, or on behalf of and at the request of, your health plan case
management staff. These Case Management programs are separate from any Covered Services you are
receiving.

If you meet program criteria and agree to take part in, the Claims Administrator will help you meet your
identified health care needs. This is reached through contact and team work with you and/or your chosen
authorized representative, treating Doctor(s), and other Providers.




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In addition, the Claims Administrator may assist with coordinating care with existing community-based
programs and services to meet your needs. This may include giving you information about external
agencies and community-based programs and services.

In certain cases of severe or chronic illness or injury, the Plan may provide benefits for alternate care that
is not listed as a Covered Service. The Plan may also extend Covered Services beyond the Benefit
Period Maximums of this Plan. The Claims Administrator will make its decision case-by-case, if in the
Claims Administrator’s discretion the alternate or extended benefit is in the best interest of you and the
Plan and You or Your authorized representative agree to the alternate or extended benefit in writing. A
decision to provide extended benefits or approve alternate care in one case does not obligate the Plan to
provide the same benefits again to you or to any other Member. The Plan reserves the right, at any time,
to alter or stop providing extended benefits or approving alternate care. In such case, the Claims
Administrator will notify you or your representative in writing.




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                                        What’s Covered
This section describes the Covered Services available under your Plan. Your Covered Services are
subject to all the terms and conditions listed in this Benefit Booklet, including, but not limited to, Benefit
Maximums, Deductibles, Copayments, Coinsurance, Exclusions and Medical Necessity requirements.
Please read the “Schedule of Benefits” section for details on the amounts you must pay for Covered
Services and for details on any Benefit Maximums. Also be sure to read the "How Your Plan Works"
section for more information on your Plan’s rules. Read the “What’s Not Covered” section for important
details on Excluded Services.

Your benefits are described below. Benefits are listed alphabetically to make them easy to find. Please
note that several sections may apply to your claims. For example, if you have a surgery, benefits for your
Hospital stay will be described under "Inpatient Hospital Care" and benefits for your Doctor’s services will
be described under "Inpatient Professional Service". As a result, you should read all the sections that
might apply to your claims.

You should also know that many of the Covered Services can be received in several settings, including a
Doctor’s office, an Urgent Care Facility, an Outpatient Facility, or an Inpatient Facility. Benefits will often
vary depending on where you choose to get Covered Services, and this can result in a change in the
amount you will need to pay. Please see the “Schedule of Benefits” section for more details on how
benefits vary in each setting.

Allergy Services
Your Plan includes benefits for Medically Necessary allergy testing and treatment, including allergy serum
and allergy shots.

Ambulance Services
Medically Necessary ambulance services are a Covered Service when:

   You are transported by a state licensed vehicle that is designed, equipped, and used only to transport
    the sick and injured and staffed by Emergency Medical Technicians (EMT), paramedics, or other
    certified medical professionals. This includes ground, water, fixed wing, and rotary wing air
    transportation.

And one or more of the following criteria are met:

   For ground ambulance, you are taken:
    - From your home, the scene of accident or medical Emergency to a Hospital;
    - Between Hospitals, including when the Claims Administrator requires you to move from an Out-
        of-Network Hospital to an In-Network Hospital
    - Between a Hospital and Skilled Nursing Facility or other approved Facility.

   For air or water ambulance, you are taken:
    - From the scene of an accident or medical Emergency to a Hospital;
    - Between Hospitals, including when the Claims Administrator requires you to move from an Out-
        of-Network Hospital to an In-Network Hospital
    - Between a Hospital and an approved Facility.

Ambulance services are subject to Medical Necessity reviews. Emergency ground ambulance services
do not require precertification and are allowed regardless of whether the Provider is an In-Network or Out-
of-Network Provider.



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Non-Emergency ambulance services are subject to Medical Necessity reviews. When using an air
ambulance for non-Emergency transportation, the Claims Administrator reserves the right to select the air
ambulance Provider. If you do not use the air ambulance Provider selected, no benefits will be available.
Please note that an Out-of-Network Provider may bill you for any charges that exceed the Maximum
Allowed Amount.

You must be taken to the nearest Facility that can give care for your condition. In certain cases the
Claims Administrator may approve benefits for transportation to a Facility that is not the nearest Facility.

Benefits also include Medically Necessary treatment of a sickness or injury by medical professionals from
an ambulance service, even if you are not taken to a Facility.

Ambulance services are not covered when another type of transportation can be used without
endangering your health. Ambulance services for your convenience or the convenience of your family or
Doctor are not a Covered Service.

Other non-covered ambulance services include, but are not limited to, trips to:

a) A Doctor’s office or clinic;
b) A morgue or funeral home.

Important Notes on Air Ambulance Benefits
Benefits are only available for air ambulance when it is not appropriate to use a ground or water
ambulance. For example, if using a ground ambulance would endanger your health and your medical
condition requires a more rapid transport to a Facility than the ground ambulance can provide, the Plan
will cover the air ambulance. Air ambulance will also be covered if you are in an area that a ground or
water ambulance cannot reach.

Air ambulance will not be covered if you are taken to a Hospital that is not an acute care Hospital (such
as a Skilled Nursing Facility or a rehabilitation facility), or if you are taken to a Physician’s office or your
home.

Hospital to Hospital Transport

If you are moving from one Hospital to another, air ambulance will only be covered if using a ground
ambulance would endanger your health and if the Hospital that first treats cannot give you the medical
services you need. Certain specialized services are not available at all Hospitals. For example, burn
care, cardiac care, trauma care, and critical care are only available at certain Hospitals. To be covered,
you must be taken to the closest Hospital that can treat you. Coverage is not available for air
ambulance transfers simply because you, your family, or your Provider prefers a specific Hospital
or Physician.

Autism Services
Your Plan includes coverage for the treatment of neurological deficit disorders, including autism. Your
Plan also covers certain treatments associated with autism spectrum disorder (ASD) for dependents
through age five. Coverage for ASD includes but is not limited to the following:
     Diagnosis of autism spectrum disorder;
     Treatment of autism spectrum disorder;
     Pharmacy care;
     Psychiatric care;
     Psychological care; and
     Therapeutic care.




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Treatment for ASD includes Habilitative or rehabilitative services including Applied Behavior Analysis
when provided or supervised by a person professionally certified by a national board of behavior analysts,
or performed under the supervision of a person professionally certified by a national board of behavior
analysts.

Behavioral Health Services
See “Mental Health and Substance Abuse Services” later in this section.

Cardiac Rehabilitation
Please see “Therapy Services” later in this section.

Chemotherapy
Please see “Therapy Services” later in this section.

Chiropractic Services
Benefits are available for chiropractic treatments provided by a Doctor of Chiropractic medicine when
rendered within the scope of the chiropractic license. Covered Services include diagnostic testing,
manipulations, and treatment.

Benefits do not include the following:

1. Maintenance therapy, which is treatment given when no additional progress is apparent or expected
   to occur. Maintenance therapy includes treatment that preserves your present level of functioning
   and prevents loss of that functioning, but which does not result in any additional improvement.
2. Nutritional or dietary supplements, including vitamins.
3. Cervical pillows.
4. Spinal decompression devices. This includes, but is not limited to, Vertebral Axial Decompression
   (Vax-D) and DRX9000.

Clinical Trials
Benefits include coverage for services, such as routine patient care costs, given to you as a participant in
an approved clinical trial if the services are Covered Services under this Plan. An “approved clinical trial”
means a phase I, phase II, phase III, or phase IV clinical trial that studies the prevention, detection, or
treatment of cancer or other life-threatening conditions. The term life-threatening condition means any
disease or condition from which death is likely unless the disease or condition is treated.

Benefits are limited to the following trials:

1. Federally funded trials approved or funded by one of the following:

    a. The National Institutes of Health.
    b. The Centers for Disease Control and Prevention.
    c.   The Agency for Health Care Research and Quality.
    d. The Centers for Medicare & Medicaid Services.
    e. Cooperative group or center of any of the entities described in (a) through (d) or the Department
       of Defense or the Department of Veterans Affairs.



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      f.   A qualified non-governmental research entity identified in the guidelines issued by the National
           Institutes of Health for center support grants.
      g. Any of the following in i-iii below if the study or investigation has been reviewed and approved
         through a system of peer review that the Secretary of Health and Human Services determines 1)
         to be comparable to the system of peer review of studies and investigations used by the National
         Institutes of Health, and 2) assures unbiased review of the highest scientific standards by
         qualified individuals who have no interest in the outcome of the review.
           i.    The Department of Veterans Affairs.
           ii.   The Department of Defense.
           iii. The Department of Energy.

2. Studies or investigations done as part of an investigational new drug application reviewed by the
   Food and Drug Administration;

3. Studies or investigations done for drug trials which are exempt from the investigational new drug
   application.

Your Plan may require you to use an In-Network Provider to maximize your benefits.

Routine patient care costs include items, services, and drugs provided to you in connection with an
approved clinical trial that would otherwise be covered by this Plan.

All requests for clinical trials services including services that are not part of approved clinical trials will be
reviewed according to the Claims Administrator’s Clinical Coverage Guidelines, related policies and
procedures.

Your Plan is not required to provide benefits for the following services and reserves the right to exclude
any of the following services:

i.   The Investigational item, device, or service; or
ii.  Items and services that are given only to satisfy data collection and analysis needs and that are not
     used in the direct clinical management of the patient; or
iii. A service that is clearly inconsistent with widely accepted and established standards of care for a
     particular diagnosis;
iv. Any item or service that is paid for, or should have been paid for, by the sponsor of the trial.
Cancer Clinical Trial Programs for Children
Covered Services include routine patient care costs incurred in connection with the provision of goods,
services, and benefits to Members who are dependent children in connection with approved clinical trial
programs for the treatment of children’s cancer. Routine patient care costs mean those Medically
Necessary costs as provided in Georgia law (OCGA 33-24-59.1).

Dental Services (All Members / All Ages)
Preparing the Mouth for Medical Treatments
Your Plan includes coverage for dental services to prepare the mouth for medical services and treatments
such as radiation therapy to treat cancer and prepare for transplants. Covered Services include:

     Evaluation
     Dental x-rays
     Extractions, including surgical extractions
     Anesthesia


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Treatment of Accidental Injury
Benefits are also available for dental work needed to treat injuries to the jaw, sound natural teeth, mouth
or face as a result of an accident. An injury that results from chewing or biting is not considered an
Accidental Injury under this Plan, unless the chewing or biting results from a medical or mental condition.

Treatment must begin within 12 months of the injury, or as soon after that as possible to be a Covered
Service under this Plan.

Other Dental Services
Hospital or Facility charges and anesthesia needed for dental care are covered if the Member meets any
of the following conditions:

   The Member is under the age of 7;
   The Member has a chronic disability that is attributable to a mental and/ or physical impairment which
    results in substantial functional limitation in an area of the Member’s major life activity, and the
    disability is likely to continue indefinitely; or
   The Member has a medical condition that requires hospitalization or general anesthesia for dental
    care.

Diabetes Equipment, Education, and Supplies
Benefits are provided for medical supplies, services, and equipment used in the treatment of diabetes,
including diabetes self-management education programs.

Diabetes self management training is covered for an individual with insulin dependent diabetes, non-
insulin dependent diabetes, or elevated blood glucose levels induced by pregnancy or another medical
condition when:

   Medically Necessary;
   Ordered in writing by a Physician or a podiatrist; and
   Provided by a health care professional who is licensed, registered, or certified under state law.

For the purposes of this provision, a "health care professional" means the Physician or podiatrist ordering
the training or a Provider who has obtained certification in diabetes education by the American Diabetes
Association.

For information on equipment and supplies, please refer to the "Medical Supplies, Durable Medical
Equipment, and Appliances" provision in this section. For information on Prescription Drug coverage,
please refer to the "Prescription Drugs" section in this Benefit Booklet.

Diagnostic Services
Your Plan includes benefits for tests or procedures to find or check a condition when specific symptoms
exist. Tests must be ordered by a Provider and include diagnostic services ordered before a surgery or
Hospital admission. Benefits include the following services:

Diagnostic Laboratory and Pathology Services
   Laboratory and pathology tests, such as blood tests.
   Genetic tests, when allowed.




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Diagnostic Imaging Services and Electronic Diagnostic Tests
   X-rays / regular imaging services
   Ultrasound
   Electrocardiograms (EKG)
   Electroencephalography (EEG)
   Echocardiograms
   Hearing and vision tests for a medical condition or injury (not for screenings or preventive care)
   Tests ordered before a surgery or admission.

Advanced Imaging Services
Benefits are also available for advanced imaging services, which include but are not limited to:

   CT scan
   CTA scan
   Magnetic Resonance Imaging (MRI)
   Magnetic Resonance Angiography (MRA)
   Magnetic Resonance Spectroscopy (MRS)
   Nuclear Cardiology
   PET scans
   PET/CT Fusion scans
   QTC Bone Densitometry
   Diagnostic CT Colonography

The list of advanced imaging services may change as medical technologies change.

Dialysis / Hemodialysis
See “Therapy Services” later in this section.

Durable Medical Equipment and Medical Devices, Orthotics,
Prosthetics, and Medical and Surgical Supplies
Durable Medical Equipment and Medical Devices
Your Plan includes benefits for durable medical equipment and medical devices when the equipment
meets the following criteria:

   Is meant for repeated use and is not disposable.
   Is used for a medical purpose and is of no further use when medical need ends.
   Is meant for use outside a medical Facility.
   Is only for use of the patient.
   Is made to serve a medical use.
   Is ordered by a Provider.

Benefits include purchase-only equipment and devices (e.g., crutches and customized equipment),
purchase or rent-to-purchase equipment and devices (e.g., Hospital beds and wheelchairs), and
continuous rental equipment and devices (e.g., oxygen concentrator, ventilator, and negative pressure
wound therapy devices). Continuous rental equipment must be approved by the Claims Administrator.
The Plan may limit the amount of coverage for ongoing rental of equipment. The Plan may not cover
more in rental costs than the cost of simply purchasing the equipment).




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Benefits include repair and replacement costs as well as supplies and equipment needed for the use of
the equipment or device, for example, a battery for a powered wheelchair.

Oxygen and equipment for its administration are also Covered Services. Benefits are also available for
cochlear implants.

Your Plan includes benefits for prosthetics and durable medical equipment and medical supplies for the
treatment of diabetes. Your plan also includes benefits for breast pumps as described in the “Preventive
Care” section.

Hearing Aids
Benefits are provided for the following Medically Necessary hearing aids and related services for children
18 year of age and under:

       The initial hearing aid evaluation, fitting, dispensing and programming;
       Servicing, repairs, follow-up maintenance and adjustments;
       Ear molds and ear mold impressions;
       Auditory training; and
       Probe microphone measurements to ensure appropriate gain and output.

Coverage provides for the replacement of one hearing aid per hearing impaired ear every 48 months.

Benefits are limited. Please see the “Schedule of Benefits” to see any Deductible, Coinsurance,
Copayment or other benefit limitations that may apply.

Orthotics
Benefits are available for certain types of orthotics (braces, boots, splints). Covered Services include the
initial purchase, fitting, and repair of a custom made rigid or semi-rigid supportive device used to support,
align, prevent, or correct deformities or to improve the function of movable parts of the body, or which
limits or stops motion of a weak or diseased body part.

Prosthetics
Your Plan also includes benefits for prosthetics, which are artificial substitutes for body parts for functional
or therapeutic purposes, when they are Medically Necessary for activities of daily living.

Benefits include the purchase, fitting, adjustments, repairs and replacements. Covered Services may
include, but are not limited to:

   Artificial limbs and accessories;
   One pair of glasses or contact lenses used after surgical removal of the lens(es) of the eyes;
   Breast prosthesis (whether internal or external) after a mastectomy, as required by the Women’s
    Health and Cancer Rights Act.
   Colostomy and other ostomy (surgical construction of an artificial opening) supplies directly related to
    ostomy care.
   Restoration prosthesis (composite facial prosthesis).
   Wigs needed after cancer treatment.




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Medical and Surgical Supplies
Your Plan includes coverage for medical and surgical supplies that serve only a medical purpose, are
used once, and are purchased (not rented). Covered supplies include syringes, needles, surgical
dressings, splints, and other similar items that serve only a medical purpose. Covered Services do not
include items often stocked in the home for general use like Band-Aids, thermometers, and petroleum
jelly.

Blood and Blood Products
Your Plan also includes coverage for the administration of blood products unless they are received from a
community source, such as blood donated through a blood bank.

Emergency Care Services
Emergency Services
If you are experiencing an Emergency please call 911 or visit the nearest Hospital for treatment.

Benefits are available in a Hospital Emergency Room for services and supplies to treat the onset of
symptoms for an Emergency, which is defined below.

Emergency (Emergency Medical Condition)
“Emergency,” or “Emergency Medical Condition” means a medical or behavioral health condition of recent
onset and sufficient severity, including but not limited to, severe pain, that would lead a prudent
layperson, possessing an average knowledge of medicine and health, to believe that his or her condition,
sickness, or injury is of such a nature that not getting immediate medical care could result in: (a) placing
the patient’s mental or physical health or the health of another person in serious danger or, for a pregnant
woman, placing the woman’s health or the health of her unborn child in serious danger; (b) serious
impairment to bodily functions; or (c) serious dysfunction of any bodily organ or part. Such conditions
include but are not limited to, chest pain, stroke, poisoning, serious breathing problems,
unconsciousness, severe burns or cuts, uncontrolled bleeding, or seizures and such other acute
conditions as may be determined to be Emergencies by the Claims Administrator.

Emergency Care
“Emergency Care” means a medical or behavioral health exam done in the Emergency Department of a
Hospital, and includes services routinely available in the Emergency Department to evaluate an
Emergency Condition. It includes any further medical or behavioral health exams and treatment required
to stabilize the patient.

Medically Necessary services will be covered whether you get care from an In-Network or Out-of-Network
Provider. Emergency Care you get from an Out-of-Network Provider will be covered as an In-Network
service, but you may have to pay the difference between the Out-of-Network Provider’s charge and the
Maximum Allowed Amount, as well as any applicable Coinsurance, Copayment or Deductible.

The Maximum Allowed Amount for Emergency Care from an Out-of-Network Provider will be the greatest
of the following:

1. The amount negotiated with In-Network Providers for the Emergency service;
2. The amount for the Emergency service calculated using the same method the Claims Administrator
   generally uses to determine payments for Out-of-Network services but substituting the In-Network
   cost-sharing for the Out-of-Network cost-sharing provisions; or
3. The amount that would be paid under Medicare for the Emergency service.




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If you are admitted to the Hospital from the Emergency Room, be sure that you or your Doctor calls the
Claims Administrator as soon as possible. The Claims Administrator will review your care to decide if a
Hospital stay is needed and how many days you should stay. See “Getting Approval for Benefits” for
more details. If you or your Doctor fails to call the Claims Administrator, you may have to pay for services
that are determined to be not Medically Necessary.

Treatment you get after your condition has stabilized is not Emergency Care. If you continue to get care
from an Out-of-Network Provider, Covered Services will be covered at the Out-of-Network level unless the
Claims Administrator agrees to cover them as an Authorized Service.

Habilitative Services
Benefits also include habilitative health care services and devices that help you keep, learn or improve
skills and functioning for daily living. Examples include therapy for a child who isn’t walking or talking at
the expected age. These services may include physical and occupational therapy, speech-language
pathology and other services for people with disabilities in a variety of inpatient and/or outpatient settings.

Home Care Services
When available in your area, benefits are available for Covered Services performed by a Home Health
Care Agency or other Provider in your home. To be eligible for benefits, you must essentially be confined
to the home, as an alternative to a Hospital stay, and be physically unable to get needed medical
services on an outpatient basis. Services must be prescribed by a Doctor and the services must be so
inherently complex that they can be safely and effectively performed only by qualified, technical, or
professional health staff.

Covered Services include but are not limited to:

   Intermittent skilled nursing services by an R.N. or L.P.N.
   Medical / social services
   Diagnostic services
   Nutritional guidance
   Training of the patient and/or family/caregiver
   Home health aide services. You must be receiving skilled nursing or therapy. Services must be given
    by appropriately trained staff working for the home health care Provider. Other organizations may
    give services only when approved by the Claims Administrator, and their duties must be assigned and
    supervised by a professional nurse on the staff of the home health care Provider or other Provider as
    approved.
   Therapy Services (except for Manipulation Therapy which will not be covered when given in the
    home)
   Medical supplies
   Durable medical equipment

Benefits are also available for Intensive In-home Behavioral Health Services. These do not require
confinement to the home. These services are described in the “Mental Health and Substance Abuse
Services” section below.

Home Infusion Therapy
See “Therapy Services” later in this section.




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Hospice Care
You are eligible for hospice care if your Doctor and the Hospice medical director certify that you are
terminally ill and likely have less than twelve (12) months to live. You may access hospice care while
participating in a clinical trial or continuing disease modifying therapy, as ordered by your treating
Provider. Disease modifying therapy treats the underlying terminal illness.

The services and supplies listed below are Covered Services when given by a Hospice for the palliative
care of pain and other symptoms that are part of a terminal disease. Palliative care means care that
controls pain and relieves symptoms, but is not meant to cure a terminal illness. Covered Services
include:

1. Care from an interdisciplinary team with the development and maintenance of an appropriate plan of
   care.
2. Short-term Inpatient Hospital care when needed in periods of crisis or as respite care.
3. Skilled nursing services, home health aide services, and homemaker services given by or under the
   supervision of a registered nurse.
4. Social services and counseling services from a licensed social worker.
5. Nutritional support, such as intravenous feeding and feeding tubes
6. Physical therapy, occupational therapy, speech therapy, and respiratory therapy given by a licensed
   therapist.
7. Pharmaceuticals, medical equipment, and supplies needed for the palliative care of your condition,
   including oxygen and related respiratory therapy supplies.
8. Bereavement (grief) services, including a review of the needs of the bereaved family and the
   development of a care plan to meet those needs, both before and after the Member’s death.
   Bereavement services are available to surviving members of the immediate family for one year after
   the Member’s death. Immediate family means your spouse, children, stepchildren, parents, brothers
   and sisters.

Your Doctor must agree to care by the Hospice and must be consulted in the development of the
treatment plan. The Hospice must keep a written care plan on file and give it to the Claims Administrator
upon request.

Benefits for services beyond those listed above that are given for disease modification or palliation, such
as but not limited to chemotherapy and radiation therapy, are available to a Member in Hospice. These
services are covered under other parts of this Plan.

Human Organ and Tissue Transplant (Bone Marrow / Stem Cell)
Services
Your Plan includes coverage for Medically Necessary human organ and tissue transplants. Certain
transplants (e.g., cornea and kidney) are covered like any other surgery, under the regular inpatient and
outpatient benefits described elsewhere in this Benefit Booklet.

This section describes benefits for certain Covered Transplant Procedures that you get during the
Transplant Benefit Period. Any Covered Services related to a Covered Transplant Procedure, received
before or after the Transplant Benefit Period, are covered under the regular Inpatient and outpatient
benefits described elsewhere in this Booklet.

In this section, you will see some key terms which are defined below:




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Covered Transplant Procedure
As decided by the Claims Administrator, any Medically Necessary human organ, tissue, and stem cell /
bone marrow transplants and infusions including necessary acquisition procedures, mobilization,
collection and storage. It also, includes Medically Necessary myeloablative or reduced intensity
preparative chemotherapy, radiation therapy, or a combination of these therapies.

In-Network Transplant Provider
A Provider that we have chosen as a Center of Excellence and/or a Provider selected to take part as an
In-Network Transplant Provider by the Blue Cross and Blue Shield Association. The Provider has
entered into a Transplant Provider Agreement to give Covered Transplant Procedures to you and take
care of certain administrative duties for the transplant network. A Provider may be an In-Network
Transplant Provider for:

   Certain Covered Transplant Procedures; or
   All Covered Transplant Procedures.

Out-of-Network Transplant Provider
Any Provider that has NOT been chosen as a Center of Excellence by us or has not been selected to
take part as an In-Network Transplant Provider by the Blue Cross and Blue Shield Association.

Transplant Benefit Period
At an In-Network Transplant Provider Facility, the Transplant Benefit Period starts one day before a
Covered Transplant Procedure and lasts for the applicable case rate / global time period. The number of
days will vary depending on the type of transplant received and the In-Network Transplant Provider
agreement. Call the Case Manager for specific In-Network Transplant Provider details for services
received at or coordinated by an In-Network Transplant Provider Facility.

At an Out-of-Network Transplant Provider Facility, the Transplant Benefit Period starts one day before a
Covered Transplant Procedure and lasts until the date of discharge.

Prior Approval and Precertification
To maximize your benefits, you should call the Claims Administrator’s Transplant Department as
soon as you think you may need a transplant to talk about your benefit options. You must do this
before you have an evaluation and/or work-up for a transplant. They will help you maximize your
benefits by giving you coverage information, including details on what is covered and if any clinical
coverage guidelines, medical policies, In-Network Transplant Provider rules, or Exclusions apply. Call the
Member Services phone number on the back of your Identification Card and ask for the transplant
coordinator. Even if you are given a prior approval for the Covered Transplant Procedure, you or your
Provider must call the Transplant Department for Precertification prior to the transplant whether this is
performed in an Inpatient or Outpatient setting.

Precertification is required before the Plan will cover benefits for a transplant. Your Doctor must certify,
and the Claims Administrator must agree, that the transplant is Medically Necessary. Your Doctor should
send a written request for Precertification to the Claims Administrator as soon as possible to start this
process. Not getting Precertification will result in a denial of benefits.

Please note that there are cases where your Provider asks for approval for HLA testing, donor searches
and/or a collection and storage of stem cells prior to the final decision as to what transplant procedure will
be needed. In these cases, the HLA testing and donor search charges are covered as routine diagnostic
testing. The collection and storage request will be reviewed for Medical Necessity and may be approved.
However, such an approval for HLA testing, donor search and/or collection and storage is NOT an
approval for the later transplant. A separate Medical Necessity decision will be needed for the transplant.



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Transportation and Lodging
The Plan will cover the cost of reasonable and necessary travel costs when you get prior approval and
need to travel more than 75 miles from your permanent home to reach the Facility where the Covered
Transplant Procedure will be performed. Assistance with travel costs includes transportation to and from
the Facility, and lodging for the patient and one companion. Travel costs for the donor are generally not
covered, unless the Claims Administrator makes an exception and approve them in advance of the
procedure. If the Member receiving care is a minor, then reasonable and necessary costs for
transportation and lodging may be allowed for two companions. You must send itemized receipts for
transportation and lodging costs in a form satisfactory to the Claims Administrator when claims are filed.
Call the Claims Administrator for complete information.

For lodging and ground transportation benefits, the Plan will cover costs up to the current limits set forth
in the Internal Revenue Code.

Non-Covered Services for transportation and lodging include, but are not limited to:

1. Child care,
2. Mileage within the medical transplant Facility city,
3. Rental cars, buses, taxis, or shuttle service, except as specifically approved by the Claims
    Administrator,
4. Frequent Flyer miles,
5. Coupons, Vouchers, or Travel tickets,
6. Prepayments or deposits,
7. Services for a condition that is not directly related, or a direct result, of the transplant,
8. Phone calls,
9. Laundry,
10. Postage,
11. Entertainment,
12. Travel costs for donor companion/caregiver,
13. Return visits for the donor for a treatment of an illness found during the evaluation.
14. Meals.

Infertility Services
Please see “Maternity and Reproductive Health Services” later in this section.

Inpatient Services
Inpatient Hospital Care

Covered Services include acute care in a Hospital setting.

Benefits for room, board, and nursing services include:

   A room with two or more beds.
   A private room. The most the Plan will cover for a private room is the Hospital’s average semi-private
    room rate unless it is Medically Necessary that you use a private room for isolation and no isolation
    facilities are available.
   A room in a special care unit approved by the Claims Administrator. The unit must have facilities,
    equipment, and supportive services for intensive care or critically ill patients.



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   Routine nursery care for newborns during the mother’s normal Hospital stay.
   Meals, special diets.
   General nursing services.

Benefits for ancillary services include:

   Operating, childbirth, and treatment rooms and equipment.
   Prescribed Drugs.
   Anesthesia, anesthesia supplies and services given by the Hospital or other Provider.
   Medical and surgical dressings and supplies, casts, and splints.
   Diagnostic services.
   Therapy services, including infusion therapy services.

Inpatient Professional Services
Covered Services include:

    1. Medical care visits.
    2. Intensive medical care when your condition requires it.
    3. Treatment for a health problem by a Doctor who is not your surgeon while you are in the Hospital
       for surgery. Benefits include treatment by two or more Doctors during one Hospital stay when the
       nature or severity of your health problem calls for the skill of separate Doctors.
    4. A personal bedside exam by a Doctor when asked for by your Doctor. Benefits are not available
       for staff consultations required by the Hospital, consultations asked for by the patient, routine
       consultations, phone consultations, or EKG transmittals by phone.
    5. Surgery and general anesthesia.
    6. Newborn exam. A Doctor other than the one who delivered the child must do the exam.
    7. Professional charges to interpret diagnostic tests such as imaging, pathology reports, and
       cardiology.

Maternity and Reproductive Health Services
Maternity Services
Covered Services include services needed during a normal or complicated pregnancy and for services
needed for a miscarriage. Covered maternity services include:

   Professional and Facility services for childbirth in a Facility or the home including the services of an
    appropriately licensed nurse midwife;
   Routine nursery care for the newborn during the mother’s normal Hospital stay, including
    circumcision of a covered male Dependent;
   Prenatal, postnatal, and postpartum services; and
   Medically Necessary fetal screenings, which are genetic or chromosomal tests of the fetus, as
    allowed.

Benefits are only available to the Subscriber and the spouse. Benefits are not available for Dependent
daughters.

If you are pregnant on your Effective Date and in the first trimester of the pregnancy, you must change to
an In-Network Provider to have Covered Services covered at the In-Network level. If you are pregnant on
your Effective Date and in your second or third trimester of pregnancy (13 weeks or later) as of the
Effective Date, benefits for obstetrical care will be available at the In-Network level even if an Out-of-
Network Provider is used if you fill out a Continuation of Care Request Form and send it to the Claims
Administrator. Covered Services will include the obstetrical care given by that Provider through the end
of the pregnancy and the immediate post-partum period.



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Important Note About Maternity Admissions: Under federal law, the Plan may not limit benefits for any
Hospital length of stay for childbirth for the mother or newborn to less than 48 hours after vaginal birth, or
less than 96 hours after a cesarean section (C-section). However, federal law as a rule does not stop the
mother’s or newborn’s attending Provider, after consulting with the mother, from discharging the mother
or her newborn earlier than 48 hours, or 96 hours, as applicable. In any case, as provided by federal law,
the Plan may not require a Provider to get authorization before prescribing a length of stay which is not
more than 48 hours for a vaginal birth or 96 hours after a C-section.

Contraceptive Benefits
Benefits include prescription oral contraceptive drugs, injectable contraceptive drugs and patches.
Benefits also include contraceptive devices such as diaphragms, intra uterine devices (IUDs), and
implants. Certain contraceptives are covered under the “Preventive Care” benefit. Please see that
section for further details.

Sterilization Services
Benefits include sterilization services and services to reverse a non-elective sterilization that resulted from
an illness or injury. Reversals of elective sterilizations are not covered. Sterilizations for women are
covered under the “Preventive Care” benefit.

Infertility Services
Important Note: Although this Plan offers limited coverage of certain infertility services, it does not cover
all forms of infertility treatment. Benefits do not include assisted reproductive technologies (ART) or the
diagnostic tests and Prescription Drugs to support it. Examples of ART include artificial insemination, in-
vitro fertilization, zygote intrafallopian transfer (ZIFT), or gamete intrafallopian transfer (GIFT).

Covered Services include diagnostic tests to find the cause of infertility, such as diagnostic laparoscopy,
endometrial biopsy, and semen analysis. Benefits also include services to treat the underlying medical
conditions that cause infertility (e.g., endometriosis, obstructed fallopian tubes, and hormone deficiency).
Fertility treatments such as artificial insemination and in-vitro fertilization are not a Covered Service.

Mental Health and Substance Abuse Services
Covered Services include the following:

   Inpatient Services in a Hospital or any Facility that must be covered by law. Inpatient benefits
    include psychotherapy, psychological testing, electroconvulsive therapy, and detoxification or
    outpatient Facility, such as partial hospitalization programs and intensive outpatient programs.

   Online Visits when available in your area. Covered Services include a medical visit with the Doctor
    using the internet by a webcam, chat or voice. Online visits do not include reporting normal lab or
    other test results, requesting office visits, getting answers to billing, insurance coverage or payment
    questions, asking for referrals to doctors outside the online care panel, benefit precertification, or
    Doctor to Doctor discussions.

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   Residential Treatment which is specialized 24-hour treatment in a licensed Residential Treatment
    Center. It offers individualized and intensive treatment and includes:

       Observation and assessment by a physician weekly or more often,
       Rehabilitation, therapy, and education.

   Outpatient Services including office visits, therapy and treatment, Partial Hospitalization/Day
    Treatment Programs, Intensive Outpatient Programs and Intensive In-Home Behavioral Health
    Services.

Examples of Providers from whom you can get Covered Services include:

   Psychiatrist,
   Psychologist,
   Neuropsychologist,
   Licensed clinical social worker (L.C.S.W.),
   Mental health clinical nurse specialist,
   Licensed marriage and family therapist (L.M.F.T.),
   Licensed professional counselor (L.P.C) or
   Any agency licensed to give these services, when they must be covered by law.

Nutritional Counseling
Covered Services include nutritional counseling visits when referred by your Doctor as indicated in the
Schedule of Benefits.

Occupational Therapy
Please see “Therapy Services” later in this section.

Office Visits and Doctor Services
Covered Services include:

Office Visits for medical care (including second surgical opinion) to examine, diagnose, and treat an
illness or injury.

Home Visits for medical care to examine, diagnose, and treat an illness or injury. Please note that
Doctor visits in the home are different than the “Home Care Services” benefit described earlier in this
Benefit Booklet.

Retail Health Clinic Care for limited basic health care services to Members on a “walk-in” basis. These
clinics are normally found in major pharmacies or retail stores. Health care services are typically given by
Physician’s Assistants or nurse practitioners. Services are limited to routine care and the treatment of
common illnesses for adults and children.

Walk-In Doctor’s Office for services limited to routine care and the treatment of common illnesses for
adults and children. You do not have to be an existing patient or have an appointment to use a walk-in
Doctor’s office.

Urgent Care as described in the “Urgent Care Services” later in this section.




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Online Visits when available in your area. Covered Services include a medical visit with the Doctor
using the internet by a webcam, chat or voice. Online visits do not include reporting normal lab or other
test results, requesting office visits, getting answers to billing, insurance coverage or payment questions,
asking for referrals to Doctors outside the online care panel, benefit precertification, or Doctor to Doctor
discussions. For Mental Health and Substance Abuse online Visits, see the “Mental Health and
Substance Abuse” section.

Prescription Drugs Administered in the Office

Orthotics
See “Durable Medical Equipment (DME) and Medical Devices, Orthotics, Prosthetics, Medical and
Surgical Supplies” earlier in this section.

Outpatient Facility Services
Your Plan includes Covered Services in an:

   Outpatient Hospital,
   Freestanding Ambulatory Surgical Facility,
   Mental Health / Substance Abuse Facility, or
   Other Facilities approved by the Claims Administrator.

Benefits include Facility and related (ancillary) charges, when proper, such as:

   Surgical rooms and equipment,
   Prescription Drugs including Specialty Drugs,
   Anesthesia and anesthesia supplies and services given by the Hospital or other Facility,
   Medical and surgical dressings and supplies, casts, and splints,
   Diagnostic services,
   Therapy services.

Physical Therapy
Please see “Therapy Services” later in this section.

Preventive Care
Preventive care includes screenings and other services for adults and children. All recommended
preventive services will be covered as required by the Affordable Care Act (ACA) and applicable state
law. This means many preventive care services are covered with no Deductible, Copayments or
Coinsurance when you use an In-Network Provider.

Certain benefits for Members who have current symptoms or a diagnosed health problem may be
covered under the “Diagnostic Services” benefit instead of this benefit, if the coverage does not fall within
the state or ACA-recommended preventive services.




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Covered Services fall under the following broad groups:

1. Services with an “A” or “B” rating from the United States Preventive Services Task Force. Examples
   include screenings for:

    a.   Breast cancer,
    b.   Cervical cancer,
    c.   Colorectal cancer,
    d.   High blood pressure,
    e.   Type 2 Diabetes Mellitus,
    f.   Cholesterol,
    g.   Child and adult obesity.

2. Immunizations for children, adolescents, and adults recommended by the Advisory Committee on
   Immunization Practices of the Centers for Disease Control and Prevention;

3. Preventive care and screenings for infants, children and adolescents as listed in the guidelines
   supported by the Health Resources and Services Administration; and

4. Preventive care and screening for women as listed in the guidelines supported by the Health
   Resources and Services Administration, including:

    a. Women’s contraceptives, sterilization treatments, and counseling. This includes Generic and
       single-source Brand Drugs as well as injectable contraceptives and patches. Contraceptive
       devices such as diaphragms, intra uterine devices (IUDs), and implants are also covered. Multi-
       source Brand Drugs will be covered under the “Prescription Drug Benefit at a Retail or Home
       Delivery (Mail Order) Pharmacy”.
    b. Breastfeeding support, supplies, and counseling. Benefits for breast pumps are limited to one
       pump per Benefit Period.
    c.   Gestational diabetes screening.

5. Preventive care services for tobacco cessation for members age 18 and older as recommended by
   the United States Preventive Services Task Force including:
       a) Counseling
       b) Prescription Drugs
       c) Nicotine replacement therapy products when prescribed by a Provider, including over the
           counter (OTC) nicotine gum, lozenges and patches.

6. Prescription Drugs and OTC items identified as an A or B recommendation by the United States
   Preventive Services Task Force when prescribed by a Provider including:
      a) Aspirin
      b) Folic acid supplement
      c) Vitamin D supplement
      d) Bowel preparations

Please note that certain age and gender and quantity limitations apply.

You may call Member Services at the number on your Identification Card for more details about these
services or view the federal government’s web sites, https://www.healthcare.gov/what-are-my-preventive-
care-benefits, http://www.ahrq.gov, and http://www.cdc.gov/vaccines/acip/index.html.




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Covered Services also include the following services required by state and federal law:

    -   Lead poisoning screening for children.
    -   Routine mammograms.
    -   Appropriate and necessary childhood immunizations that meet the standards approved by the
        U.S. public health service for such biological products against at least all of the following:
        - Diphtheria,
        - Pertussis,
        - Tetanus,
        - Polio,
        - Measles,
        - Mumps,
        - Rubella,
        - Hemophilus influenza b (Hib),
        - Hepatitis B,
        - Varicella.

    (Additional immunizations will be covered per federal law, as indicated earlier in this section.)

    -   Routine colorectal cancer examination and related laboratory tests.
    -   Chlamydia screening.
    -   Ovarian surveillance testing.
    -   Pap smear.
    -   Prostate screening.

Private Duty Nursing
Precertification of Medical Necessity is required from the Doctor and must be confirmed by Anthem.

Limitations for both Inpatient and Outpatient RN and LPN
    Covered Services rendered by an RN or LPN, whether on an Inpatient or outpatient basis, are
        limited to the Benefit Period maximum per Member as shown in the Schedule of Benefits.
    Inpatient care is covered only when [no intensive or cardiac care unit is available, and the care
        needed is beyond the capabilities of the Hospital’s floor nurses. Services may be performed by
        either an In-Network or Out-of-Network Provider.
    Covered Services do not include services when:
         requested by, or for the convenience of, the patient or the patient’s family;
         services consist primarily of bathing, feeding, exercising, homemaking, moving the patient,
             giving oral medication, or acting as a companion or sitter;
         the private duty nurse is a relative by blood or marriage or member of the household of the
             Member; Inpatient services could have been rendered by the Hospital’s general nursing staff;
             or outpatient services could be safely rendered by an individual other that a RN or LPN.

Prosthetics
See “Durable Medical Equipment (DME) and Medical Devices, Orthotics, Prosthetics, Medical and
Surgical Supplies” earlier in this section.

Pulmonary Therapy
Please see “Therapy Services” later in this section.




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Radiation Therapy
Please see “Therapy Services” later in this section.

Rehabilitation Services
Benefits include services in a Hospital, free-standing Facility, Skilled Nursing Facility, or in an outpatient
day rehabilitation program.

Covered Services involve a coordinated team approach and several types of treatment, including skilled
nursing care, physical, occupational, and speech therapy, and services of a social worker or psychologist.

To be Covered Services, rehabilitation services must involve goals you can reach in a reasonable period
of time. Benefits will end when treatment is no longer Medically Necessary and you stop progressing
toward those goals.

Respiratory Therapy
Please see “Therapy Services” later in this section.

Skilled Nursing Facility
When you require Inpatient skilled nursing and related services for convalescent and rehabilitative care,
Covered Services are available if the Facility is licensed or certified under state law as a Skilled Nursing
Facility. Custodial Care is not a Covered Service.

Smoking Cessation
Please see the “Preventive Care” section in this Benefit Booklet.

Speech Therapy
Please see “Therapy Services” later in this section.

Surgery
Your Plan covers surgical services on an Inpatient or outpatient basis, including office surgeries.
Covered Services include:

    1) Accepted operative and cutting procedures;
    2) Other invasive procedures, such as angiogram, arteriogram, amniocentesis, tap or puncture of
       brain or spine;
    3) Endoscopic exams, such as arthroscopy, bronchoscopy, colonoscopy, laparoscopy;
    4) Treatment of fractures and dislocations;
    5) Anesthesia and surgical support when Medically Necessary;
    6) Medically Necessary pre-operative and post-operative care.

Oral Surgery
Important Note: Although this Plan provides coverage for certain oral surgeries, many types of oral
surgery procedures are not covered by this medical Plan.

Benefits are also limited to certain oral surgeries including:


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   Treatment of medically diagnosed cleft lip, cleft palate, or ectodermal dysplasia;
   Orthognathic surgery for a physical abnormality that prevents normal function of the upper and/or
    lower jaw and is Medically Necessary to attain functional capacity of the affected part.
   Oral / surgical correction of accidental injuries as indicated in the “Dental Services” section.
   Treatment of non-dental lesions, such as removal of tumors and biopsies.
   Incision and drainage of infection of soft tissue not including odontogenic cysts or abscesses.
   Removal of wisdom teeth.

Reconstructive Surgery
Benefits include reconstructive surgery performed to correct significant deformities caused by congenital
or developmental abnormalities, illness, injury, or an earlier treatment in order to create a more normal
appearance. Benefits include surgery performed to restore symmetry after a mastectomy. Reconstructive
services needed as a result of an earlier treatment are covered only if the first treatment would have been
a Covered Service under this Plan.

Note: This section does not apply to orthognathic surgery. See the “Oral Surgery” section above for that
benefit.

Mastectomy Notice

A Member who is getting benefits for a mastectomy or for follow-up care for a mastectomy and who
chooses breast reconstruction, will also get coverage for:

   Reconstruction of the breast on which the mastectomy has been performed;
   Surgery and reconstruction of the other breast to give a symmetrical appearance; and
   Prostheses and treatment of physical problems of all stages of mastectomy, including lymphedemas.

Telemedicine
Your coverage also includes telemedicine services provided by a duly licensed Doctor or healthcare
Provider by means of audio, video, or data communications (to include secured electronic mail).

The use of standard phone, facsimile transmissions, unsecured electronic mail, or a combination thereof
does not constitute telemedicine service and is not a covered benefit.

The use of telemedicine may substitute for a face-to-face “hands on” encounter for consultation.

To be eligible for payment, interactive audio and video telecommunications must be used, permitting real-
time communications between the distant Doctor or Provider and the Member / patient. As a condition of
payment, the patient (Member) must be present and participating.

Therapy Services
Physical Medicine Therapy Services
Your Plan includes coverage for the therapy services described below. To be a Covered Service, the
therapy must improve your level of function within a reasonable period of time. Covered Services include:

   Physical therapy – The treatment by physical means to ease pain, restore health, and to avoid
    disability after an illness, injury, or loss of an arm or leg. It includes hydrotherapy, heat, physical
    agents, bio-mechanical and neuro-physiological principles and devices. It does not include massage
    therapy services at spas or health clubs.



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   Speech therapy and speech-language pathology (SLP) services – Services to identify, assess,
    and treat speech, language, and swallowing disorders in children and adults. Therapy will develop or
    treat communication or swallowing skills to correct a speech impairment.
   Occupational therapy – Treatment to restore a physically disabled person’s ability to do activities of
    daily living, such as walking, eating, drinking, dressing, using the toilet, moving from a wheelchair to
    bed, and bathing. It also includes therapy for tasks needed for the person’s job. Occupational therapy
    does not include recreational or vocational therapies, such as hobbies, arts and crafts.




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   Chiropractic / Osteopathic / Manipulation therapy – Includes therapy to treat problems of the
    bones, joints, and the back. The two therapies are similar, but chiropractic therapy focuses on the
    joints of the spine and the nervous system, while osteopathic therapy also focuses on the joints and
    surrounding muscles, tendons and ligaments.

Early Intervention Services

Physical, Occupational and Speech Therapy

Benefits are available for the care and treatment of congenital defects and birth abnormalities for covered
children without regard to whether the condition is acute or chronic and without regard to whether the
purpose of the therapy is to maintain or improve functional capacity. From the Member’s birth until the
Member’s third (3rd) birthday, these early intervention services shall be provided only to the extent
required by law. From the Member’s birth until the Member’s sixth (6th) birthday, benefits are allowed up
to the maximum visits listed in the “Schedule of Benefits” for physical, speech and occupational therapies.

For all other Members (e.g. those six (6) and older, or who not qualify for the benefits above), benefits are
provided only if the physical, speech or occupational therapy will result in a practical improvement in the
level of functioning within a reasonable period of time and the physical, speech or occupational therapy
must be Medically Necessary. Benefits for physical, speech or occupational are allowed up to the
maximum visits listed in the “Schedule of Benefits”.

Other Therapy Services
Benefits are also available for:

   Cardiac Rehabilitation – Medical evaluation, training, supervised exercise, and psychosocial
    support to care for you after a cardiac event (heart problem). Benefits do not include home programs,
    on-going conditioning, or maintenance care.
   Chemotherapy – Treatment of an illness by chemical or biological antineoplastic agents. See the
    section “Prescription Drugs Administered by a Medical Provider” for more details.
   Dialysis / Hemodialysis – Services for acute renal failure and chronic (end-stage) renal disease,
    including hemodialysis, home intermittent peritoneal dialysis (IPD), home continuous cycling
    peritoneal dialysis (CCPD), and home continuous ambulatory peritoneal dialysis (CAPD). Covered
    Services include dialysis / hemodialysis treatments in an outpatient dialysis / hemodialysis Facility.
    Covered Services also include home dialysis / hemodialysis and training for you and the person who
    will help you with home self-dialysis.
   Infusion Therapy – Nursing, durable medical equipment and Prescription Drug services that are
    delivered and administered to you through an I.V. in your home. Also includes: Total Parenteral
    Nutrition (TPN), enteral nutrition therapy, antibiotic therapy, pain care and chemotherapy. May include
    injections (intra-muscular, subcutaneous, continuous subcutaneous). See the section “Prescription
    Drugs Administered by a Medical Provider” for more details.
   Pulmonary Rehabilitation – Includes outpatient short-term respiratory care to restore your health
    after an illness or injury.
   Radiation Therapy – Treatment of an illness by x-ray, radium, or radioactive isotopes. Covered
    Services include treatment (teletherapy, brachytherapy and intraoperative radiation, photon or high
    energy particle sources), materials and supplies needed, and treatment planning.
   Respiratory Therapy – Includes the use of dry or moist gases in the lungs, nonpressurized
    inhalation treatment; intermittent positive pressure breathing treatment, air or oxygen, with or without
    nebulized medication, continuous positive pressure ventilation (CPAP); continuous negative pressure
    ventilation (CNP); chest percussion; therapeutic use of medical gases or Prescription Drugs in the
    form of aerosols, and equipment such as resuscitators, oxygen tents, and incentive spirometers;
    broncho-pulmonary drainage and breathing exercises.




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Transplant Services
See “Human Organ and Tissue Transplant” earlier in this section.

Urgent Care Services
Often an urgent rather than an Emergency health problem exists. An urgent health problem is an
unexpected illness or injury that calls for care that cannot wait until a regularly scheduled office visit.
Urgent health problems are not life threatening and do not call for the use of an Emergency Room.
Urgent health problems include earache, sore throat, and fever (not above 104 degrees).

Benefits for urgent care include:

       X-ray services;
       Care for broken bones;
       Tests such as flu, urinalysis, pregnancy test, rapid strep;
       Lab services;
       Stitches for simple cuts; and
       Draining an abscess.

Vision Services (All Members / All Ages)
Benefits include medical and surgical treatment of injuries and illnesses of the eye. Certain vision
screenings required by Federal law are covered under the “Preventive Care” benefit.

Benefits do not include glasses and contact lenses except as listed in the “Prosthetics” benefit.




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     Prescription Drugs Administered by a Medical Provider
Your Plan covers Prescription Drugs including Specialty Drugs that must be administered to you as part
of a Doctor’s visit, home care visit, or at an outpatient Facility when they are Covered Services. This may
include drugs for infusion therapy, chemotherapy, blood products, certain injectables, and any drug that
must be administered by a Provider. This section applies when a Provider orders the drug and a medical
provider administers it to you in a medical setting. Benefits for drugs that you inject or get through your
Pharmacy benefits (i.e., self-administered drugs) are not covered under this section. Benefits for those
drugs are described in the “Prescription Drug Benefit at a Retail or Home Delivery (Mail Order) Pharmacy”
section.

Benefits for other Prescription Drugs that you get from a Retail or Mail Order Pharmacy are described in
the “Prescription Drug Benefit at a Retail or Home Delivery (Mail Order) Pharmacy” section.

Important Details About Prescription Drug Coverage
Your Plan includes certain features to determine when Prescription Drugs should be covered, which are
described below. As part of these features, your prescribing Doctor may be asked to give more details
before the Claims Administrator can decide if the drug is eligible for coverage. In order to determine if the
Prescription Drug is eligible for coverage, we have established criteria.

The criteria, which are called drug edits, may include requirements regarding one or more of the
following:

   Quantity, dose, and frequency of administration,

   Specific clinical criteria including, but not limited to, requirements regarding age, test result
    requirements, and/or presence of a specific condition or disease,

   Specific Provider qualifications including, but not limited to, REMS certification (Risk, Evaluation and
    Mitigation Strategies),

   Step therapy requiring one drug, drug regimen, or treatment be used prior to use of another drugor
    drug regimen, or treatment for safety and/or cost-effectiveness when clinically similar results may be
    anticipated,

   Use of a Prescription Drug List (a formulary developed by us) which is a list of FDA-approved Drugs
    that have been reviewed and recommended for use based on their quality and cost effectiveness.

Covered Prescription Drugs
To be a Covered Service, Prescription Drugs must be approved by the Food and Drug Administration
(FDA) and, under federal law, require a Prescription. Prescription Drugs must be prescribed by a
licensed Provider and Controlled Substances must be prescribed by a licensed Provider with an active
DEA license.

Compound drugs are a Covered Service when a commercially available dosage form of a Medically
Necessary medication is not available, all the ingredients of the compound drug are FDA approvedas
designated in the FDA’s Orange Book: Approved Drug Products with Therapeutic Equivalence
Evaluations, require a prescription to dispense, and are not essentially the same as an FDA approved
product from a drug manufacturer. Non-FDA approved, non-proprietary, multisource ingredients that are
vehicles essential for compound administration may be covered.




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Designated Pharmacy Provider

Anthem in its sole discretion, may establish one or more Designated Pharmacy Provider programs which
provide specific pharmacy services (including shipment of Prescription Drugs) to Members. An In-
Network Provider is not necessarily a Designated Pharmacy Provider. To be a Designated Pharmacy
Provider, the In-Network Provider must have signed a Designated Pharmacy Provider Agreement with the
Claims Administrator. You or your Provider can contact Member Services to learn which Pharmacy or
Pharmacies are part of a Designated Pharmacy Provider program.

For Prescription Drugs that are shipped to you or your Provider and administered in your Provider’s office,
you and your Provider are required to order from a Designated Pharmacy Provider. A Patient Care
coordinator will work with you and your Provider to obtain Precertification and to assist shipment to your
Provider’s office.

The Claims Administrator may also require you to use a Designated Pharmacy Provider to obtain
Prescription Drugs for treatment of certain clinical conditions such as Hemophilia. The Claims
Administrator reserves the right to modify the list of Prescription Drugs as well as the setting and/or level
of care in which the care is provided to you. The Claims Administrator may, from time to time, change
with or without advance notice, the Designated Pharmacy Provider for a Drug, if in the Claims
Administrator’s discretion, such change can help provide cost effective, value based and/or quality
services.

If you are required to use a Designated Pharmacy Provider and you choose not to obtain your
Prescription Drug from a Designated Pharmacy Provider, you will not have coverage for that Prescription
Drug.

You can get the list of the Prescription Drugs covered under this section by calling Member Services at
the phone number on the back of your Identification Card or check the website at www.anthem.com.




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    Prescription Drug Benefit at a Retail or Home Delivery (Mail
                        Order) Pharmacy
Your Plan also includes benefits for Prescription Drugs you get at a Retail or Mail Order Pharmacy as
outlined in the “Schedule of Benefits”. The Claims Administrator uses a Pharmacy Benefits Manager
(PBM) to manage these benefits. The PBM has a network of Retail Pharmacies, a Home Delivery (Mail
Order) Pharmacy, and a Specialty Pharmacy. The PBM works to make sure Prescription Drugs are used
properly. This includes checking that Prescription Drugs are based on recognized and appropriate doses
and checking for drug interactions or pregnancy concerns.

Please note: Benefits for Prescription Drugs, including Specialty Drugs, which are administered to you by
a medical Provider in a medical setting (e.g., doctor’s office visit, home care visit, or outpatient Facility)
are covered under the “Prescription Drugs Administered by a Medical Provider” benefit. Please read that
section for important details.

Prescription Drug Benefits
Covered Prescription Drugs
To be a Covered Service, Prescription Drugs must be approved by the Food and Drug Administration
(FDA) and, under federal law, require a Prescription. Prescription Drugs must be prescribed by a
licensed Provider and you must get them from a licensed Pharmacy. Controlled Substances must be
prescribed by a licensed Provider with an active DEA license.

Benefits are available for the following:

    Prescription Legend Drugs from either a Retail Pharmacy or the PBM’s Home Delivery Pharmacy;
    Specialty Drugs;
    Self-administered drugs. These are Drugs that do not need administration or monitoring by a
     Provider in an office or Facility. Injectables and infused Drugs that need Provider administration
     and/or supervision are covered under the “Prescription Drugs Administered by a Medical Provider”
     benefit;
    Self-injectable insulin and supplies and equipment used to administration insulin;
    Self administered contraceptives, including oral contraceptive drugs, self-injectable contraceptive
     drugs, contraceptive rings, and contraceptive patches. Certain contraceptives are covered under the
     “Preventive Care” benefits. Please see that section for further details.
    Special food products or supplements when prescribed by a Doctor if the Claims Administrator
     agrees they are Medically Necessary.
    Flu Shots (including administration). These will be covered under the “Preventive Care” benefit.
    Immunizations (including administration) required by the “Preventive Care” benefit.
    Prescription Drugs that help you stop smoking or reduce your dependence on tobacco products.
     These Drugs will be covered under the “Preventive Care” benefit.
    FDA-approved smoking cessation products, including over the counter nicotine replacement
     products, when obtained with a Prescription for a Member age 18 or older. These products will be
     covered under the “Preventive Care” benefit.
    Compound drugs when a commercially available dosage form of a Medically Necessary medication is
     not available, all the ingredients of the compound drug are FDA approved as designated in the FDA’s
     Orange Book: Approved Drug Products with Therapeutic Equivalence Evaluations, require a
     prescription to dispense, and are not essentially the same as an FDA approved product from a drug
     manufacturer. Non-FDA approved, non-proprietary, multisource ingredients that are vehicles
     essential for compound administration may be covered.



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Off-Label Drugs

When prescribed to a Member with a life-threatening or chronic and disabling condition or disease,
benefits are provided for the following:
 Off-label Drugs
 Medically Necessary services associated with the administration of such a drug.

An off-label drug is a drug prescribed for a use that is different from the use for which it was originally
approved for marketing by the federal Food and Drug Administration.




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Where You Can Get Prescription Drugs
In-Network Pharmacy

You can visit one of the local Retail Pharmacies in the network. Give the Pharmacy the prescription from
your Doctor and your Identification Card and they will file your claim for you. You will need to pay any
Copayment, Coinsurance, and/or Deductible that applies when you get the drug. If you do not have your
Identification Card, the Pharmacy will charge you the full retail price of the Prescription Drug and will not
be able to file the claim for you. You will need to ask the Pharmacy for a detailed receipt and send it to
the Claims Administrator with a written request for payment.

Important Note: If it is determined that you may be using Prescription Drugs in a harmful or abusive
manner, or with harmful frequency, your selection of In-Network Pharmacies may be limited. If this
happens, the Claims Administrator may require you to select a single In-Network Pharmacy that will
provide and coordinate all future pharmacy services. Benefits will only be paid if you use the single In-
Network Pharmacy. The Claims Administrator will contact you if it is determined that use of a single In-
Network Pharmacy is needed and give you options as to which In-Network Pharmacy you may use. If
you do not select one of the In-Network Pharmacies the Claims Administrator offers within 31 days, a
single In-Network Pharmacy will be selected for you. If you disagree with the Claims Administrators
decision, you may ask for it to be reconsidered as outlined in the “Your Right To Appeal” section of this
Booklet.

Specialty Pharmacy

The Claims Administrator keeps a list of Specialty Drugs that may be covered based upon clinical findings
from the Pharmacy and Therapeutics (P&T) Process, and where appropriate, certain clinical economic
reasons. The list of Specialty Drugs will change from time to time. The Claims Administrator may require
you or your doctor to order certain Specialty Drugs from the PBM’s Specialty Pharmacy.

When you use the PBM’s Specialty Pharmacy its patient care coordinator will work with you and your
Doctor to get prior authorization and to ship your Specialty Drugs to your home or your preferred address.
Your patient care coordinator will also tell you when it is time to refill your prescription.

You can get the list of covered Network Specialty Pharmacies and/or Specialty Drugs by calling Member
Services at the phone number on the back of your Identification Card or check the Claims Administrator’s
website at www.anthem.com.

Home Delivery Pharmacy

The PBM also has a Home Delivery Pharmacy which lets you get certain drugs by mail if you take them
on a regular basis. You will need to contact the PBM to sign up when you first use the service. You can
mail written prescriptions from your Doctor or have your Doctor send the prescription to the Home
Delivery Pharmacy. Your Doctor may also call the Home Delivery Pharmacy. You will need to send in
any Copayments, Deductible, or Coinsurance amounts that apply when you ask for a prescription or refill.

A Maintenance Medication is a drug you take on a regular basis to treat or control a chronic illness such
as heart disease, high blood pressure, epilepsy, or diabetes. If you are not sure if the Prescription Drug
you are taking is a Maintenance Medication, please call Member Services at the number on the back of
your Identification Card or check the Claims Administrator’s website at www.anthem.com for more details.

Out-of-Network Pharmacy

You may also use a Pharmacy that is not in the network. You will be charged the full retail price of the
Prescription Drug and you will have to submit your claim for the Prescription Drug to the Claims
Administrator. (Out-of-Network Pharmacies won’t file the claim for you.) You can obtain a claims form
from the Claims Administrator or the PBM. You must fill in the top section of the form and ask the Out-of-



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Network Pharmacy to fill in the bottom section. If the bottom section of this form cannot be completed by
the pharmacist, you must attach an itemized detailed receipt to the claim form. The receipt must show:

   Name and address of the Out-of-Network Pharmacy;
   Patient’s name;
   Prescription number;
   Date the prescription was filled;
   Name of the Prescription Drug;
   Cost of the Prescription Drug;
   Quantity (amount) of each covered Prescription Drug or refill dispensed.

You must pay the amount shown in the “Schedule of Benefits”. This is based on the Maximum Allowed
Amount as determined by the Claims Administrator’s normal or average contracted rate with network
pharmacies on or near the date of service.

What You Pay for Prescription Drugs
Tiers

Your share of the cost for Prescription Drugs may vary based on the tier the drug is in as outlined in the
“Schedule of Benefits”.

   Tier 1 Drugs have the lowest Coinsurance or Copayment. This tier contains low cost and preferred
    drugs that may be Generic, single source Brand Drugs, or multi-source Brand Drugs, Biosimilars,
    Interchangeable Biologic Products.
   Tier 2 Drugs have a higher Coinsurance or Copayment than those in Tier 1. This tier may contain
    preferred drugs that may be Generic, single source, Brand Drugs, Biosimilars, Interchangeable
    Biologic Products,or multi-source Brand Drugs.
   Tier 3 Drugs have a higher Coinsurance or Copayment than those in Tier 2. This tier may contain
    higher cost, preferred and non-preferred drugs that may be Generic, single source Brand Drugs,
    Biosimilars, Interchangeable Biologic Products, or multi-source Brand Drugs.
   Tier 4 Drugs will have a higher Coinsurance or Copayment than those in Tier 3. This tier may contain
    higher cost, preferred, and non-preferred Drugs that may be Generic, single source Brand Drugs,
    Biosimilars, Interchangeable Biologic Products or multi-source Brand Drugs.

The tiers are assigned based on clinical findings from the Pharmacy and Therapeutics (P&T) Process.
The Claims Administrator retains the right, in its discretion, to decide coverage for doses and
administration (i.e., oral, injection, topical, or inhaled). The Claims Administrator may cover one form of
administration instead of another, or put other forms of administration in a different tier.




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You may request a copy of the covered Prescription Drug list by calling the Member Services telephone
number on the back of your Identification Card or visiting our website at www.anthem.com. The covered
Prescription Drug list is subject to periodic review and amendment. Inclusion of a Drug or related item on
the covered Prescription Drug list is not a guarantee of coverage.

Prescription Drug List

The Plan follows a Prescription Drug List, (a formulary), which is a list of FDA-approved Drugs that have
been reviewed and recommended for use based on their quality and cost effectiveness. Benefits may not
be covered for certain Drugs if they are not on the Prescription Drug List.

The Drug List (Formulary) is developed based upon clinical findings, and where proper, the cost of the
Drug relative to other Drugs in its therapeutic class or used to treat the same or similar condition. It is
also based on the availability of over the counter medicines, Generic Drugs, the use of one Drug over
another, and where proper, certain clinical economic reasons.

The Claims Administrator retains the right, at its discretion, to decide coverage for doses and
administration methods (i.e., oral, injections, topical, or inhaled) and may cover one form of administration
instead of another as Medically Necessary.

Exception Request for a Drug not on the Prescription Drug List

If you or your Doctor believes you need a Prescription Drug that is not on the Prescription Drug List,
please have your Doctor or pharmacist get in touch with the Claims Administrator. The other Prescription
Drug will be covered only if it is agreed to be Medically Necessary and appropriate over the other drugs
that are on the List. The Claims Administrator will make a coverage decision within 72 hours of receiving
your request. If the Claims Administrator approves the coverage of the drug, coverage of the drug will be
provided for the duration of your prescription, including refills. If the Claims Administrator denies coverage
of the drug, you have the right to request an external review by an Independent Review Organization
(IRO). The IRO will make a coverage decision within 72 hours of receiving your request. If the IRO
approves the coverage of the drug, coverage of the drug will be provided for the duration of your
prescription, including refills.

You or your Doctor may also submit a request for a Prescription Drug that is not on the Prescription Drug
List based on exigent circumstances. Exigent circumstances exist if you are suffering from a health
condition that may seriously jeopardize your life, health, or ability to regain maximum function, or if you
are undergoing a current course of treatment using a drug not covered by the Plan. The Claims
Administrator will make a coverage decision within 24 hours of receiving your request. If the Claims
Administrator approves the coverage of the drug, coverage of the drug will be provided for the duration of
the exigency. If the Claims Administrator denies coverage of the drug, you have the right to request an
external review by an IRO. The IRO will make a coverage decision within 24 hours of receiving your
request. If the IRO approves the coverage of the drug, coverage of the drug will be provided for the
duration of the exigency.

Coverage of a drug approved as a result of your request or your Doctor’s request for an exception will
only be provided if you are a Member enrolled under the Plan.

Additional Information about the Prescription Drug Formulary

You may request a copy of the covered Prescription Drug list (Formulary) by calling the Member Services
telephone number on the back of your Identification Card or by visiting our website at www.anthem.com.
The covered Prescription Drug list is subject to periodic review and amendment. Inclusion of a drug or
related item on the covered Prescription Drug list is not a guarantee of coverage.




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The Claims Administrator may only modify the Formulary for the following reasons:

   Additions of new drugs, including Generic Drugs, as they become available.
   Removal of drugs from the marketplace based on either FDA guidance or the manufacturer’s
    decision.
   Re-classification of drugs from “formulary preferred” to “formulary non-preferred” or vice versa. All
    drug reclassifications are overseen by an independent Physician review committee. Changes can
    occur:
     Based on new clinical studies indicating additional or new evidence that can either benefit the
        patient’s outcome or that identifies potential harm to the patient.
     When multiple Similar Drugs are available, such as other drugs within a specific drug class (for
        example anti-inflammatory drugs, anti-depressants or corticosteroid asthma inhalers);
     When a Brand Name Drug loses its patent and Generic Drugs become available; or
     When Brand Name Drugs become available over the counter.
     Re-classification of drugs to non-formulary status when Therapeutic / Clinically Equivalent Drugs
        are available including over the counter drugs.

Similar Drugs mean drugs within the same drug class or type, such as insomnia drugs, oral
contraceptives, seizure drugs, etc.

Therapeutic / Clinically Equivalent Drugs are drugs that, for the majority of Members, can be expected
to produce similar therapeutic outcomes for a disease or condition. Therapeutic / Clinically Equivalent
determinations are based on industry standards and reviewed by such organizationsas The Agency for
Healthcare Research and Quality (AHRQ), a division of the U.S. Department of Health and Human
Services.

You will be notified in writing of drugs changing to non-formulary status at least 30 days prior to the
effective date of the change if you have had a prescription for the drug within the previous 12 months of
coverage under this Plan. Drugs considered for non-formulary status are only those with Therapeutic /
Clinically Equivalent alternatives.

You may request a non-formulary drug using the prior authorization process described later in this
section. If your request is denied, you may file an appeal. For information regarding the prior
authorization or the appeals process, please call the Member Services number on your Identification
Card.

Additional Features of Your Prescription Drug Pharmacy Benefit
Step Therapy

Step therapy is a process in which you may need to use one type of drug before the Plan will cover
another. The Claims Administrator checks certain Prescription Drugs to make sure that proper
prescribing guidelines are followed. These guidelines help you get high quality and cost effective
Prescription Drugs. If a Doctor decides that a certain drug is needed, the prior authorization will apply.

Day Supply and Refill Limits

Certain day supply limits apply to Prescription Drugs as listed in the “Schedule of Benefits”. In most
cases, you must use a certain amount of your prescription before it can be refilled. In some cases you
may be able to get an early refill. For example, you may refill your prescription early if it is decided that
you need a larger dose. The Claims Administrator will work with the Pharmacy to decide when this
should happen.

If you are going on vacation and you need more than the day supply allowed, you should ask your
pharmacist to call the PBM and ask for an override for one early refill. If you need more than one extra
refill, please call Member Services at the number on the back of your Identification Card.


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Important Note: Prescriptions for inhalants prescribed to enable breathing in patients with asthma or
other life-threatening bronchial ailments are not restricted by day supply limits and will be filled as ordered
or prescribed by the treating Doctor.

Drug Cost Share Assistance Programs

If you participate in certain drug cost share assistance programs offered by drug manufacturers or other
third parties to reduce the cost share (Copayment, Coinsurance) you pay for certain Specialty Drugs, the
reduced amount you pay may be the amount applied to your Deductible and/or Out-of-Pocket Limit when
the Prescription Drug is provided by an In-Network Provider. Your eligibility to participate in such
programs is dependent on the programs’ applicable terms and conditions, which may be subject to
change from time to time. These programs may be discontinued at any given time upon appropriate
advance notice.




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                                     What’s Not Covered
In this section you will find a review of items that are not covered by your Plan. Excluded items will not be
covered even if the service, supply, or equipment is Medically Necessary. This section is only meant to be
an aid to point out certain items that may be misunderstood as Covered Services. This section is not
meant to be a complete list of all the items that are excluded by your Plan.

1. Abortion Services, supplies, Prescription Drugs, and other care provided for elective (voluntary
   abortions and/or fetal reduction surgery.
    This exclusion does not apply to therapeutic abortions, which are abortions performed to save the life
    or health of the mother, as a result of incest or rape, or as recommended by a Doctor.
2. Acts of War, Disasters, or Nuclear Accidents In the event of a major disaster, epidemic, war, or
   other event beyond the Claims Administrator’s control, the Claims Administrator will make a good
   faith effort to give you Covered Services. The Claims Administrator will not be responsible for any
   delay or failure to give services due to lack of available Facilities or staff.
    Benefits will not be given for any illness or injury that is a result of war, service in the armed forces, a
    nuclear explosion, nuclear accident, release of nuclear energy, a riot, or civil disobedience. This
    exclusion does not apply to acts of terrorism.
3. Administrative Charges
    a) Charges for the completion of claim forms,
    b) Charges to get medical records or reports,
    c) Membership, administrative, or access fees charged by Doctors or other Providers. Examples
       include, but are not limited to, fees for educational brochures or calling you to give you test
       results.
4. Alternative / Complementary Medicine Services or supplies for alternative or complementary
   medicine. This includes, but is not limited to:
    a) Acupuncture,
    b) Holistic medicine,
    c) Homeopathic medicine,
    d) Hypnosis,
    e) Aroma therapy,
    f) Reiki therapy,
    g) Herbal, vitamin or dietary products or therapies,
    h) Naturopathy,
    i) Thermography,
    j) Orthomolecular therapy,
    k) Contact reflex analysis,
    l) Bioenergial synchronization technique (BEST),
    m) Iridology-study of the iris,
    n) Auditory integration therapy (AIT),
    o) Colonic irrigation,
    p) Magnetic innervation therapy,
    q) Electromagnetic therapy,
    r) Neurofeedback / Biofeedback.




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5. Applied Behavioral Treatment (including, but not limited to Applied Behavior Analysis and Intensive
   Behavior Interventions) for all indications except as described under Autism Services in the “What’s
   Covered” section unless otherwise required by law.
6. Before Effective Date or After Termination Date Charges for care you get before your Effective
   Date or after your coverage ends, except as written in this Plan.
7. Certain Providers Services you get from Providers that are not licensed by law to provide Covered
   Services as defined in this Booklet. Examples include, but are not limited to, masseurs or masseuses
   (massage therapists), physical therapist technicians, and athletic trainers.
8. Charges Over the Maximum Allowed Amount Charges over the Maximum Allowed Amount for
   Covered Services.
9. Charges Not Supported by Medical Records Charges for services not described in your medical
   records.
10. Clinically Equivalent Alternatives Certain Prescription Drugs may not be covered if you could use a
    clinically equivalent drug, unless required by law. “Clinically equivalent” means drugs that for most
    Members, will give you similar results for a disease or condition. If you have questions about whether
    a certain drug is covered and which drugs fall into this group, please call the number on the back of
    your Identification Card, or visit our website at www.anthem.com.

    If you or your Doctor believes you need to use a different Prescription Drug, please have your Doctor
    or pharmacist get in touch with the Claims Administrator. The Claims Administrator will cover the
    other Prescription Drug only if it agrees that it is Medically Necessary and appropriate over the
    clinically equivalent drug. The Claims Administrator will review benefits for the Prescription Drug from
    time to time to make sure the drug is still Medically Necessary.
11. Complications of/or Services Related to Non-Covered Services Services, supplies, or treatment
    related to or, for problems directly related to a service that is not covered by this Plan. Directly
    related means that the care took place as a direct result of the non-Covered Service and would not
    have taken place without the non-Covered Service. This Exclusion does not apply to problems
    resulting from pregnancy.
12. Compound Drugs Compound Drugs unless all of the ingredients are FDA-approved as designated
    in the FDA’s Orange Book: Approved Drug Products with Therapeutic Equivalence Evaluations,
    require a prescription to dispense, and the compound medication is not essentially the same as an
    FDA-approved product from a drug manufacturer. Exceptions to non-FDA approved compound
    ingredients may include multi-source, non-proprietary vehicles and/or pharmaceutical adjuvants.
13. Contraceptives Non-prescription contraceptive devices unless required by law.
14. Cosmetic Services Treatments, services, Prescription Drugs, equipment, or supplies given for
    cosmetic services. Cosmetic services are meant to preserve, change, or improve how you look or
    are given for social reasons. No benefits are available for surgery or treatments to change the texture
    or look of your skin or to change the size, shape or look of facial or body features (such as your nose,
    eyes, ears, cheeks, chin, chest or breasts).
    This Exclusion does not apply to reconstructive surgery for breast symmetry after a mastectomy,
    surgery to correct birth defects and birth abnormalities, or surgery to restore function of any body area
    that has been altered by illness or trauma.
15. Court Ordered Testing Court ordered testing or care unless Medically Necessary.
16. Crime Treatment of injury or illness that results from a crime you committed, or tried to commit. This
    Exclusion does not apply if your involvement in the crime was solely the result of a medical or mental
    condition, or where you were the victim of a crime, including domestic violence.
17. Custodial Care Custodial Care, convalescent care or rest cures. This Exclusion does not apply to
    Hospice services.
18. Delivery Charges Charges for delivery of Prescription Drugs.


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19. Dental Treatment
    Excluded dental treatment includes but is not limited to preventive care and fluoride treatments;
    dental x-rays, supplies, appliances and all associated expenses; and diagnosis and treatment for the
    teeth, jaw or gums such as:
       Removing, restoring, or replacing teeth;
       Medical care or surgery for dental problems (unless listed as a Covered Service in this Benefit
        Booklet);
       Services to help dental clinical outcomes.
    Dental treatment for injuries that are a result of biting or chewing is also excluded, unless the chewing
    or biting results from a medical or mental condition.
    This exclusion does not apply to services that must be covered by law.
20. Dental Services – Dental services not described as Covered Services in this Benefit Booklet.
21. Drugs Contrary to Approved Medical and Professional Standards Drugs given to you or
    prescribed in a way that is against approved medical and professional standards of practice.
22. Drugs Over Quantity or Age Limits Drugs which are over any quantity or age limits set by the Plan.
    Quantity limits do not apply to prescriptions for inhalants to treat asthma.
23. Drugs Prescribed by Providers Lacking Qualifications/Registrations/Certifications Prescription
    Drugs prescribed by a Provider that does not have the necessary qualifications, registrations, and/or
    certifications, as determined by the Claims Administrator.
24. Drugs That Do Not Need a Prescription Drugs that do not need a prescription by federal law
    (including Drugs that need a prescription by state law, but not by federal law), except for injectable
    insulin.
25. Educational Services Services or supplies for teaching, vocational, or self training purposes,
    including Applied Behavior Analysis (ABA), except as listed in this Benefit Booklet.
26. Experimental or Investigational Services Services or supplies that are found to be Experimental /
    Investigational. This also applies to services related to Experimental / Investigational services,
    whether you get them before, during, or after you get the Experimental / Investigational service or
    supply.
    The fact that a service or supply is the only available treatment for a condition will not make it eligible
    for coverage if the Claims Administrator deems it to be Experimental / Investigative.
27. Eyeglasses and Contact Lenses Eyeglasses and contact lenses to correct your eyesight. This
    Exclusion does not apply to lenses needed after a covered eye surgery.
28. Eye Exercises Orthoptics and vision therapy.
29. Eye Surgery Eye surgery to fix errors of refraction, such as near-sightedness. This includes, but is
    not limited to, LASIK, radial keratotomy or keratomileusis, and excimer laser refractive keratectomy.
30. Family Members Services prescribed, ordered, referred by or given by a member of your immediate
    family, including your spouse, child, brother, sister, parent, in-law, or self.
31. Foot Care Routine foot care unless Medically Necessary. This Exclusion applies to trimming nails;
    cleaning and preventive foot care, including but not limited to:
    a) Cleaning and soaking the feet.
    b) Applying skin creams to care for skin tone.
    c) Other services that are given when there is not an illness, injury or symptom involving the foot.
32. Foot Orthotics Foot orthotics, orthopedic shoes or footwear or support items unless used for a
    systemic illness affecting the lower limbs, such as severe diabetes.



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33. Foot Surgery Surgical treatment of flat feet; subluxation of the foot; weak, strained, unstable feet;
    tarsalgia; metatarsalgia; hyperkeratoses.
34. Free Care Services you would not have to pay for if you didn’t have this Plan. This includes, but is
    not limited to government programs, services during a jail or prison sentence, services you get from
    Workers Compensation, and services from free clinics.
    If Worker’s Compensation benefits are not available to you, this Exclusion does not apply. This
    Exclusion will apply if you get the benefits in whole or in part. This Exclusion also applies whether or
    not you claim the benefits or compensation, and whether or not you get payments from any third
    party.
35. Gene Therapy Gene therapy as well as any Drugs, procedures, health care services related to it that
    introduce or is related to the introduction of genetic material into a person intended to replace or
    correct faulty or missing genetic material.
36. Hearing Aids Hearing aids or exams to prescribe or fit hearing aids for Members over 18 years of
    age, unless listed as covered in this Benefit Booklet. This Exclusion does not apply to cochlear
    implants. This Exclusion does not apply to hearing aids to correct degenerative hearing loss.
37. Health Club Memberships and Fitness Services Health club memberships, workout equipment,
    charges from a physical fitness or personal trainer, or any other charges for activities, equipment, or
    facilities used for physical fitness, even if ordered by a Doctor. This Exclusion also applies to health
    spas.
38. Home Care
    a) Services given by registered nurses and other health workers who are not employees of or
       working under an approved arrangement with a home health care Provider.
    b) Food, housing, homemaker services and home delivered meals.
39. Infertility Treatment Testing or treatment related to infertility except for diagnostic services and
    procedures to correct an underlying medical condition. Infertility procedures not specified in this
    Benefit Booklet.
40. Lost or Stolen Drugs Refills of lost or stolen Drugs.
41. Maintenance Therapy Rehabilitative treatment given when no further gains are clear or likely to
    occur. Maintenance therapy includes care that helps you keep your current level of function and
    prevents loss of that function, but does not result in any change for the better. This Exclusion does
    not apply to “Habilitative Services” as described in the “What’s Covered” section.
42. Medical Equipment Devices and Supplies
    a) Replacement or repair of purchased or rental equipment because of misuse, abuse, or loss/theft.
    b) Surgical supports, corsets, or articles of clothing unless needed to recover from surgery or injury.
    c) Non-Medically Necessary enhancements to standard equipment and devices.
    d) Supplies, equipment and appliances that include comfort, luxury, or convenience items or
       features that exceed what is Medically Necessary in your situation. Reimbursement will be based
       on the Maximum Allowable Amount for a standard item that is a Covered Service, serves the
       same purpose, and is Medically Necessary. Any expense that exceeds the Maximum Allowable
       Amount for the standard item which is a Covered Service is your responsibility.
43. Medicare Services for which benefits are payable under Medicare Parts A or B, or would have been
    payable if you had applied for Parts A or B, except, as listed in this Benefit Booklet or as required by
    federal law, as described in the section titled "Medicare" in the “General Provisions” section. If you do
    not enroll in Medicare Part B, the Claims Administrator will calculate benefits as if you had enrolled.
    You should sign up for Medicare Part B as soon as possible to avoid large out of pocket costs. If you
    are covered under an active group policy this may not apply to you.




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44. Missed or Cancelled Appointments Charges for missed or cancelled appointments.
45. Non-approved Drugs Drugs not approved by the FDA.
46. Non-Medically Necessary Services Services the Claims Administrator concludes are not Medically
    Necessary. This includes services that do not meet medical policy, clinical coverage, or benefit policy
    guidelines.
47. Nutritional or Dietary Supplements Nutritional and/or dietary supplements, except as described in
    this Benefit Booklet or that must be covered by law. This Exclusion includes, but is not limited to,
    nutritional formulas and dietary supplements that you can buy over the counter and those you can get
    without a written prescription or from a licensed pharmacist.
48. Office Services Office Services except those listed as Covered Services in this Booklet unless
    required by law.
49. Oral Surgery Extraction of teeth, and other oral surgeries to treat the teeth or bones and gums
    directly supporting the teeth, except as listed in this Benefit Booklet.
50. Out-of-Network Care Services from a Provider that is not in our network. This does not apply to
    Emergency Care, Urgent Care, or Authorized Services.
51. Personal Care and Convenience
    a) Items for personal comfort, convenience, protective, or cleanliness such as air conditioners,
       humidifiers, water purifiers, sports helmets, raised toilet seats, and shower chairs;
    b) First aid supplies and other items kept in the home for general use (bandages, cotton-tipped
       applicators, thermometers, petroleum jelly, tape, non-sterile gloves, heating pads);
    c) Home workout or therapy equipment, including treadmills and home gyms;
    d) Pools, whirlpools, spas, or hydrotherapy equipment;
    e) Hypo-allergenic pillows, mattresses, or waterbeds; or
    f)   Residential, auto, or place of business structural changes (ramps, lifts, elevator chairs,
         escalators, elevators, stair glides, emergency alert equipment, handrails).
52. Prosthetics Prosthetics for sports or cosmetic purposes.
53. Residential Accommodations Residential Accommodations to treat medical or behavioral health
    conditions, except when provided in a Hospital, Hospice, Skilled Nursing Facility, or Residential
    Treatment Center. This Exclusion includes procedures, equipment, service, supplies or charges for
    the following:
         a) Domiciliary care provided in a residential institution, treatment center, halfway house, or
            school because a Member’s own home arrangements are not available or are unsuitable, and
            consisting chiefly of room and board, even if therapy is included.
         b) Care provided or billed by a hotel, health resort, convalescent home, rest home, nursing
            home or other extended care facility home for the aged, infirmary, school infirmary, institution
            providing education in special environments, supervised living or halfway house, or any
            similar facility or institution.
         c) Services or care provided or billed by a school, Custodial Care center for the developmentally
            disabled, or outward bound programs, even is psychotherapy is included.
         d) Wilderness camps.
54. Routine Physicals and Immunizations Physical exams and immunizations required for travel,
    enrollment in any insurance program, as a condition of employment, for licensing, sports programs, or
    for other purposes, which are not required by law under the “Preventive Care” benefit.
55. Sanctioned or Excluded Providers Any service, Drug, Drug regimen, treatment, or supply,
    furnished, ordered, or prescribed by a Provider identified as an excluded individual or entity on



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    the U.S. Department of Health and Human Services Office of Inspector General List of Excluded
    Individuals/Entities (OIG List), the General Services Administration System for Award Management
    (GSA List), State Medicaid exclusion lists or other exclusion/sanctioned lists as published by Federal
    or State regulatory agencies. This exclusion does not apply to Emergency Care.
56. Services Received Outside of the United States Services rendered by Providers located outside of
    the United States, unless the services are for Emergency Care, Urgent Care, and Emergency
    Ambulance.
57. Sex Change Services and supplies for a sex change and/or the reversal of a sex change.
58. Sexual Dysfunction Services or supplies for male or female sexual problems.
59. Stand-By Charges Stand-by charges of a Doctor or other Provider.
60. Sterilization Reversals of elective sterilizations are not covered. This does not apply to sterilizations
    for women, which will be covered under the “Preventive Care” benefit. Please see that section for
    further details.
61. Surrogate Mother Services Services or supplies for a person not covered under this Plan for a
    surrogate pregnancy (including, but not limited to, the bearing of a child by another woman for an
    infertile couple).
62. Temporomandibular Joint Treatment Fixed or removable appliances which move or reposition the
    teeth, fillings, or prosthetics (crowns, bridges, dentures).
63. Travel Costs Mileage, lodging, meals, and other Member-related travel costs except as described in
    this Plan.
64. Vein Treatment Treatment of varicose veins or telangiectatic dermal veins (spider veins) by any
    method (including sclerotherapy or other surgeries) for cosmetic purposes.
65. Vision Services Vision services not described as Covered Services in this Benefit Booklet.
66. Waived Cost-shares Out-of-Network For any service for which you are responsible under the terms
    of this Plan to pay a Copayment, Coinsurance or Deductible, and the Copayment, Coinsurance or
    Deductible is waived by an Out-of-Network Provider.
67. Weight Loss Programs Programs, whether or not under medical supervision, unless listed as
    covered in this Benefit Booklet.
    This Exclusion includes, but is not limited to, commercial weight loss programs (Weight Watchers,
    Jenny Craig, LA Weight Loss) and fasting programs.
68. Weight Loss Surgery Bariatric surgery. This includes but is not limited to Roux-en-Y (RNY),
    laparoscopic gastric bypass surgery or other gastric bypass surgery (surgeries to lower stomach
    capacity and divert partially digested food from the duodenum to the jejunum, the section of the small
    intestine extending from the duodenum), or gastroplasty, (surgeries that reduce stomach size), or
    gastric banding procedures.




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What’s Not Covered Under Your Prescription Drug Retail or Home Delivery (Mail
Order) Pharmacy Benefit
In addition to the above Exclusions, certain items are not covered under the Prescription Drug Retail or
Home Delivery (Mail Order) Pharmacy benefit:

1. Administration Charges Charges for the administration of any drug except for covered
   immunizations as approved.
2. Charges Not Supported by Medical Records Charges for pharmacy services not related to
   conditions, diagnoses, and/or recommended medications described in your medical records.
3. Clinically-Equivalent Alternatives Certain Prescription Drugs may not be covered if you could use a
   clinically equivalent Prescription Drug, unless required by law. “Clinically equivalent” means
   Prescription Drugs that for most Members, will give you similar results for a disease or condition. If
   you have questions about whether a certain Prescription Drug is covered and which Prescription
   Drugs fall into this group, please call the number on the back of your Identification Card, or visit the
   Claims Administrator’s website at www.anthem.com. If you or your Doctor believes you need to use
   a different Prescription Drug, please have your Doctor or pharmacist get in touch with the Claims
   Administrator. The other Prescription Drug will be covered only if it is Medically Necessary and
   appropriate over the clinically equivalent Prescription Drug. Benefits for the Prescription Drug will be
   reviewed from time to time to make sure the Prescription Drug is still Medically Necessary.
4. Compound Drugs Compound Drugs unless all of the ingredients are FDA-approved as designated
   in the FDA’s Orange Book: Approved Drug Products with Therapeutic Equivalence Evaluations,
   requires a prescription to dispense, and the compound medication is not essentially the same as an
   FDA-approved product from a drug manufacturer. Exceptions to non-FDA approved compound
   ingredients may include multi-source, non-proprietary vehicles and/or pharmaceutical adjuvants.
5. Contrary to Approved Medical and Professional Standards Drugs given to you or prescribed in a
   way that is against approved medical and professional standards of practice.
6. Delivery Charges Charges for delivery of Prescription Drugs.
7. Drugs Given at the Provider’s Office / Facility Drugs you take at the time and place where you are
   given them or where the Prescription Order is issued. This includes samples given by a Doctor. This
   Exclusion does not apply to Prescription Drugs used with a diagnostic service, Prescription Drugs
   given during chemotherapy in the office as described in the “Prescription Drugs Administered by a
   Medical Provider” section, or Prescription Drugs covered under the “Medical and Surgical Supplies”
   benefit – they are Covered Services.
8. Drugs Not on the Prescription Drug List (a Formulary) You can get a copy of the list by calling the
   Claims Administrator or visiting the website at www.anthem.com. If you or your Doctor believes you
   need a certain Prescription Drug not on the list, please refer to “Prescription Drug List” in the section
   “Prescription Drug Benefit at a Retail or Home Delivery (Mail Order) Pharmacy” for details on
   requesting an exception.
9. Drugs Over Quantity or Age Limits Drugs which are over any quantity or age limits set by the
   Claims Administrator. Quantity limits do not apply to prescriptions for inhalants to treat asthma.
10. Drugs Over the Quantity Prescribed or Refills After One Year Prescription Drugs in amounts over
    the quantity prescribed, or for any refill given more than one year after the date of the original
    Prescription Order.
11. Drugs Prescribed by Providers Lacking Qualifications/Registrations/Certifications Prescription
    Drugs prescribed by a Provider that does not have the necessary qualifications,registrations and/or
    certifications, as determined by Anthem.
12. Drugs That Do Not Need a Prescription Drugs that do not need a prescription by federal law
    (including drugs that need a prescription by state law, but not by federal law), except for injectable
    insulin.



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13. Family Members Services prescribed, ordered, referred by or given by a member or your immediate
    family, including your spouse, child, brother, sister, parent, in-law, or self.
14. Gene Therapy Gene therapy as well as any drugs, procedures, health care services related to it that
    introduce or is related to the introduction of genetic material into a person intended to replace or
    correct faulty or missing genetic material.
15. Infertility Drugs Drugs used in assisted reproductive technology procedures to achieve conception
    (e.g., IVF, ZIFT, GIFT.)
16. Items Covered as Durable Medical Equipment (DME) Therapeutic DME, devices and supplies
    except peak flow meters, spacers, blood glucose monitors, and contraceptive devices. Items not
    covered under the “Prescription Drug Benefit at a Retail or home Delivery (Mail Order) Pharmacy”
    benefit may be covered under the “Durable Medical Equipment and Medical Devices, Orthotic,
    Prosthetics, and Medical and Surgical Supplies” benefit. Please see that section for details.
17. Items Covered Under the “Allergy Services” Benefit Allergy desensitization products or allergy
    serum. While not covered under the “Prescription Drug Benefit at a Home Delivery (Mail Order)
    Pharmacy” benefit, these items may be covered under the “Allergy Services” benefit. Please see that
    section for details.
18. Lost or Stolen Drugs Refills of lost or stolen drugs.
19. Non-approved Drugs Drugs not approved by the FDA.
20. Non-formulary Drugs Non-formulary drugs except as described in this “Prescription Drugs Benefit at
    a Home Delivery (Mail Order) Pharmacy” section.
21. Non-Medically Necessary Services Services the Claims Administrator concludes to be not
    Medically Necessary. This includes services that do not meet the Claims Administrator’s medical
    policy, clinical coverage, or benefit policy guidelines.
22. Nutritional or Dietary Supplements Nutritional and/or dietary supplements, except as described in
    this Booklet or that must be covered by law. This Exclusion includes, but is not limited to nutritional
    formulas and dietary supplements that you can buy over the counter and those you can get without a
    written Prescription or from a licensed pharmacist.
23. Onychomycosis Drugs Drugs for Onychomycosis (toenail fungus) except when allowed to treat
    Members who are immunocompromised or diabetic.
24. Over the Counter Items Drugs, devices and products, or Prescription Legend Drugs with over the
    counter equivalents and any drugs, devices or products that are therapeutically comparable to an
    over the counter drug, device, or product may not be covered even written as a Prescription. This
    includes Prescription Legend Drugs when any version or strength becomes available over the
    counter. This Exclusion does not apply to over the counter products that must be covered as a
    “Preventive Care” benefit under Federal law with a Prescription.
25. Sanctioned or Excluded Providers Any Drug, Drug regimen, treatment, or supply that is furnished,
    ordered or prescribed by a Provider identified as an excluded individual or entity on the U.S.
    Department of Health and Human Services Office of Inspector General List of Excluded
    Individuals/Entities (OIG List), the General Services Administration System for Award Management
    (GSA List), State Medicaid exclusion lists or other exclusion/sanctioned lists as published by Federal
    or State regulatory agencies.
26. Sex Change Drugs Drugs for sex change surgery.
27. Sexual Dysfunction Drugs Drugs to treat sexual or erectile problems.
28. Syringes Hypodermic syringes except when given for use with insulin and other covered self-
    injectable drugs and medicine.
29. Weight Loss Drugs Any drug mainly used for weight loss.




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                                        Claims Payment
This section describes how the Claims Administrator reimburses claims and what information is needed
when you submit a claim. When you receive care from an In-Network Provider, you do not need to file a
claim because the In-Network Provider will do this for you. If you receive care from an Out-of-Network
Provider, you will need to make sure a claim is filed. Many Out-of-Network Hospitals, Doctors and other
Providers will still submit your claim for you, although they are not required to do so. If you file the claim,
use a claim form as described later in this section.

In order to assist you in understanding the Maximum Allowed Amount language as described below,
please refer to the definition of In-Network Provider and Out-of-Network contained in the Definitions
section of this Benefit Booklet.

Maximum Allowed Amount
General
This section describes how the Claims Administrator determines the amount of reimbursement for
Covered Services. Reimbursement for services rendered by In-Network and Out-of-network Providers is
based on this/your Plan’s Maximum Allowed Amount for the Covered Service that you receive. Please
see “Inter-Plan Arrangements” later in this section for additional information.

The Maximum Allowed Amount is the maximum amount of reimbursement this Plan will allow for services
and supplies:
   That meet the definition of Covered Services, to the extent such services and supplies are covered
    under your Plan and are not excluded;
   That are Medically Necessary; and
   That are provided in accordance with all applicable preauthorization, utilization management or other
    requirements set forth in your plan.

You will be required to pay a portion of the Maximum Allowed Amount to the extent you have not met
your Deductible or have a Copayment or Coinsurance. In addition, when you receive Covered Services
from an Out-of-network Provider, you will be responsible for paying any difference between the Maximum
Allowed Amount and the Provider’s actual charges. This amount can be significant.

When you receive Covered Services from an eligible Provider, the Claims Administrator will, to the extent
applicable, apply claim processing rules to the claim submitted for those Covered Services. These rules
evaluate the claim information and, among other things, determine the accuracy and appropriateness of
the procedure and diagnosis codes included in the claim. Applying these rules may affect the
determination of the Maximum Allowed Amount. The application of these rules does not mean that the
Covered Services you received were not Medically Necessary. It means the Claims Administrator has
determined that the claim was submitted inconsistent with procedure coding rules and/or reimbursement
policies. For example, your Provider may have submitted the claim using several procedure codes when
there is a single procedure code that includes all of the procedures that were performed. When this
occurs, the Maximum Allowed Amount will be based on the single procedure code rather than a separate
Maximum Allowed Amount for each billed code.

Likewise, when multiple procedures are performed on the same day by the same Doctor or other
healthcare professional, the Maximum Allowed Amounts may be reduced for those secondary and
subsequent procedures because reimbursement at 100% of the Maximum Allowed Amount for those
procedures would represent duplicative payment for components of the primary procedure that may be
considered incidental or inclusive.




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Provider Network Status

The Maximum Allowed Amount may vary depending upon whether the Provider is an In-Network or an
Out-of-network Provider.

An In-Network Provider is a Provider who is in the managed network for this specific Plan or in a special
Center of Excellence/or other closely managed specialty network. For Covered Services performed by an
In-Network Provider, the Maximum Allowed Amount for this/your Plan is the rate the Provider has agreed
to accept as reimbursement for the Covered Services. Because In-Network Providers have agreed to
accept the Maximum Allowed Amount as payment in full for those Covered Services, they should not
send you a bill or collect for amounts above the Maximum Allowed Amount. However, you may receive a
bill or be asked to pay all or a portion of the Maximum Allowed Amount to the extent you have not met
your Deductible or have a Copayment or Coinsurance. Please call Member Services for help in finding
an In-Network Provider or visit www.anthem.com.

Providers who have not signed any contract with the Claims Administrator and are not in any of the
Claims Administrator’s networks are Out-of-network Providers, subject to Blue Cross Blue Shield
Association rules governing claims filed by certain ancillary providers.

For Covered Services you receive from an Out-of-network Provider, the Maximum Allowed Amount for
this Plan will be one of the following as determined by the Claims Administrator:

1. An amount based on the Claims Administrator Out-of-network fee schedule/rate, which the Claims
   Administrator has established in its’ discretion, and which the Claims Administrator reserves the right
   to modify from time to time, after considering one or more of the following: reimbursement amounts
   accepted by like/similar providers contracted with the Claims Administrator, reimbursement amounts
   paid by the Centers for Medicare and Medicaid Services for the same services or supplies, and other
   industry cost, reimbursement and utilization data; or

2. An amount based on reimbursement or cost information from the Centers for Medicare and Medicaid
   Services (“CMS”). When basing the Maximum Allowed Amount upon the level or method of
   reimbursement used by CMS, the Claims Administrator will update such information, which is
   unadjusted for geographic locality, no less than annually; or

3. An amount based on information provided by a third party vendor, which may reflect one or more of
   the following factors: (1) the complexity or severity of treatment; (2) level of skill and experience
   required for the treatment; or (3) comparable Providers’ fees and costs to deliver care; or

4. An amount negotiated by the Claims Administrator or a third party vendor which has been agreed to by
   the Provider. This may include rates for services coordinated through case management; or

5. An amount equal to the total charges billed by the Provider, but only if such charges are less than the
   Maximum Allowed Amount calculated by using one of the methods described above.


Important Note: Effective January 1, 2019, the Claims Administrator will no longer have “Non-
preferred” providers because the network supporting the indemnity product will no longer be
available. The following paragraph will no longer apply:

Providers who are not contracted for this product, but are contracted for the Claims
Administrator’s indemnity product are considered Non-Preferred. For this/your plan, the
Maximum Allowed Amount for services from these Providers will be one of the five methods
shown above unless the contract between the Claims Administrator and that Provider specifies a
different amount. In this case Non-Preferred Providers may not send you a bill and collect for the
amount of the Non-Preferred Provider’s charge that exceeds the Maximum Allowed Amount for
Covered Services.



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For Covered Services rendered outside Anthem’s Service Area by Out-of-Network Providers, claims may
be priced using the local Blue Cross Blue Shield plan’s non-participating provider fee schedule / rate or
the pricing arrangements required by applicable state or federal law. In certain situations, the Maximum
Allowed Amount for out of area claims may be based on billed charges, the pricing the Claims Administrator
would use if the healthcare services had been obtained within the Anthem Service Area, or a special
negotiated price.

Unlike In-Network Providers, Out-of-Network Providers may send you a bill and collect for the amount of
the Provider’s charge that exceeds the Maximum Allowed Amount. You are responsible for paying the
difference between the Maximum Allowed Amount and the amount the Provider charges. This amount
can be significant. Choosing an In-Network provider will likely result in lower out of pocket costs to you.
Please call Member Services for help in finding an In-Network Provider or visit www.Anthem.com.

Member Services is also available to assist you in determining this/your Plan’s Maximum Allowed Amount
for a particular service from an Out-of-Network Provider. In order to assist you, you will need to obtain
from your Provider the specific procedure code(s) and diagnosis code(s) for the services the Provider will
render. You will also need to know the Provider’s charges to calculate your out of pocket responsibility.
Although Member Services can assist you with this pre-service information, the final Maximum Allowed
Amount for your claim will be based on the actual claim submitted by the Provider.

For Prescription Drugs, the Maximum Allowed Amount is the amount determined by the Claims
Administrator using Prescription Drug cost information provided by the Pharmacy Benefits Manager.

Member Cost Share

For certain Covered Services, you may be required to pay a part of the Maximum Allowed Amount as
your cost share amount (for example, Deductible, Copayment, and/or Coinsurance).

Your cost share amount and Out-of-Pocket Limits may vary depending on whether you received services
from an In-Network or Out-of-network Provider. Specifically, you may be required to pay higher cost
sharing amounts or may have limits on your benefits when using Out-of-Network or Non-Preferred
Providers. Please see the “Schedule of Benefits” section in this Benefit Booklet for your cost share
responsibilities and limitations, or call Member Services to learn how this Plan’s benefits or cost share
amounts may vary by the type of Provider you use.

The Plan will not provide any reimbursement for non-covered services. You may be responsible for the
total amount billed by your Provider for non-covered services, regardless of whether such services are
performed by an In-Network or Out-of-Network Provider. Non-covered services include services
specifically excluded from coverage by the terms of your Plan and services received after benefits have
been exhausted. Benefits may be exhausted by exceeding, for example, your Lifetime Maximum, benefit
caps or day/visit limits.

In some instances you may only be asked to pay the lower In-Network cost sharing amount when you use
an Out-of-Network Provider. For example, if you go to an In-Network Hospital or Provider Facility and
receive Covered Services from an Out-of-Network Provider such as a radiologist, anesthesiologist or
pathologist who is employed by or contracted with an In-Network Hospital or Facility, you will pay the In-
Network cost share amounts for those Covered Services. However, you also may be liable for the
difference between the Maximum Allowed Amount and the Out-of-Network Provider’s charge.

The Claims Administrator and/or our designated pharmacy benefits manager may receive discounts,
rebates, or other funds from drug manufacturers, wholesalers, distributors, and/or similar vendors, which
may be related to certain Prescription Drug purchases under this Booklet and which positively impact the
cost effectiveness of Covered Services. These amounts are retained by the Claims Administrator. These
amounts will not be applied to your Deductible, if any, or taken into account in determining your
Copayment or Coinsurance.




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Authorized Services

In some circumstances, such as where there is no In-Network Provider available for the Covered Service,
the Plan may authorize the In-Network cost share amounts (Deductible, Copayment, and/or Coinsurance)
to apply to a claim for a Covered Service you receive from an Out-of-Network Provider. In such
circumstance, you must contact the Claims Administrator in advance of obtaining the Covered Service.
The Plan also may authorize the In-Network cost share amounts to apply to a claim for Covered Services
if you receive Emergency services from an Out-of-Network Provider and are not able to contact the
Claims Administrator until after the Covered Service is rendered. If the Plan authorizes an In-Network
cost share amount to apply to a Covered Service received from an, Out-of-Network Provider, you also
may still be liable for the difference between the Maximum Allowed Amount and the Out-of-Network
Provider’s charge. Please contact Member Services for Authorized Services information or to request
authorization.


Claims Review
The Claims Administrator has processes to review claims before and after payment to detect fraud,
waste, abuse and other inappropriate activity. Members seeking services from Out-of-Network Providers
could be balanced billed by the Out-of-Network Provider for those services that are determined to be not
payable as a result of these review processes. A claim may also be determined to be not payable due to
a Provider's failure to submit medical records with the claims that are under review in these processes.

Notice of Claim & Proof of Loss
After you get Covered Services, the Claims Administrator must receive written notice of your claim within
15 months in order for benefits to be paid. The claim must have the information needed to determine
benefits. If the claim does not include enough information, the Claims Administrator will ask for more
details and it must be sent in order for benefits to be paid, except as required by law. Payment of claims
will be made as soon as possible following receipt of the claim, unless more time is required because of
incomplete or missing information.

In certain cases, you may have some extra time to file a claim. If the Claims Administrator did not get your
claim within 90 days, but it is sent in as soon as reasonably possible and within one year after the 90-day
period ends (i.e., within 15 months), you may still be able to get benefits. However, any claims, or
additional information on claims, sent in more than 15 months after you get Covered Services will
be denied.

Claim Forms
Claim forms will usually be available from most Providers. If forms are not available, contact your local
Human Resources Department or Member Services and ask for a claim form to be sent to you. If you do
not receive the claim form, written notice of services rendered may be submitted without the claim form.
The same information that would be given on the claim form must be included in the written notice of
claim. This includes:

   Name of patient.
   Patient’s relationship with the Subscriber.
   Identification number.
   Date, type, and place of service.
   Your signature and the Provider’s signature.




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Member’s Cooperation
You will be expected to complete and submit to the Plan all such authorizations, consents, releases,
assignments and other documents that may be needed in order to obtain or assure reimbursement under
Medicare, Workers’ Compensation or any other governmental program. If you fail to cooperate (including
if you fail to enroll under Part B of the Medicare program where Medicare is the responsible payer), you
will be responsible for any charge for services.

Payment of Benefits
The Claims Administrator may make benefit payments directly to In-Network Providers for Covered
Services. If you use an Out-of-Network Provider, however, the Claims Administrator may make benefit
payments to you or the Out-of-Network Provider, at our discretion. Payments may also be made to, and
notice regarding the receipt and/or adjudication of claims sent to, an Alternate Recipient (any child of a
Subscriber who is recognized, under a Qualified Medical Child Support Order (QMSCO), as having a right
to enrollment under the Plan), or that person’s custodial parent or designated representative. Any benefit
payments made will discharge the Plan’s obligation to pay for Covered Services. You cannot assign your
right to benefits to anyone, except as required by a Qualified Medical Child Support Order as defined by
ERISA or any applicable state law.

Once a Provider performs a Covered Service, the Claims Administrator will not honor a request to
withhold payment of the claims submitted.

Inter-Plan Arrangements
Out-of-Area Services
Overview

Anthem has a variety of relationships with other Blue Cross and/or Blue Shield Licensees. Generally, these
relationships are called “Inter-Plan Arrangements.” These Inter-Plan Arrangements work based on rules
and procedures issued by the Blue Cross Blue Shield Association (“Association”). Whenever you access
healthcare services outside the geographic area the Claims Administrator serves (the “Anthem Service
Area”), the claim for those services may be processed through one of these Inter-Plan Arrangements.
The Inter-Plan Arrangements are described below.

When you receive care outside of the Anthem Service Area, you will receive it from one of two kinds of
Providers. Most Providers (“participating providers”) contract with the local Blue Cross and/or Blue Shield
Plan in that geographic area (“Host Blue”). Some Providers (“nonparticipating providers”) don’t contract
with the Host Blue. Explained below is how both kinds of Providers are paid.

Inter-Plan Arrangements Eligibility – Claim Types

Most claim types are eligible to be processed through Inter-Plan Arrangements, as described above.
Examples of claims that are not included are Prescription Drugs that you obtain from a Pharmacy and
most dental or vision benefits.
             ®
A. BlueCard Program

Under the BlueCard® Program, when you receive Covered Services within the geographic area served by
a Host Blue, the Claims Administrator will still fulfill our contractual obligations. But, the Host Blue is
responsible for: (a) contracting with its Providers; and (b) handling its interactions with those Providers.




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When you receive Covered Services outside the Anthem Service Area and the claim is processed through
the BlueCard Program, the amount you pay is calculated based on the lower of:

    The billed charges for Covered Services; or
    The negotiated price that the Host Blue makes available to the Claims Administrator.

Often, this “negotiated price” will be a simple discount that reflects an actual price that the Host Blue pays
to the Provider. Sometimes, it is an estimated price that takes into account special arrangements with that
Provider. Sometimes, such an arrangement may be an average price, based on a discount that results in
expected average savings for services provided by similar types of Providers. Estimated and average
pricing arrangements may also involve types of settlements, incentive payments and/or other credits or
charges.

Estimated pricing and average pricing also take into account adjustments to correct for over- or
underestimation of past pricing of claims, as noted above. However, such adjustments will not affect the
price the Plan used for your claim because they will not be applied after a claim has already been paid.

B. Special Cases: Value-Based Programs

BlueCard® Program

If you receive Covered Services under a Value-Based Program inside a Host Blue’s Service Area, you will
not be responsible for paying any of the Provider Incentives, risk-sharing, and/or Care Coordinator Fees
that are a part of such an arrangement, except when a Host Blue passes these fees to Anthem through
average pricing or fee schedule adjustments. Additional information is available upon request.

C. Inter-Plan Programs: Federal/State Taxes/Surcharges/Fees

Federal or state laws or regulations may require a surcharge, tax or other fee. If applicable, the Plan will
include any such surcharge, tax or other fee as part of the claim charge passed on to you.

D. Nonparticipating Providers Outside Our Service Area

1.    Allowed Amounts and Member Liability Calculation

       When Covered Services are provided outside of Anthem Service Area by non-participating
       providers, the Plan may determine benefits and make payment based on pricing from either the
       Host Blue or the pricing arrangements required by applicable state or federal law. In these
       situations, the amount you pay for such services as Deductible, Copayment or Coinsurance will be
       based on that allowed amount. Also, you may be responsible for the difference between the
       amount that the non-participating provider bills and the payment the Plan will make for the Covered
       Services as set forth in this paragraph. Federal or state law, as applicable, will govern payments
       for out-of-network Emergency services.

2.   Exceptions

       In certain situations, the Plan may use other pricing methods, such as billed charges or the pricing
       we would use if the healthcare services had been obtained within the Anthem Service Area, or a
       special negotiated price to determine the amount the Plan will pay for services provided by
       nonparticipating providers. In these situations, you may be liable for the difference between the
       amount that the nonparticipating provider bills and the payment the Plan makes for the Covered
       Services as set forth in this paragraph.




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E. Blue Cross Blue Shield Global Core Program

If you plan to travel outside the United States, call Member Services to find out your Blue Cross Blue
Shield Global Core benefits. Benefits for services received outside of the United States may be different
from services received in the United States.

When you are traveling abroad and need medical care, you can call the Blue Cross Blue Shield Global
Core Service Center any time. They are available 24 hours a day, seven days a week. The toll free
number is 800-810-2583. Or you can call them collect at 804-673-1177.

If you need inpatient hospital care, you or someone on your behalf, should contact us for
preauthorization. Keep in mind, if you need Emergency medical care, go to the nearest hospital. There
is no need to call before you receive care.

Please refer to the “Getting Approval for Benefits” section in this Booklet for further information. You can
learn how to get preauthorization when you need to be admitted to the hospital for Emergency or non-
emergency care.

How Claims are Paid with Blue Cross Blue Shield Global Core

In most cases, when you arrange inpatient hospital care with Blue Cross Blue Shield Global Core, claims
will be filed for you. The only amounts that you may need to pay up front are any Copayment,
Coinsurance or Deductible amounts that may apply.

You will typically need to pay for the following services up front:

   Doctors services;
   Inpatient hospital care not arranged through Blue Cross Blue Shield Global Core; and
   Outpatient services.

You will need to file a claim form for any payments made up front.

When you need Blue Cross Blue Shield Global Core claim forms you can get international claims forms in
the following ways:

   Call the Blue Cross Blue Shield Global Core Service Center at the numbers above; or
   Online at www.bcbsglobalcore.com.

You will find the address for mailing the claim on the form.

Assignment
You authorize the Claims Administrator, on behalf of the Employer, to make payments directly to
Providers for Covered Services. The Claims Administrator also reserves the right to make payments
directly to you. Payments may also be made to, and notice regarding the receipt and/or adjudication of
claims, an alternate recipient, or that person’s custodial parent or designated representative. Any
payments made by the Claims Administrator will discharge the Employer’s obligation to pay for Covered
Services. You cannot assign your right to receive payment to anyone else, except as required by a
“Qualified Medical Child Support Order” as defined by ERISA or any applicable Federal law.




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    Coordination of Benefits When Members Are Insured Under
                      More Than One Plan
If you, your spouse, or your Dependents have duplicate coverage under another program, any other
group medical expense coverage, or any local, state or governmental program (except school accident
insurance coverage and Medicaid), then benefits payable under This Plan will be coordinated with the
benefits payable under the other program. This Plan’s liability in coordinating will not be more than 100%
of the Allowable Expense or the contracted amount.

Allowable Expense means any necessary, reasonable and customary expense at least a portion of which
is covered under at least one of the programs covering the person for whom the claim is made. The
claim determination period is the Benefit Period.

Please note that several terms specific to this section are listed below. Some of these terms have
different meanings in other parts of the Benefit Booklet, e.g., Plan. For this provision only, your plan is
referred to as "This Plan" and any other insurance plan as "Plan". In the rest of the Benefit Booklet, Plan
has the meaning listed in the “Definitions” section.

Claim Determination Period means a Benefit Period Year. However, it does not include any part of a
year during which you have no coverage under This Plan or any part of a year before the date this COB
provision or a similar provision takes effect.

Plan means any of the following that provides benefits or services for, or because of, medical or dental
care or treatment:

    Group insurance or group-type coverage, whether insured or uninsured, that includes continuous
     twenty-four (24) hour coverage. This includes prepayment, group practice, or individual practice
     coverage. It also includes coverage other than school accident-type coverage.
    Coverage under a governmental Plan or coverage that is required or provided by law. This does not
     include a state Plan under Medicaid (Title XIX, Grants to States for Medical Assistance Programs, of
     the United States Social Security Act as amended from time to time). It also does not include any
     Plan whose benefits, by law, are excess to those of any private insurance program or other non-
     governmental program.
    "No-fault" and group or group-type "fault" automobile insurance policies or contracts.

Each contract or other arrangement for coverage under 1 or 2 above is a separate Plan. If an
arrangement has two parts and these rules apply only to one of the two, each of the parts is a separate
Plan.

Primary Plan/Secondary Plan means the "Order of Benefit Determination Rules" section states whether
This Plan is a Primary Plan or Secondary Plan in relationship to another Plan covering you. When This
Plan is a Secondary Plan, its benefits are determined after those of the other Plan and may be reduced
because of the other Plan's benefits.

When This Plan is a Primary Plan, its benefits are determined before those of the other Plan and without
considering the other Plan's benefits.

When there are more than two Plans covering you, This Plan may be a Primary Plan in relationship to
one or more other Plans and may be a Secondary Plan in relationship to a different Plan or Plans.

This Plan means the part of this Plan that provides benefits for health care expenses.




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Order of Benefit Determination Rules
When you have duplicate coverage, claims will be paid as follows:
 Automobile Insurance
      Medical benefits available through automobile insurance coverage will be determined before this
      Plan.
 Non-Dependent/Dependent
      The benefits of the program which covers the person as an Employee (other than as a
      Dependent) are determined before those of the program which covers the person as a
      Dependent.
 Dependent Child/Parents Not Separated or Divorced
      Except as stated below, when this program and another program cover the same child as a
      Dependent of different persons, called “parents”:
    The benefits of the program of the parent whose birthday falls earlier in a year are determined
      before those of the program of the parent whose birthday falls later in that year.
    If both parents have the same birthday, the benefits of the program which covered the parent
      longer are determined before those of the program which covered the other parent for a shorter
      period of time.

        However, if the other program does not have the rule described above, but instead has a rule
        based on the gender of the parent, and if, as a result, the programs do not agree on the order of
        benefits, the rule in the other program will determine the order of benefits.
   Dependent Child/Parents Separated or Divorced
       If two or more programs cover a person as a Dependent child of divorced or separated parents,
       benefits for the child are determined in this order:
     first, the program of the parent with custody of the child;
     then, the program of the spouse of the parent with custody of the child; and
     finally, the program of the parent not having custody of the child.

        However, if the specific terms of a court decree state that one of the parents is responsible for the
        child’s health care expenses, and the company obligated to pay or provide the benefits of the
        program of that parent has actual knowledge of those terms, the benefits of that program are
        determined first. This paragraph does not apply with respect to any claim determination period or
        program year during which any benefits are actually paid or provided before the company has
        that actual knowledge.

   Joint Custody
        If the specific terms of a court decree state that the parents shall have joint custody, without
        stating that one of the parents is responsible for the health care expenses of the child, the
        programs covering the child shall follow the order of benefit determination rules outlined above for
        “Dependent Child/Parents not Separated or Divorced.”
   Active/Inactive Employee
        The benefits of a program that covers a person as an Employee who is neither laid off nor retired
        (or as that Employee’s Dependent) are determined before those of a program that covers that
        person as a laid-off or retired Employee (or as that Employee’s Dependent). If the other program
        does not have this rule, and if, as a result, the programs do not agree on the order of benefits,
        this rule is ignored.
   Longer/Shorter Length of Coverage
        If none of the above rules determine the order of benefits, the benefits of the program which
        covered an Employee or Member longer are determined before those of the program that
        covered that person for the shorter time.




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Effect on the Benefits of This Plan
This section applies when, in accordance with the Order of Benefit Determination Rules, this program is a
secondary program to one or more other programs. In that event the benefits of this program may be
reduced under this section. Such other program or programs are referred to as “the other programs”
below.

Reduction in this program’s benefits
The benefits of this program will be reduced when the sum of:
 the benefits that would be payable for the Allowable Expenses under this program in the absence of
   this provision; and
 the benefits that would be payable for the Allowable Expenses under the other programs, in the
   absence of provisions with a purpose like that of this provision, whether or not claim is made, exceed
   those Allowable Expenses in a claim determination period. In that case, the benefits of this program
   will be reduced so that they and the benefits payable under the other programs do not total more than
   those Allowable Expenses.

When the benefits of this program are reduced as described above, each benefit is reduced in proportion.
It is then charged against any applicable benefit limit of this program.

Right to Receive and Release Needed Information
Certain facts are needed to apply these rules. The Claims Administrator has the right to decide which
facts it needs. The Claims Administrator may get needed facts from or give them to any other
organization or person as necessary to coordinate benefits. The Claims Administrator need not tell, or
get the consent of, any person to do this. Each person claiming benefits under This Plan must provide
any facts needed to pay the claim.

Facility of Payment
A payment made under another program may include an amount which should have been paid under
This Plan. If it does, the Claims Administrator may pay that amount to the organization which made that
payment. That amount will then be treated as though it were a benefit paid under this program. This
Plan will not have to pay that amount again.

Right of Reimbursement
If the amount of the payment made by This Plan is more than it should have paid under this provision, the
Claims Administrator may recover the excess from one or more of:
 the persons it has paid or for whom it has paid,
 insurance companies, or
 other organizations.




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                        Subrogation and Reimbursement
These provisions apply when the Plan pays benefits as a result of injuries or illnessesyou sustained and
you have a right to a Recovery or have received a Recovery from any source.

Recovery
A “Recovery” includes, but is not limited to, monies received from any person or party, any person’s or
party’s liability insurance, uninsured/underinsured motorist proceeds, worker’s compensation insurance or
fund, “no-fault” insurance and/or automobile medical payments coverage, whether by lawsuit, settlement
or otherwise. Regardless of how you or your representative or any agreements characterize the money
you receive as a Recovery, it shall be subject to these provisions.

Subrogation
The Plan has the right to recover payments it makes on your behalf from any party responsible for
compensating you for your illnesses or injuries. The following apply:
 The Plan has first priority from any Recovery for the full amount of benefits it has paid regardless of
   whether you are fully compensated, and regardless of whether the payments you receive make you
   whole for your losses, illnesses and/or injuries.
 You and your legal representative must do whatever is necessary to enable the Plan to exercise the
   Plan's rights and do nothing to prejudice those rights.
 In the event that you or your legal representative fail to do whatever is necessary to enable the Plan
   to exercise its subrogation rights, the Plan shall be entitled to deduct the amount the Plan paid from
   any future benefits under the Plan.
 The Plan has the right to take whatever legal action it sees fit against any person, party or entity to
   recover the benefits paid under the Plan.
 To the extent that the total assets from which a Recovery is available are insufficient to satisfy in full
   the Plan's subrogation claim and any claim held by you, the Plan's subrogation claim shall be first
   satisfied before any part of a Recovery is applied to your claim, your attorney fees, other expenses or
   costs.
 The Plan is not responsible for any attorney fees, attorney liens, other expenses or costs you incur
   without the Plan's prior written consent. The ''common fund'' doctrine does not apply to any funds
   recovered by any attorney you hire regardless of whether funds recovered are used to repay benefits
   paid by the Plan.

Reimbursement
If you obtain a Recovery and the Plan has not been repaid for the benefits the Plan paid on your behalf,
the Plan shall have a right to be repaid from the Recovery in the amount of the benefits paid on your
behalf and the following provisions will apply:
 You must reimburse the Plan from any Recovery to the extent of benefits the Plan paid on your behalf
     regardless of whether the payments you receive make you whole for your losses, illnesses and/or
     injuries.
 Notwithstanding any allocation or designation of your Recovery (e.g., pain and suffering) made in a
     settlement agreement or court order, the Plan shall have a right of full recovery, in first priority,
     against any Recovery. Further, the Plan’s rights will not be reduced due to your negligence.
 You and your legal representative must hold in trust for the Plan the proceeds of the gross Recovery
     (i.e., the total amount of your Recovery before attorney fees, other expenses or costs) to be paid to
     the Plan immediately upon your receipt of the Recovery. You must reimburse the Plan, in first priority
     and without any set-off or reduction for attorney fees, other expenses or costs. The ''common fund''
     doctrine does not apply to any funds recovered by any attorney you hire regardless of whether funds
     recovered are used to repay benefits paid by the Plan.
 If You fail to repay the Plan, the Plan shall be entitled to deduct any of the unsatisfied portion of the
     amount of benefits the Plan has paid or the amount of your Recovery whichever is less, from any
     future benefit under the Plan if:
     1. the amount the Plan paid on your behalf is not repaid or otherwise recovered by the Plan; or
     2. you fail to cooperate.


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   In the event that you fail to disclose the amount of your settlement to the Plan, the Plan shall be
    entitled to deduct the amount of the Plan’s lien from any future benefit under the Plan.
   The Plan shall also be entitled to recover any of the unsatisfied portions of the amount the Plan has
    paid or the amount of your Recovery, whichever is less, directly from the Providers to whom the Plan
    has made payments on your behalf. In such a circumstance, it may then be your obligation to pay the
    Provider the full billed amount, and the Plan will not have any obligation to pay the Provider or
    reimburse you.
   The Plan is entitled to reimbursement from any Recovery, in first priority, even if the Recovery does
    not fully satisfy the judgment, settlement or underlying claim for damages or fully compensate you or
    make you whole.

Your Duties
 You must notify the Plan promptly of how, when and where an accident or incident resulting in
   personal Injury or illness to you occurred and all information regarding the parties involved.
 You must cooperate with the Plan in the investigation, settlement and protection of the Plan's rights.
   In the event that you or your legal representative fail to do whatever is necessary to enable the Plan
   to exercise its subrogation or reimbursement rights, the Plan shall be entitled to deduct the amount
   the Plan paid from any future benefits under the Plan.
 You must not do anything to prejudice the Plan's rights.
 You must send the Plan copies of all police reports, notices or other papers received in connection
   with the accident or incident resulting in personal Injury or illness to you.
 You must promptly notify the Plan if you retain an attorney or if a lawsuit is filed on your behalf.

The Plan Sponsor has sole discretion to interpret the terms of the Subrogation and Reimbursement
provision of this Plan in its entirety and reserves the right to make changes as it deems necessary.

If the covered person is a minor, any amount recovered by the minor, the minor’s trustee, guardian,
parent, or other representative, shall be subject to this provision. Likewise, if the covered person’s
relatives, heirs, and/or assignees make any Recovery because of injuries sustained by the covered
person, that Recovery shall be subject to this provision.

The Plan shall be secondary in coverage to any medical payments provision, no-fault automobile
insurance policy or personal Injury protection policy regardless of any election made by you to the
contrary. The Plan shall also be secondary to any excess insurance policy, including, but not limited to,
school and/or athletic policies.

The Plan is entitled to recover its attorney’s fees and costs incurred in enforcing this provision.




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                      Member Rights and Responsibilities
As a Member you have rights and responsibilities when receiving health care. As your health care
partner, the Claims Administrator wants to make sure your rights are respected while providing your
health benefits. That means giving you access to the Claims Administrator’s Network health care
Providers and the information you need to make the best decisions. As a Member, you should also take
an active role in your care.

These are your rights and responsibilities:
You have the right to:
 Speak freely and privately with your health care Providers about all health care options and
   treatment needed for your condition no matter what the cost or whether it is covered under your
   Plan.
 Work with your doctors to make choices about your health care.
 Be treated with respect and dignity.
 Expect us to keep your personal health information private by following our privacy policies and
   Federal laws.
 Get the information you need to help make sure you get the most from your Health Plan, and share
   your feedback. This includes information on:
    -   The Claims Administrator’s company and services.
    -   The Claims Administrator’s network of health care providers.
    -   Your rights and responsibilities.
    -   The rules of your health Plan.
    -   The way your Health Plan works.
   Make a complaint or file an appeal about:
    - Your health Plan and
    - any care you get.
    - Any Covered Service or benefit decision that your health Plan makes.
   Say no to care, for any condition, sickness or disease, without having an effect on any care you may
    get in the future. This includes asking your Doctor to tell you how that may affect your health now and
    in the future.
   Get the most up-to-date information from a health care provider about the cause of your illness, your
    treatment and what may result from it. You can ask for help if you do not understand this information.

You have the responsibility to:
 Read all information about your health benefits and ask for help if you have questions.
 Follow all health Plan rules and policies.
 Choose a Network Primary Care Physician, also called a PCP, if your health plan requires it.
 Treat all doctors, health care Providers and staff with respect.
 Keep all scheduled appointments. Call your health care Provider’s office if you may be late or need to
   cancel.
 Understand your health problems as well as you can and work with your health care Providers to
   make a treatment plan that you all agree on.
 Inform your health care Providers if you don’t understand any type of care you’re getting or what they
   want you to do as part of your care plan.
 Follow the health care plan that you have agreed on with your health care Providers.
 Give the Claims Administrator, your doctors and other health care Providers the information needed
   to help you get the best possible care and all the benefits you are eligible for under your health Plan.



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    This may include information about other health insurance benefits you have along with your
    coverage with the Plan.
   Inform Member Services if you have any changes to your name, address or family members covered
    under your Plan.

The Claims Administrator is committed to providing quality benefits and customer service to its
Members. Benefits and coverage for services provided under the benefit program are governed by
the Plan and not by this Member Rights and Responsibilities statement.

If you need more information or would like to contact the Claims Administrator, please go to
anthem.com and select Customer Support > Contact us. Or call the Member Services number on
your ID card.




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                                   Your Right To Appeal
The Plan wants your experience to be as positive as possible. There may be times, however, when you
have a complaint, problem, or question about your Plan or a service you have received. In those cases,
please contact Member Services by calling the number on the back of your Identification Card. The
Claims Administrator will try to resolve your complaint informally by talking to your Provider or reviewing
your claim. If you are not satisfied with the resolution of your complaint, you have the right to file an
appeal, which is defined as follows:

For purposes of these Appeal provisions, “claim for benefits” means a request for benefits under the plan.
The term includes both pre-service and post-service claims.

   A pre-service claim is a claim for benefits under the plan for which you have not received the benefit
    or for which you may need to obtain approval in advance.
   A post-service claim is any other claim for benefits under the plan for which you have received the
    service.

If your claim is denied or if your coverage is rescinded:
 You will be provided with a written notice of the denial or rescission; and
 You are entitled to a full and fair review of the denial or rescission.

The procedure the Claims Administrator will follow will satisfy the requirements for a full and fair review
under applicable federal regulations.

Notice of Adverse Benefit Determination
If your claim is denied, the Claims Administrator’s notice of the adverse benefit determination (denial) will
include:
 information sufficient to identify the claim involved;
 the specific reason(s) for the denial;
 a reference to the specific plan provision(s) on which the Claims Administrator’s determination is
     based;
 a description of any additional material or information needed to perfect your claim;
 an explanation of why the additional material or information is needed;
 a description of the plan’s review procedures and the time limits that apply to them, including a
     statement of your right to bring a civil action under ERISA if you appeal and the claim denial is
     upheld;
 information about any internal rule, guideline, protocol, or other similar criterion relied upon in making
     the claim determination and about your right to request a copy of it free of charge, along with a
     discussion of the claims denial decision; and
 information about the scientific or clinical judgment for any determination based on medical necessity
     or experimental treatment, or about your right to request this explanation free of charge, along with a
     discussion of the claims denial decision.
 the availability of, and contact information for, any applicable office of health insurance consumer
     assistance or ombudsman who may assist you

For claims involving urgent/concurrent care:
 the Claims Administrator’s notice will also include a description of the applicable urgent/concurrent
    review process; and
 the Claims Administrator may notify you or your authorized representative within 72 hours orally and
    then furnish a written notification.




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Appeals (Grievances)
You have the right to appeal an adverse benefit determination (claim denial or rescission of coverage).
You or your authorized representative must file your appeal within 180 calendar days after you are
notified of the denial or rescission. You will have the opportunity to submit written comments, documents,
records, and other information supporting your claim. The Claims Administrator's review of your claim will
take into account all information you submit, regardless of whether it was submitted or considered in the
initial benefit determination.

   The Claims Administrator shall offer a single mandatory level of appeal and an additional voluntary
    second level of appeal which may be a panel review, independent review, or other process consistent
    with the entity reviewing the appeal. The time frame allowed for the Claims Administrator to complete
    its review is dependent upon the type of review involved (e.g., pre-service, concurrent, post-service,
    urgent, etc.).

For pre-service claims involving urgent/concurrent care, you may obtain an expedited appeal. You
or your authorized representative may request it orally or in writing. All necessary information, including
the Claims Administrator’s decision, can be sent between the Claims Administrator and you by telephone,
facsimile or other similar method. To file an appeal for a claim involving urgent/concurrent care, you or
your authorized representative must contact the Claims Administrator at the number shown on your
identification card and provide at least the following information:
 the identity of the claimant;
 the date(s) of the medical service;
 the specific medical condition or symptom;
 the provider’s name;
 the service or supply for which approval of benefits was sought; and
 any reasons why the appeal should be processed on a more expedited basis.

All other requests for Appeals (Grievances) should be submitted in writing by the Member or the
Member’s authorized representative, except where the acceptance of oral Appeals (Grievances) is
otherwise required by the nature of the appeal (e.g., urgent care). You or your authorized representative
must submit a request for review to:

Anthem, ATTN: Appeals, P.O. Box 54159, Los Angeles, CA 90054

You must include your Member Identification Number when submitting an appeal.

Upon request, the Claims Administrator will provide, without charge, reasonable access to, and copies of,
all documents, records, and other information relevant to your claim. “Relevant” means that the
document, record, or other information:
 was relied on in making the benefit determination; or
 was submitted, considered, or produced in the course of making the benefit determination; or
 demonstrates compliance with processes and safeguards to ensure that claim determinations are
    made in accordance with the terms of the plan, applied consistently for similarly-situated claimants; or
 is a statement of the plan’s policy or guidance about the treatment or benefit relative to your
    diagnosis.

The Claims Administrator will also provide you, free of charge, with any new or additional evidence
considered, relied upon, or generated in connection with your claim. In addition, before you receive an
adverse benefit determination on review based on a new or additional rationale, the Claims Administrator
will provide you, free of charge, with the rationale.

For Out of State Appeals (Grievances) You have to file Provider Appeals with the Host Plan. This
means Providers must file Appeals with the same plan to which the claim was filed.




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How Your Appeal will be Decided
When the Claims Administrator considers your appeal, the Claims Administrator will not rely upon the
initial benefit determination or, for voluntary second-level Appeals, to the earlier appeal determination.
The review will be conducted by an appropriate reviewer who did not make the initial determination and
who does not work for the person who made the initial determination. A voluntary second-level review will
be conducted by an appropriate reviewer who did not make the initial determination or the first-level
appeal determination and who does not work for the person who made the initial determination or first-
level appeal determination.

If the denial was based in whole or in part on a medical judgment, including whether the treatment is
experimental, investigational, or not medically necessary, the reviewer will consult with a health care
professional who has the appropriate training and experience in the medical field involved in making the
judgment. This health care professional will not be one who was consulted in making an earlier
determination or who works for one who was consulted in making an earlier determination.

Notification of the Outcome of the Appeal
If you appeal a claim involving urgent/concurrent care, the Claims Administrator will notify you of the
outcome of the appeal as soon as possible, but not later than 72 hours after receipt of your request for
appeal.

If you appeal any other pre-service claim, the Claims Administrator will notify you of the outcome of the
appeal within 30 days after receipt of your request for appeal.

If you appeal a post-service claim, the Claims Administrator will notify you of the outcome of the appeal
within 60 days after receipt of your request for appeal.

Appeal Denial
If your appeal is denied, that denial will be considered an adverse benefit determination. The notification
from the Claims Administrator will include all of the information set forth in the above section entitled
“Notice of Adverse Benefit Determination.”

If, after the Plan’s denial, the Claims Administrator considers, relies on or generates any new or additional
evidence in connection with your claim, the Claims Administrator will provide you with that new or
additional evidence, free of charge. The Claims Administrator will not base its appeal decision on a new
or additional rationale without first providing you (free of charge) with, and a reasonable opportunity to
respond to, any such new or additional rationale. If the Claims Administrator fails to follow the Appeal
procedures outlined under this section the Appeals process may be deemed exhausted. However, the
Appeals process will not be deemed exhausted due to minor violations that do not cause, and are not
likely to cause, prejudice or harm so long as the error was for good cause or due to matters beyond the
Claims Administrator’s control.

Voluntary Second Level Appeals (Grievances)
If you are dissatisfied with the Plan's mandatory first level appeal decision, a voluntary second level
appeal may be available. If you would like to initiate a second level appeal, please write to the address
listed above. Voluntary Appeals (Grievances) must be submitted within 60 calendar days of the denial of
the first level appeal. You are not required to complete a voluntary second level appeal prior to
submitting a request for an independent External Review.

External Review
If the outcome of the mandatory first level appeal is adverse to you and it was based on medical
judgment, you may be eligible for an independent External Review pursuant to federal law.

You must submit your request for External Review to the Claims Administrator within four (4) months of
the notice of your final internal adverse determination.




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A request for an External Review must be in writing unless the Claims Administrator determines that it is
not reasonable to require a written statement. You do not have to re-send the information that you
submitted for internal appeal. However, you are encouraged to submit any additional information that you
think is important for review.

For pre-service claims involving urgent/concurrent care, you may proceed with an Expedited External
Review without filing an internal appeal or while simultaneously pursuing an expedited appeal through
the Claims Administrator’s internal appeal process. You or your authorized representative may request
it orally or in writing. All necessary information, including the Claims Administrator’s decision, can be
sent between the Claims Administrator and you by telephone, facsimile or other similar method. To
proceed with an Expedited External Review, you or your authorized representative must contact the
Claims Administrator at the number shown on your identification card and provide at least the following
information:

   the identity of the claimant;
   the date(s) of the medical service;
   the specific medical condition or symptom;
   the provider’s name;
   the service or supply for which approval of benefits was sought; and
   any reasons why the appeal should be processed on a more expedited basis.

All other requests for External Review should be submitted in writing unless the Claims Administrator
determines that it is not reasonable to require a written statement. Such requests should be submitted by
you or your authorized representative to:

Anthem, ATTN: Appeals, P.O. Box 54159, Los Angeles, CA 90054

You must include your Member Identification Number when submitting an appeal.

This is not an additional step that you must take in order to fulfill your appeal procedure obligations
described above. Your decision to seek External Review will not affect your rights to any other benefits
under this health care plan. There is no charge for you to initiate an independent External Review. The
External Review decision is final and binding on all parties except for any relief available through
applicable state laws or ERISA.

Requirement to file an Appeal before filing a lawsuit
No lawsuit or legal action of any kind related to a benefit decision may be filed by you in a court of law or
in any other forum, unless it is commenced within three years of the Plan's final decision on the claim or
other request for benefits. If the Plan decides an appeal is untimely, the Plan's latest decision on the
merits of the underlying claim or benefit request is the final decision date. You must exhaust the Plan's
internal Appeals Procedure but not including any voluntary level of appeal, before filing a lawsuit or taking
other legal action of any kind against the Plan. If your health benefit plan is sponsored by your Employer
and subject to the Employee Retirement Income Security Act of 1974 (ERISA) and your appeal as
described above results in an adverse benefit determination, you have a right to bring a civil action under
Section 502(a) of ERISA.

The Claims Administrator reserves the right to modify the policies, procedures and timeframes in
this section upon further clarification from Department of Health and Human Services and
Department of Labor.




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              Eligibility and Enrollment – Adding Members
In this section you will find information on who is eligible for coverage under this Plan and when Members
can be added to your coverage. Eligibility requirements are described in general terms below. For more
specific information, please see your Human Resources or Benefits Department.

Who is Eligible for Coverage
The Subscriber
To be eligible to enroll as a Subscriber, the individual must be an Employee entitled to participate in the
benefit Plan.

Dependents
To be eligible to enroll as a Dependent, you must be listed on the enrollment form completed by the
Subscriber, meet all Dependent eligibility criteria established by the Plan, and be one of the following:

   The Subscriber's spouse. For information on spousal eligibility please contact your Employer. If
    spouses are not eligible under this Plan, any references to spouses in the “Eligibility and Enrollment –
    Adding Members” and “Termination and Continuation of Coverage” sections of this Booklet do not
    apply.

   The Subscriber’s Domestic Partner, if Domestic Partner coverage is allowed under the Group’s Plan.
    Please contact the Group to determine if Domestic Partners are eligible under this Plan. Domestic
    Partner, or Domestic Partnership means a person of the same or opposite sex who has signed the
    Domestic Partner Affidavit certifying that he or she is the Subscriber’s sole Domestic Partner and has
    been for 12 months or more; he or she is mentally competent; he or she is not related to the
    Subscriber by blood closer than permitted by state law for marriage; he or she is not married to
    anyone else; and he or she is financially interdependent with the Subscriber.

    For purposes of this Plan, a Domestic Partner shall be treated the same as a spouse, and a Domestic
    Partner’s child, adopted child, or child for whom a Domestic Partner has legal guardianship shall be
    treated the same as any other child.

    Any federal or state law that applies to a Member who is a spouse or child under this Plan shall also
    apply to a Domestic Partner or a Domestic Partner’s child who is a Member under this Plan. This
    includes but is not limited to, COBRA, FMLA, and COB. A Domestic Partner’s or a Domestic
    Partner’s child’s coverage ends on the date of dissolution of the Domestic Partnership.

    To apply for coverage as Domestic Partners, both the Subscriber and the Domestic Partner must
    complete and sign the Affidavit of Domestic Partnership in addition to the Enrollment Application, and
    must meet all criteria stated in the Affidavit. Signatures must be witnessed and notarized by a notary
    public. The Plan reserves the right to make the ultimate decision in determining eligibility of the
    Domestic Partner.

   The Subscriber’s or the Subscriber’s spouse’s children, including natural children, stepchildren,
    newborn and legally adopted children and children who the Plan has determined are covered under a
    Qualified Medical Child Support Order as defined by ERISA or any applicable state law.

   Children for whom the Subscriber or the Subscriber’s spouse is a legal guardian or as otherwise
    required by law.




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All enrolled eligible children will continue to be covered until the age limit listed in the Schedule of
Benefits. Coverage may be continued past the age limit in the following circumstances:

   Your Dependent children through the end of the month in which they attain age 26, legally adopted
    children from the date you assume legal responsibility, children for whom you assume legal
    guardianship and stepchildren. Also included are your children (or children of your spouse or
    Domestic Partner) for whom you have legal responsibility resulting from a valid court decree.

   Children who are mentally or physically handicapped and totally dependent on you for support,
    regardless of age, with the exception of incapacitated children age 26 or older. To be eligible for
    coverage as an incapacitated Dependent, the Dependent must have been covered under this Plan or
    prior creditable coverage prior to reaching age 26. Certification of the handicap is required within 31
    days of attainment of age 26. A certification form is available from your Employer or from the Claims
    Administrator and may be required periodically but not more frequently than annually after the two
    year period following the child's attainment of the limiting age.

The Plan may require you to give proof of continued eligibility for any enrolled child. Your failure to give
this information could result in termination of a child’s coverage.

To obtain coverage for children, the Plan may require you to give the Claims Administrator a copy of any
legal documents awarding guardianship of such child(ren) to you.

Types of Coverage
The types of coverage available to the Employee are indicated at the time of enrollment through the
Employer.

When You Can Enroll
Initial Enrollment
Your Employer will offer an initial enrollment period to new Subscribers and their Dependents when the
Subscriber is first eligible for coverage. Coverage will be effective based on any applicable waiting
period, and will not exceed 90 days.

If you did not enroll yourself and/or your Dependents during the initial enrollment periodyou will only be
able to enroll during an Open Enrollment period or during a Special Enrollment period, as described in
this section.

Open Enrollment
Open Enrollment refers to a period of time, usually 60 days, during which eligible Subscribers and
Dependents can apply for or change coverage. Open Enrollment occurs only once per year. Your
Employer will notify you when Open Enrollment is available.

Special Enrollment Periods
If a Subscriber or Dependent does not apply for coverage when they were first eligible, they may be able
to join the Plan prior to Open Enrollment if they qualify for Special Enrollment. Except as noted otherwise
below, the Subscriber or Dependent must request Special Enrollment within 60 days of a qualifying event.




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Special Enrollment is available for eligible individuals who:

       Lost eligibility under a prior health plan for reasons other than non-payment of premium or due to
        fraud or intentional misrepresentation of a material fact.
       Exhausted COBRA benefits or Employer contributions toward coverage were terminated.
       Lost employer contributions towards the cost of the other coverage.
       Are now eligible for coverage due to marriage, birth, adoption, or placement for adoption.

Important Notes about Special Enrollment:

   Members who enroll during Special Enrollment are not considered Late Enrollees.
   Individuals must request coverage within 31 days of a qualifying event (i.e., marriage, exhaustion of
    COBRA, etc.).

Medicaid and Children’s Health Insurance Program Special Enrollment
Eligible Subscribers and Dependents may also enroll under two additional circumstances:

   The Subscriber’s or Dependent’s Medicaid or Children’s Health Insurance Program (CHIP) coverage
    is terminated as a result of loss of eligibility; or
   The Subscriber or Dependent becomes eligible for a subsidy (state premium assistance program)

The Subscriber or Dependent must request Special Enrollment within 60 days of the above events.

Late Enrollees
If the Subscriber does not enroll themselves and/or their Dependents when first eligible or during a
Special Enrollment period, they will not be eligible to enroll until the next Open Enrollment Period.

Members Covered Under the Employer’s Prior Plan
Members who were previously enrolled under another plan offered by the Employer that is being replaced
by this Plan are eligible for coverage on the Effective Date of this coverage.

Enrolling Dependent Children
Newborn Children
Newborn children are covered automatically for 31 days from the moment of birth. You must notify us of
the birth within 60 days or the newborn’s coverage will terminate. If you have Family Coverage, no
additional premium is required.

You should submit an application / change form to the Group to add the newborn to your Plan to make
sure we have accurate records and are able to cover your claims.

Adopted Children
A child will be considered adopted from the earlier of: (1) the moment of placement in your home; or (2)
the date of an entry of an order granting custody of the child to you. The child will continue to be
considered adopted unless the child is removed from your home prior to issuance of a legal decree of
adoption.




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Your Dependent’s Effective Date will be the date of the adoption or placement for adoption if you send the
Plan the completed application / change form within 31 days of the event. If, however, additional
premium is required for the adopted Dependent, your Dependent’s Effective Date will be the date of the
adoption or placement for adoption, only if you notify the Plan of the adoption and pay any required
additional premium within 31 days of the adoption.

Adding a Child due to Award of Legal Custody or Guardianship
If you or your spouse is awarded legal custody or guardianship for a child, an application must be
submitted within 31 days of the date legal custody or guardianship is awarded by the court. Coverage will
be effective on the date the court granted legal custody or guardianship.

Qualified Medical Child Support Order
If you are required by a qualified medical child support order or court order, as defined by ERISA and/or
applicable state or federal law, to enroll your child in this Plan, the Claims Administrator will permit the
child to enroll at any time without regard to any Open Enrollment limits and will provide the benefits of this
Plan in accordance to the applicable requirements of such order. However, a child's coverage will not
extend beyond any Dependent Age Limit listed in the “Schedule of Benefits”.

Updating Coverage and/or Removing Dependents
You are required to notify the Plan Administrator of any changes that affect your eligibility or the eligibility
of your Dependents for this Plan. When any of the following occurs, contact the Plan Administrator and
complete the appropriate forms:

   Changes in address;
   Marriage or divorce;
   Death of an enrolled family member (a different type of coverage may be necessary);
   Enrollment in another health plan or in Medicare;
   Eligibility for Medicare;
   Dependent child reaching the Dependent Age Limit (see “Termination and Continuation of
    Coverage”);
   Enrolled Dependent child either becomes totally or permanently disabled, or is no longer disabled.

Failure to notify the Plan Administrator of individuals no longer eligible for services will not obligate the
Plan to cover such services, even if premium is received for those individuals. All notifications must be in
writing and on approved forms.

Nondiscrimination
No person who is eligible to enroll will be refused enrollment based on health status, health care needs,
genetic information, previous medical information, disability, sexual orientation or identity, gender, or age.

Statements and Forms
All Members must complete and submit applications or other forms or statements that the Plan may
reasonably request.

Any rights to benefits under this Plan are subject to the condition that all such information is true, correct,
and complete. Any material misrepresentation by you may result in termination of coverage as provided
in the “Termination and Continuation of Coverage” section. The Plan will not use a statement made by
you to void your coverage after that coverage has been in effect for two years. This does not apply,
however, to fraudulent misstatements.



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                Termination and Continuation of Coverage
Termination of Coverage (Individual)
Membership for you and your enrolled family members may be continued as long as you are employed by
the Employer and meet eligibility requirements. It ceases if your employment ends, if you no longer meet
eligibility requirements, if the Plan ceases, or if you fail to make any required contribution toward the cost
of your coverage. In any case, your coverage would end at the expiration of the period covered by your
last contribution.

Coverage of an enrolled child ceases automatically at the end of the month when the child attains the age
limit shown in the Eligibility section. Coverage of a disabled child over age 26 ceases if the child is found
to be no longer totally or permanently disabled.

Should you or any family Members be receiving covered care in the Hospital at the time your membership
terminates for reasons other than your Employer’s cancellation of this Plan, or failure to pay the required
premiums, benefits for Hospital Inpatient care will be provided until the date you are discharged from the
Hospital.

Continuation of Coverage Under Federal Law (COBRA)
If your coverage ends under the Plan, you may be entitled to elect continuation coverage in accordance
with federal law. If your Employer normally employs 20 or more people, and your employment is
terminated for any reason other than gross misconduct you may elect from 18-36 months of continuation
benefits. you should contact your Employer if you have any questions about your COBRA rights.

Qualifying events for Continuation Coverage under Federal Law (COBRA)
COBRA continuation coverage is available when your group coverage would otherwise end because of
certain “qualifying events”. After a qualifying event, COBRA continuation coverage must be offered to
each person who is a “qualified beneficiary”. You, your Spouse and your Dependent children could
become qualified beneficiaries if covered on the day before the qualifying event and group coverage
would be lost because of the qualifying event. Qualified beneficiaries who elect COBRA must pay for this
COBRA continuation coverage.

This benefit entitles each member of your family who is enrolled in the company’s Employee welfare
benefit plan to elect continuation independently. Each qualified beneficiary has the right to make
independent benefit elections at the time of annual enrollment. Covered Subscribers may elect COBRA
continuation coverage on behalf of their Spouses, and parents or legal guardians may elect COBRA
continuation coverage on behalf of their children. A child born to, or placed for adoption with, a covered
Subscriber during the period of continuation coverage is also eligible for election of continuation
coverage.

                   Qualifying Event                              Length of Availability of Coverage

 For Employees:
 Voluntary or Involuntary Termination (other than                             18 months
 gross misconduct) or Loss of Coverage Under an
 Employer’s Health Plan Due to Reduction In Hours
 Worked




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                   Qualifying Event                             Length of Availability of Coverage

 For Spouses/ Dependents:
 A Covered Employee’s Voluntary or Involuntary
 Termination (other than gross misconduct) or Loss of                         18 months
 Coverage Under an Employer’s Health Plan Due to
 Reduction In Hours Worked

 Covered Employee’s Entitlement to Medicare                                   36 months

 Divorce or Legal Separation                                                  36 months

 Death of a Covered Employee                                                  36 months


 For Dependents:
 Loss of Dependent Child Status                                               36 months


Continuation coverage stops before the end of the maximum continuation period if the Member becomes
entitled to Medicare benefits. If a continuing beneficiary becomes entitled to Medicare benefits, then a
qualified beneficiary – other than the Medicare beneficiary – is entitled to continuation coverage for no
more than a total of 36 months. (For example, if you become entitled to Medicare prior to termination of
employment or reduction in hours, COBRA continuation coverage for your Spouse and children can last
up to 36 months after the date of Medicare entitlement.)

If you are a retiree under this Plan, filing a proceeding in bankruptcy under Title 11 of the United States
Code may be a qualifying event. If a proceeding in bankruptcy is filed with respect to your Employer, and
that bankruptcy results in the loss of coverage, you will become a qualified beneficiary with respect to the
bankruptcy. Your surviving Spouse and Dependent children will also become qualified beneficiaries if
bankruptcy results in the loss of their coverage under this Plan. If COBRA coverage becomes available
to a retiree and his or her covered family members as a result of a bankruptcy filing, the retiree may
continue coverage for life. His or her Spouse and Dependents may continue coverage for a maximum
period of up to 36 months following the date of the retiree’s death.

Second qualifying event
If your family has another qualifying event (such as a legal separation, divorce, etc.) during the initial 18
months of COBRA continuation coverage, your Dependents can receive up to 18 additional months of
COBRA continuation coverage, for a maximum of 36 months from the original qualifying event. Such
additional coverage is only available if the second qualifying event would have caused your Dependents
to lose coverage under the Plan had the first qualifying event not occurred. A qualified beneficiary must
give timely notice to the Plan Administrator in such a situation.

Notification Requirements
In the event of your termination, lay-off, reduction in work hours or Medicare entitlement, your Employer
must notify the company’s benefit Plan Administrator within 30 days. You must notify the company’s
benefit Plan Administrator within 60 days of your divorce, legal separation or the failure of your enrolled
Dependents to meet the program’s definition of Dependent. This notice must be provided in writing to the
Plan Administrator. Thereafter, the Plan Administrator will notify qualified beneficiaries of their rights
within 14 days.




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Electing COBRA Continuation Coverage

To continue enrollment, you or an eligible family member must make an election within 60 days of the
date your coverage would otherwise end, or the date the company’s benefit Plan Administrator notifies
you or your family member of this right, whichever is later. You must pay the total premium appropriate
for the type of benefit coverage you choose to continue. If the premium rate changes for active
associates, your monthly premium will also change. The premium you must pay cannot be more than
102% of the premium charged for Employees with similar coverage, and it must be paid to the company’s
benefit Plan Administrator within 30 days of the date due, except that the initial premium payment must
be made before 45 days after the initial election for continuation coverage, or your continuation rights will
be forfeited.

Disability extension of 18-month period of continuation coverage
For Employees who are determined, at the time of the qualifying event, to be disabled under Title II
(OASDI) or Title XVI (SSI) of the Social Security Act, and Employees who become disabled during the
first 60 days of COBRA continuation coverage, coverage may continue from 18 to 29 months. These
Employees’ Dependents are also eligible for the 18 to 29-month disability extension. (This provision also
applies if any covered family member is found to be disabled.) This provision would only apply if the
qualified beneficiary provides notice of disability status within 60 days of the disabling determination. In
these cases, the Employer can charge 150% of premium for months 19 through 29. This would allow
health coverage to be provided in the period between the end of 18 months and the time that Medicare
begins coverage for the disabled at 29 months. (If a qualified beneficiary is determined by the Social
Security Administration to no longer be disabled, such qualified beneficiary must notify the Plan
Administrator of that fact in writing within 30 days after the Social Security Administration’s determination.)

Trade Adjustment Act Eligible Individual
If you don’t initially elect COBRA coverage and later become eligible for trade adjustment assistance
under the U.S. Trade Act of 1974 due to the same event which caused you to be eligible initially for
COBRA coverage under this Plan, you will be entitled to another 60-day period in which to elect COBRA
coverage. This second 60-day period will commence on the first day of the month on which you become
eligible for trade adjustment assistance. COBRA coverage elected during this second election period will
be effective on the first day of the election period.

When COBRA Coverage Ends
COBRA benefits are available without proof of insurability and coverage will end on the earliest of the
following:

   A covered individual reaches the end of the maximum coverage period;
   A covered individual fails to pay a required premium on time;
   A covered individual becomes covered under any other group health plan after electing COBRA;
   A covered individual becomes entitled to Medicare after electing COBRA; or
   The Group terminates all of its group welfare benefit plans.

Other Coverage Options Besides COBRA Continuation Coverage
Instead of enrolling in COBRA continuation coverage, there may be other coverage options for you and
your family through the Health Insurance Marketplace, Medicaid, or other group health plan coverage
options (such as a spouse’s plan) through what is called a “special enrollment period. Some of these
options may cost less than COBRA continuation coverage. You can learn more about many of these
options at www.healthcare.gov.




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Continuation of Coverage Due To Military Service
Under the Uniformed Services Employment and Reemployment Rights Act of 1994 (USERRA), the
Member may have a right to continuation of benefits subject to the conditions described below.

Under USERRA, if the Employee (or his or her Dependents) is covered under this Plan, and if the
Employee becomes absent from employment by reason of military leave, the Employee (or his or her
Dependents) may have the right to elect to continue health coverage under the plan. In order to be
eligible for coverage during the period that the Employee is gone on military leave, the Employee must
give reasonable notice to the Employer of his or her military leave and the Employee will be entitled to
COBRA-like rights with respect to his or her medical benefits in that the Employee and his or her
Dependents can elect to continue coverage under the plan for a period of 24 months from the date the
military leave commences or, if sooner, the period ending on the day after the deadline for the Employee
to apply for or return to work with the Employer. During military leave the Employee is required to pay the
Employer for the entire cost of such coverage, including any elected Dependents’ coverage. However, if
the Employee’s absence is less than 31 days, the Employer must continue to pay its portion of the
premiums and the Employee is only required to pay his or her share of the premiums without the COBRA-
type 2% administrative surcharge.

Also, when the Employee returns to work, if the Employee meets the requirements specified below,
USERRA states that the Employer must waive any exclusions and waiting periods, even if the Employee
did not elect COBRA continuation. These requirements are (i) the Employee gave reasonable notice to
his or her Employer of military leave, (ii) the military leave cannot exceed a prescribed period (which is
generally five (5) years, except in unusual or extraordinary circumstances) and the Employee must have
received no less than an honorable discharge (or, in the case of an officer, not been sentenced to a
correctional institution), and (iii) the Employee must apply for reemployment or return to work in a timely
manner upon expiration of the military leave (ranging from a single day up to 90 days, depending upon
the period that he or she was gone). The Employee may also have to provide documentation to the
Employer upon reemployment that would confirm eligibility. This protection applies to the Employee upon
reemployment, as well as to any Dependent who has become covered under the Plan by reason of the
Employee’s reinstatement of coverage.

Family and Medical Leave Act of 1993
An Employee may continue membership in the Plan as provided by the Family and Medical Leave Act.
An Employee who has been employed at least one year, within the previous 12 months is eligible to
choose to continue coverage for up to 12 weeks of unpaid leave for the following reasons:
     The birth of the Employee’s child.
     The placement of a child with the Employee for the purpose of adoption or foster care.
     To care for a seriously ill Spouse, child or parent.
     A serious health condition rendering the Employee unable to perform his or her job.

If the Employee chooses to continue coverage during the leave, the Employee will be given the same
health care benefits that would have been provided if the Employee were working, with the same
premium contribution ratio. If the Employee’s premium for continued membership in the Plan is more than
30 days late, the Employer will send written notice to the Employee. It will tell the Employee that his or her
membership will be terminated and what the date of the termination will be if payment is not received by
that date. This notice will be mailed at least 15 days before the termination date.




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If membership in the Plan is discontinued for non-payment of premium, the Employee’s coverage will be
restored to the same level of benefits as those the Employee would have had if the leave had not been
taken and the premium payment(s) had not been missed. This includes coverage for eligible dependents.
The Employee will not be required to meet any qualification requirements imposed by the Plan when he
or she returns to work. This includes: new or additional waiting periods; waiting for an open enrollment
period; or passing a medical exam to reinstate coverage.

Please contact your Human Resources Department for state specific Family and Medical Leave Act
information.

For More Information
This notice does not fully describe the continuation coverage or other rights under the Plan. More
information about continuation coverage and your rights under this Plan is available from the Plan
Administrator.

If you have any questions concerning the information in this notice or your rights to coverage, you should
contact your Employer.

For more information about your rights under ERISA, including COBRA, the Health Insurance Portability
and Accountability Act (HIPAA), and other laws affecting group health plans, contact the U.S Department
of Labor’s Employee Benefits Security Administration (EBSA) in your area, or visit the EBSA website at
www.dol.gov/ebsa.




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                                      General Provisions
Verification of Benefits
Verification of Benefits is available for Members or authorized healthcare Providers on behalf of
Members. You may call Member Services with a benefits inquiry or Verification of Benefits during normal
business hours (7:00 a.m. to 9:00 p.m. eastern time). Please remember that a benefits inquiry or
Verification of Benefits is NOT a Verification of Coverage of a specific medical procedure.

   Verification of Benefits is NOT a guarantee of payment.
   If the verified service requires Precertification, please call the Member Services number listed on your
    Identification Card.

Care Coordination
The Plan will pay In-Network Providers in various ways to provide Covered Services to you. For example,
sometimes the Plan may pay In-Network Providers a separate amount for each Covered Service they
provide. The Plan may also pay them one amount for all Covered Services related to treatment of a
medical condition. Other times, the Plan may pay a periodic, fixed pre-determined amount to cover the
costs of Covered Services. In addition, the Plan may pay In-Network Providers financial incentives or
other amounts to help improve quality of care and/or promote the delivery of health care services in a
cost-efficient manner, or compensate In-Network Providers for coordination of Member care. In some
instances, In-Network Providers may be required to make payment to the Plan because they did not meet
certain standards. You do not share in any payments made by In-Network Providers to the Plan under
these programs.

Clerical Error
A clerical error will never disturb or affect your coverage, as long as your coverage is valid under the rules
of the Plan. This rule applies to any clerical error, regardless of whether it was the fault of the Plan or the
Claims Administrator.

Confidentiality and Release of Information
The Claims Administrator will use reasonable efforts, and take the same care to preserve the
confidentiality of your medical information. Data collected in the course of providing services hereunder
may be used for statistical evaluation and research. If such data is ever released to a third party, it shall
be released only in aggregate statistical form without identifying you. Medical information may be
released only with your written consent or as required by law. It must be signed, dated and must specify
the nature of the information and to which persons and organizations it may be disclosed. You may
access your own medical records.

Your medical information may be released to professional peer review organizations and for purposes of
reporting claims experience or conducting an audit of the Claims Administrator operations, provided the
information disclosed is reasonably necessary to conduct the review or audit.

A statement describing the Plan’s policies and procedures for preserving the confidentiality of medical
records is available and will be furnished to you upon request.




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Conformity with Law
Any term of the Plan which is in conflict with federal laws, will hereby be automatically amended to
conform with the minimum requirements of such laws.

Continuity of Care
If an In-Network Provider who has provided Covered Services to you terminates his or her agreement
with the Claims Administrator, please call the Member Services number listed on your Identification Card.
The Claims Administrator has procedures in place that will allow you to continue to see that Provider for a
limited time. The Claims Administrator can also assist you in selecting another In-Network Provider to
provide your care.

If your In-Network Provider leaves the Claims Administrator’s network because the Claims Administrator
has terminated their contract without cause, and you are in active treatment, you may be able to continue
seeing that Provider for a limited period of time and still get In-Network benefits. “Active treatment”
includes:

1) An ongoing course of treatment for a life-threatening condition;
2) An ongoing course of treatment for a serious acute condition (e.g., chemotherapy, radiation therapy
   and post-operative visits);
3) The second or third trimester of pregnancy and through the postpartum period; or
4) An ongoing course of treatment for a health condition for which the Physician or health care Provider
   attests that discontinuing care by the current Physician or Provider would worsen your condition or
   interfere with anticipated outcomes.

An “ongoing course of treatment” includes treatments for mental health and substance use disorders.

In these cases, you may be able to continue seeing that Provider until treatment is complete, or for 90
days, whichever is shorter. If you wish to continue seeing the same Provider, you or your Doctor should
contact Member Services for details. Any decision by the Claims Administer regarding a request for
Continuity of Care is subject to the appeals process.

Entire Agreement
This Benefit Booklet, the Administrative Services Agreement, the Employer’s application, any Riders,
Endorsements or attachments, and the individual applications of the Subscribers and Members, if any,
constitute the entire agreement between the Claims Administrator and the Employer and as of the
Effective Date, supersede all other agreements between the parties. Any and all statements made to the
Claims Administrator by the Employer, and any and all statements made to the Employer by the Claims
Administrator, are representations and not warranties, and no such statement unless it is contained in a
written application for coverage under the Plan, shall be used in defense to a claim under the Plan.

Form or Content of Benefit Booklet
No agent or employee of the Claims Administrator is authorized to change the form or content of this
Benefit Booklet. Such changes can be made only through an endorsement authorized and signed by an
officer of the Employer.




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Circumstances Beyond the Control of the Plan
The Claims Administrator shall make a good-faith effort to arrange for an alternative method of
administering benefits. In the event of circumstances not within the control of the Claims Administrator or
Employer, including but not limited to: a major disaster, epidemic, the complete or partial destruction of
facilities, riot, civil insurrection, labor disputes not within the control of the Claims Administrator, disability
of a significant part of a Network Provider’s personnel or similar causes, or the rendering of health care
services provided by the Plan is delayed or rendered impractical the Claims Administrator shall make a
good-faith effort to arrange for an alternative method of administering benefits. In such event, the Claims
Administrator and Network Providers shall administer and render services under the Plan insofar as
practical, and according to their best judgment; but the Claims Administrator and Network Providers shall
incur no liability or obligation for delay, or failure to administer or arrange for services if such failure or
delay is caused by such an event.

Government Programs
The benefits under this Plan shall not duplicate any benefits that you are entitled to, or eligible for, under
any other governmental program. This does not apply if any particular laws require the Plan to be the
primary payer. If duplication of such benefits occurs, all money paid by such programs to you for services
you have or are receiving, shall be returned by or on your behalf to the Plan.

Medical Policy and Technology Assessment
The Claims Administrator reviews and evaluates new technology according to its technology evaluation
criteria developed by its medical directors. Technology assessment criteria are used to determine the
Experimental / Investigational status or Medical Necessity of new technology. Guidance and external
validation of the Claims Administrator’s medical policy is provided by the Medical Policy and Technology
Assessment Committee (MPTAC) which consists of approximately 20 Doctors from various medical
specialties including the Claims Administrator’s medical directors, Doctors in academic medicine and
Doctors in private practice.

Conclusions made are incorporated into medical policy used to establish decision protocols for particular
diseases or treatments and applied to Medical Necessity criteria used to determine whether a procedure,
service, supply or equipment is covered.

Medicare
Any benefits covered under both this Plan and Medicare will be covered according to Medicare
Secondary Payer legislation, regulations, and Centers for Medicare & Medicaid Services guidelines,
subject to federal court decisions. Federal law controls whenever there is a conflict among state law,
Benefit Booklet terms, and federal law.

Except when federal law requires the Plan to be the primary payer, the benefits under this Plan for
Members age 65 and older, or Members otherwise eligible for Medicare, do not duplicate any benefit for
which Members are entitled under Medicare, including Part B. Where Medicare is the responsible payer,
all sums payable by Medicare for services provided to you shall be reimbursed by or on your behalf to the
Plan, to the extent that payment was made for such services. For the purposes of the calculation of
benefits, if you have not enrolled in Medicare Part B the Claims Administrator will calculate benefits as if
you had enrolled. You should enroll in Medicare Part B as soon as possible to avoid potential
liability. If you are covered under an active group policy this may not apply to you.




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Governmental Health Care Programs
Under federal law, for groups with 20 or more Employees, all active Employees (regardless of age) can
remain on the Group’s Health Plan and receive group benefits as primary coverage. Also, spouses
(regardless of age) of active Employees can remain on the Group’s Health Plan and receive group
benefits as primary coverage. Direct any questions about Medicare eligibility and enrollment to your local
Social Security Administration office.

Modifications
The Plan Sponsor may change the benefits described in this Benefit Booklet and the Member will be
informed of such changes as required by law. This Benefit Booklet shall be subject to amendment,
modification, and termination in accordance with any of its provisions by the Employer, or by mutual
agreement between the Claims Administrator and the Employer without the consent or concurrence of
any Member. By electing medical and Hospital benefits under the Plan or accepting the Plan benefits, all
Members legally capable of contracting, and the legal representatives of all Members incapable of
contracting, agree to all terms, conditions, and provisions hereof.

Not Liable for Provider Acts or Omissions
The Claims Administrator is not responsible for the actual care you receive from any person. This Benefit
Booklet does not give anyone any claim, right, or cause of action against the Claims Administrator based
on the actions of a Provider of health care, services, or supplies.

Payment Innovation Programs
The Claims Administrator contracts with In-Network Providers through various types of contractual
arrangements. Some of these arrangements – Payment Innovation Programs (Program(s)) – may
include financial incentives to help improve quality of care and promote the delivery of health care
services in a cost-efficient manner.

These Programs may vary in methodology and subject area of focus and may be modified by the Claims
Administrator from time to time, but they will be generally designed to tie a certain portion of an In-
Network Provider’s total compensation to pre-defined quality, cost, efficiency or service standards or
metrics. In some instances, In-Network Providers may be required to make payment to the Claims
Administrator under the Program as a consequence of failing to meet these pre-defined standards.

The Programs are not intended to affect your access to health care. The Program payments are not
made as payment for specific Covered Services provided to you, but instead, are based on the In-
Network Provider’s achievement of these pre-defined standards. You are not responsible for any
Copayment or Coinsurance amounts related to payments made under the Program(s), and you do not
share in any payments made by Network Providers to the Claims Administrator under the Program(s).

Policies and Procedures
The Claims Administrator, on behalf of the Employer, may adopt reasonable policies, procedures, rules
and interpretations to promote the orderly and efficient administration of the Plan with which a Member
shall comply.




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Under the terms of the Administrative Service Agreement with your Employer, the Claims Administrator
has the authority, in its discretion, to institute from time to time, utilization management, care
management, disease management or wellness pilot initiatives in certain designated geographic areas.
These pilot initiatives are part of the Claims Administrator's ongoing effort to find innovative ways to make
available high quality and more affordable healthcare. A pilot initiative may affect some, but not all
Members under the Plan. These programs will not result in the payment of benefits which are not
provided in the Employer's Group Health Plan, unless otherwise agreed to by the Employer. The Claim's
Administrator reserves the right to discontinue a pilot initiative at any time without advance notice to
Employer.

Program Incentives
The Claims Administrator may offer incentives from time to time, at its discretion, in order to introduce you
to covered programs and services available under this Plan. The purpose of these incentives include, but
is not limited to, making you aware of cost effective benefit options or services, helping you achieve your
best health, and encouraging you to update member-related information. These incentives may be
offered in various forms such as retailer coupons, gift cards, health related merchandise, and discounts
on fees or Member cost shares. Acceptance of these incentives is voluntary as long as Anthem offers the
incentives program. The Claims Administrator may discontinue an incentive for a particular covered
program or service at any time. If you have any questions about whether receipt of an incentive or
retailer coupon results in taxable income to you, we recommend that you consult your tax advisor.

Relationship of Parties (Employer-Member Claims Administrator)
Neither the Employer nor any Member is the agent or representative of the Claims Administrator.

The Employer is fiduciary agent of the Member. The Claims Administrator’s notice to the Employer will
constitute effective notice to the Member. It is the Employer’s duty to notify the Claims Administrator of
eligibility data in a timely manner. The Claims Administrator is not responsible for payment of Covered
Services of Members if the Employer fails to provide the Claims Administrator with timely notification of
Member enrollments or terminations.

Anthem Blue Cross and Blue Shield Note
The Employer, on behalf of itself and its Members, hereby expressly acknowledges its understanding that
the Administrative Services Agreement (which includes this Benefit Booklet) constitutes a contract solely
between the Employer and Anthem Blue Cross and Blue Shield. (Anthem), and that Anthem is an
independent corporation licensed to use the Blue Cross and Blue Shield names and marks in the State of
Georgia. The Blue Cross and Blue Shield marks are registered by the Blue Cross and Blue Shield
Association, an association of independently licensed Blue Cross and Blue Shield plans,with the U.S.
Patent and Trademark Office in Washington, D.C. and in other countries. Further, Anthem is not
contracting as the agent of the Blue Cross and Blue Shield Association or any other Blue Cross and/or
Blue Shield Plan or licensee. This paragraph shall not create any additional obligations whatsoever on
the part of Anthem other than those obligations created under other provisions of the Administrative
Services Agreement or this Benefit Booklet.

Employer’s Sole Discretion
The Employer may, in its sole discretion, cover services and supplies not specifically covered by the Plan.
This applies if the Employer, with advice from the Claims Administrator, determines such services and
supplies are in lieu of more expensive services and supplies which would otherwise be required for the
care and treatment of a Member.




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Reservation of Discretionary Authority
The Claims Administrator shall have all the powers necessary or appropriate to enable it to carry out its
duties in connection with the operation of the Plan and interpretation of the Benefit Booklet. This
includes, without limitation, the power to construe the Administrative Services Agreement, to determine all
questions arising under the Plan, to resolve Member Appeals and to make, establish and amend the
rules, regulations and procedures with regard to the interpretation of the Benefit Booklet of the Plan. A
specific limitation or exclusion will override more general benefit language. Anthem has complete
discretion to interpret the Benefit Booklet. The Claims Administrator’s determination shall be final and
conclusive and may include, without limitation, determination of whether the services, treatment, or
supplies are Medically Necessary, Experimental/Investigative, whether surgery is cosmetic, and whether
charges are consistent with the Plan's Maximum Allowed Amount. A Member may utilize all applicable
Appeals procedures.

Right of Recovery and Adjustment
Whenever payment has been made in error, the Plan will have the right to recover such payment from
you or, if applicable, the Provider or otherwise make appropriate adjustment to claims. In most instances
such recovery or adjustment activity shall be limited to the calendar year in which the error is discovered.
The Claims Administrator has oversight responsibility for compliance with Provider and vendor contracts.
The Contract Administrator may enter into a settlement or compromise regarding enforcement of these
contracts and may retain any recoveries made from a Provider or vendor resulting from these audits if the
return of the overpayment is not feasible. Additionally, the Contract Administrator has established
recovery and adjustment policies to determine which recoveries and adjustments are to be pursued,
when to incur costs and expenses and settle or compromise recovery or adjustment amounts. The
Claims Administrator will not pursue recoveries for overpayments or adjustments for underpayments if the
cost of the activity exceeds the overpayment or underpayment amount.

Unauthorized Use of Identification Card
If you permit your Identification Card to be used by someone else or if you use the card before coverage
is in effect or after coverage has ended, you will be liable for payment of any expenses incurred resulting
from the unauthorized use. Fraudulent misuse could also result in termination of the coverage.

Fraud
Fraudulent statements on Plan enrollment forms or on electronic submissions will invalidate any payment
or claims for services and be grounds for voiding the Member’s coverage.

Value-Added Programs
The Claims Administrator may offer health or fitness related programs to Members, through which you
may access discounted rates from certain vendors for products and services available to the general
public. Products and services available under this program are not Covered Services under your Plan but
are in addition to Plan benefits. As such, program features are not guaranteed under your health Plan
Contract and could be discontinued at any time. The Claims Administrator does not endorse any vendor,
product or service associated with this program. Program vendors are solely responsible for the products
and services you receive.




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Value of Covered Services
For purposes of subrogation, reimbursement of excess benefits, or reimbursement under any Worker's
Compensation or Employer Liability Law, the value of Covered Services shall be the amount paid for the
Covered Services.

Voluntary Clinical Quality Programs
The Claims Administrator may offer additional opportunities to assist you in obtaining certain covered
preventive or other care (e.g., well child check-ups or certain laboratory screening tests) that you have not
received in the recommended timeframe. These opportunities are called voluntary clinical quality
programs. They are designed to encourage you to get certain care when you need it and are separate
from Covered Services under your Plan. These programs are not guaranteed and could be discontinued
at any time. The Claims Administrator will give you the choice and if you choose to participate in one of
these programs, and obtain the recommended care within the program’s timeframe, you may receive
incentives such as gift cards or retailer coupons, which the Claims Administrator encourages you to use
for health and wellness related activities or items. Under other clinical quality programs, you may receive
a home test kit that allows you to collect the specimen for certain covered laboratory tests at home and
mail it to the laboratory for processing. You may also be offered a home visit appointment to collect such
specimens and complete biometric screenings. You may need to pay any cost shares that normally apply
to such covered laboratory tests (e.g., those applicable to the laboratory processing fee) but will not need
to pay for the home test kit or the home visit. If you have any questions about whether receipt of a gift
card or retailer coupon results in taxable income to you, please consult tax advisor.

Waiver
No agent or other person, except an authorized officer of the Employer, is able to disregard any
conditions or restrictions contained in this Booklet, to extend the amount of time for making a payment to
the Plan, or to bind the Plan by making any promise or representation or by giving or receiving any
information.

Worker’s Compensation
The benefits under this Plan are not designed to duplicate benefits that you are eligible for under
Worker’s Compensation Law. All money paid or owed by Worker’s Compensation for services provided
to you shall be paid back by, or on your behalf to the Plan if it has made payment for the services
received. It is understood that coverage under this Plan does not replace or affect any Worker’s
Compensation coverage requirements.

Acts Beyond Reasonable Control (Force Majeure)
Should the performance of any act required by this coverage be prevented or delayed by reason of any
act of God, strike, lock-out, labor troubles, restrictive government laws or regulations, or any other cause
beyond a party’s control, the time for the performance of the act will be extended for a period equivalent
to the period of delay, and non-performance of the act during the period of delay will be excused. In such
an event, however, all parties shall use reasonable efforts to perform their respective obligations.

The Claims Administrator will adhere to the Plan Sponsor’s instructions and allow the Plan Sponsor to
meet all of the Plan Sponsor’s responsibilities under applicable state and federal law. It is the Plan
Sponsor’s responsibility to adhere to all applicable state and federal laws and the Claims Administrator
does not assume any responsibility for compliance.




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                                                Definitions
If a word or phrase in this Benefit Booklet has a special meaning, such as Medical Necessity or
Experimental / Investigational, it will start with a capital letter, and be defined below. If you have
questions on any of these definitions, please call Member Services at the number on the back of your
Identification Card.

Accidental Injury
An unexpected Injury for which you need Covered Services while enrolled in this Plan. It does not include
injuries that you get benefits for under any Workers’ Compensation, Employer’s liability or similar law.

Administrative Services Agreement
The agreement between the Claims Administrator and the Employer regarding the administration of
certain elements of the health care benefits of the Employer's Group Health Plan.

Ambulatory Surgical Facility
A Facility, with a staff of Doctors, that:

1. Is licensed where required;
2. Has permanent facilities and equipment to perform surgical procedures on an Outpatient basis;
3. Gives treatment by or under the supervision of Doctors and nursing services when the patient is in
   the Facility;
4. Does not have Inpatient accommodations; and
5. Is not, other than incidentally, used as an office or clinic for the private practice of a Doctor or other
   professional Provider.

Appeals (Grievance)
Please see the “Your Right To Appeal” section.

Applied Behavior Analysis
The design, implementation, and evaluation of environmental modifications, using behavioral stimuli and
consequences to produce socially significant improvement in human behavior, including the use of direct
observation, measurement, and functional analysis of the relationship between environment and
behavior.

Authorized Service(s)
A Covered Service you get from an Out-of-Network Provider that the Claims Administrator has agreed to
cover at the In-Network level. You will have to pay any In-Network Deductible, Coinsurance, and/or
Copayment(s) that apply, and may also have to pay the difference between the Maximum Allowed
Amount and the Out-of-Network Provider’s charge. Please see “Claims Payment” for more details.

Benefit Booklet
This document. The Benefit Booklet provides you with a description of your benefits while you are
enrolled under the Plan.




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Benefit Period
The length of time that the Plan will cover benefits for Covered Services. For Calendar Year plans, the
Benefit Period starts on January 1st and ends on December 31st. For Plan Year plans, the Benefit Period
begins on your Plan’s effective or renewal date and lasts for 12 months. The “Schedule of Benefits”
shows if your Plan’s Benefit Period is a Calendar Year or a Plan Year. If your coverage ends before the
end of the year, then your Benefit Period also ends.

Benefit Period Maximum
The maximum amount that the Plan will pay for specific Covered Services during a Benefit Period.

Biosimilar/Biosimilars
A type of biological product that is licensed (approved) by FDA because it is highly similar to an already
FDA-approved biological product, known as the biological reference product (reference product), and has
been shown to have no clinically meaningful differences from the reference product.

Brand Name Drug
Prescription Drugs that the Claims Administrator classifies as Brand Name Drugs or that the PBM has
classified as Brand Name Drugs through use of an independent proprietary industry database.

Centers of Excellence (COE) Network
A network of health care facilities, which have been selected to give specific services to Members based
on their experience, outcomes, efficiency, and effectiveness. An In-Network Provider under this Plan is
not necessarily a COE. To be a COE, the Provider must have a Center of Excellence Agreement with the
Claims Administrator.

Claims Administrator
The company the Plan Sponsor chose to administer its health benefits. Anthem Blue Cross and Blue
Shield was chosen to administer this Plan. The Claims Administrator provides administrative claims
payment services only and does not assume any financial risk or obligation with respect to claims.

Coinsurance
Your share of the cost for Covered Services, which is a percent of the Maximum Allowed Amount. You
normally pay Coinsurance after you meet your Deductible. For example, if your Plan lists 20%
Coinsurance on office visits, and the Maximum Allowed Amount is $100, your Coinsurance would be $20
after you meet the Deductible. The Plan would then cover the rest of the Maximum Allowed Amount.
See the “Schedule of Benefits” for details.     Your Coinsurance will not be reduced by any refunds,
rebates, or any other form of negotiated post-payment adjustments.

Complications of Pregnancy
Complications of Pregnancy result from conditions requiring Hospital confinement when the pregnancy is
not terminated. The diagnoses of the complications are distinct from pregnancy but adversely affected or
caused by pregnancy.

Such conditions include acute nephritis, nephrosis, cardiac decompensation, missed or threatened
abortion, preeclampsia, intrauterine fetal growth retardation and similar medical and surgical conditions of
comparable severity. An ectopic pregnancy which is terminated is also considered a Complication of
Pregnancy.




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Complications of Pregnancy shall not include false labor, caesarean section, occasional spotting, Doctor
prescribed rest during the period of pregnancy, morning sickness, hyperemesis gravidarum and similar
conditions associated with the management of a difficult pregnancy which are not diagnosed distinctly as
Complications of Pregnancy.

Controlled Substances
Drugs and other substances that are considered controlled substances under the Controlled Substances
Act (CSA) which are divided into five schedules.

Copayment
A fixed amount you pay toward a Covered Service. You normally have to pay the Copayment when you
get health care. The amount can vary by the type of Covered Service you get. For example, you may
have to pay a $15 Copayment for an office visit, but a $150 Copayment for Emergency Room Services.
See the “Schedule of Benefits” for details. Your Copayment will be the lesser of the amount shown in the
“Schedule of Benefits” or the Maximum Allowed Amount.

Covered Services
Health care services, supplies, or treatment described in this Benefit Booklet that are given to you by a
Provider. To be a Covered Service the service, supply or treatment must be:

   Medically Necessary or specifically included as a benefit under this Benefit Booklet.
   Within the scope of the Provider’s license.
   Given while you are covered under the Plan.
   Not Experimental / Investigative, excluded, or limited by this Benefit Booklet, or by any amendment or
    rider to this Benefit Booklet.
   Approved by the Claims Administrator before you get the service if prior authorization is needed.

A charge for a Covered Service will only apply on the date the service, supply, or treatment was given to
you.

The date for applying Deductible and other cost shares for an Inpatient stay is the date you enter the
Facility except as described in the “Termination and Continuation of Coverage” section.

Covered Services do not include services or supplies not described in the Provider records.

Covered Transplant Procedure
Please see the “What’s Covered” section for details.

Custodial Care
Any type of care, including room and board, that (a) does not require the skills of professional or technical
workers; (b) is not given to you or supervised by such workers or does not meet the rules for post-
Hospital Skilled Nursing Facility care; (c) is given when you have already reached the greatest level of
physical or mental health and are not likely to improve further.

Custodial Care includes any type of care meant to help you with activities of daily living that does not
require the skill of trained medical or paramedical workers. Examples of Custodial Care include:

    1.   Help in walking, getting in and out of bed, bathing, dressing, eating, or using the toilet,
    2.   Changing dressings of non-infected wounds, after surgery or chronic conditions,
    3.   Preparing meals and/or special diets,
    4.   Feeding by utensil, tube, or gastrostomy,
    5.   Common skin and nail care,



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    6. Supervising medicine that you can take yourself,
    7. Catheter care, general colostomy or ileostomy care,
    8. Routine services which the Plan decides can be safely done by you or a non-medical person
        without the help of trained medical and paramedical workers,
    9. Residential care and adult day care,
    10. Protective and supportive care, including education,
    11. Rest and convalescent care.

Care can be Custodial even if it is recommended by a professional or performed in a Facility, such as in a
Hospital or Skilled Nursing Facility, or at home.

Deductible
The amount you must pay for Covered Services before benefits begin under this Plan. For example, if
your Deductible is $1,000, your Plan won’t cover anything until you meet the $1,000 Deductible. The
Deductible may not apply to all Covered Services. Please see the “Schedule of Benefits” for details.

Dependent
A Member of the Subscriber’s family who meets the rules listed in the “Eligibility and Enrollment – Adding
Members” section of this Benefit Booklet and who has enrolled in the Plan. Eligible Dependents are also
referred to as Members.

Designated Pharmacy Provider
An In-Network Pharmacy that has executed a Designated Pharmacy Provider Agreement with the Claims
Administrator or an In-Network Provider that is designated to provide Prescription Drugs, including
Specialty Drugs, to treat certain conditions.

Doctor
See the definition of “Physician.”

Domestic Partner
Domestic Partner means your Domestic Partner who meets all the requirements on a Declaration of
Domestic Partnership Form. You and your Domestic Partner must submit an accurate and completed
Declaration of Partnership Form, and meet all the requirements listed on this form. Continued eligibility of
your Domestic Partner depends upon the continuing accuracy of this form. Domestic Partner eligibility
ends on the date a Domestic Partner no longer meets all the requirements listed on this form. Please see
the “Eligibility and Enrollment – Adding Members” section.

Effective Date
The date your coverage begins under this Plan.

Emergency (Emergency Medical Condition)
Please see the “What’s Covered” section.

Emergency Care
Please see the “What’s Covered” section.

Employee
A person who is engaged in active employment with the Employer and is eligible for Plan coverage under
the employment regulations of the Employer. The Employee is also called the Subscriber.



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Employer
An Employer who has allowed its Employees to participate in the Plan by acting as the Plan Sponsor or
adopting the Plan as a participating Employer by executing a formal document that so provides.

Enrollment Date
The first day you are covered under the Plan or, if the Plan imposes a waiting period, the first day of your
waiting period.

Excluded Services (Exclusion)
Health care services your Plan doesn’t cover.

Experimental or Investigational
Services which are considered Experimental or Investigational include services which (1) have not been
approved by the Federal Food and Drug Administration or (2) for which medical and scientific evidence
does not demonstrate that the expected benefits of the proposed treatment would be greater than the
benefits of any available standard treatment and that adverse risks of the proposed treatment will not be
substantially increased over those standard treatments. Such determination must result from prudent
professional practices and be supported by at least two documents of medical and scientific evidence.
Medical and scientific evidence means:
 Peer-reviewed scientific studies published in or accepted for publication by medical journals that meet
    nationally recognized requirements for scientific manuscripts and that submit most of their published
    articles for review by experts who are not part of the editorial staff;
 Peer-reviewed literature, biomedical compendia, and other medical literature that meet the criteria of
    the National Institutes of Health’s National Library of Medicine for indexing in Index Medicus,
    Excerpta Medikcus (EMBASE), Medline, and MEDLARS data base or Health Services Technology
    Assessment Research (HSTAR);
 Medical journals recognized by the United States Secretary of Health and Human Services, under
    Section 18961 (t)(2) of the Social Security Act;
 The following standard reference compendia: the American Hospital Formulary Service-Drug
    Information, the American Medical Association Drug Evaluation, the American Dental Association
    Accepted Dental Therapeutics, and the United States Pharmacopoeia-Drug Information;
 Findings, studies, or research conducted by or under the auspices of federal government agencies
    and nationally recognized federal research institutes including the Federal Agency for Health Care
    Policy and Research, National Institutes of Health, National Cancer Institute, National Academy of
    Sciences, Health Care Financing Administration, and any national board recognized by the National
    Institutes of Health for the purpose of evaluating the medical value of health services; or
 It meets the following five technology assessment criteria:
     The technology must have final approval from the appropriate government regulatory bodies.
     The scientific evidence must permit conclusions concerning the effect of the technology of health
         outcomes.
     The technology must improve the net health outcome.
     The technology must be as beneficial as any established alternative.
     The technology must be beneficial in practice.

Facility
A facility including but not limited to, a Hospital, freestanding Ambulatory Surgical Facility, Chemical
Dependency Treatment Facility, Residential Treatment Center, Skilled Nursing Facility, Home Health
Care Agency or mental health facility, as defined in this Benefit Booklet. The Facility must be licensed,
accredited, registered or approved by the Joint Commission or the Commission on Accreditation of
Rehabilitation Facilities (CARF), as applicable or meet specific rules set by the Claims Administrator.




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Formulary (Drug List)
Documents setting forth certain rules relating to the coverage of Prescription Drugs and prescription
vision products by the Claims Administrator that may include but not be limited to (1) a listing of preferred
and non-preferred prescription medications and vision products that are covered and/or prioritized in
order of preference by the Claims Administrator, and are dispensed to you through pharmacies or vision
care suppliers that are In-Network Providers, and (2) pre-certification rules. This list is subject to periodic
review and modification by the Claims Administrator, at its sole discretion. Charges for medications or
vision products may not be Covered Services, in whole or in part, if you select a medication or vision
product not included in the Formulary.

Generic Drugs
Prescription Drugs that the Claims Administrator classifies as Generic Drugs or that the PBM has
classified as Generic Drugs through use of an independent proprietary industry database Generic Drugs
have the same active ingredients, must meet the same FDA rules for safety, purity and potency, and must
be dispensed in the same dosage form (tablet, capsule, cream) as the Brand Name Drug.

Health Plan or Plan
An Employee welfare benefit plan as defined in Section 3(1) of ERISA, established by the Employer, in
effect as of the Effective Date.

Home Health Care Agency
A Facility, licensed in the state in which it is located, that:

1) Gives skilled nursing and other services on a visiting basis in your home; and
2) Supervises the delivery of such services under a plan prescribed and approved in writing by the
   attending Doctor.

Hospice
A Provider that gives care to terminally ill patients and their families, either directly or on a consulting
basis with the patient’s Doctor. It must be licensed by the appropriate agency.

Hospital
A Provider licensed and operated as required by law which has:

1.   Room, board and nursing care;
2.   A staff with one or more Doctors on hand at all times;
3.   24 hour nursing service;
4.   All the facilities on site are needed to diagnose, care, and treat an illness or injury; and
5.   Is fully accredited by the Joint Commission.

The term Hospital does not include a Provider, or that part of a Provider, used mainly for:

       1.   Nursing care
       2.   Rest care
       3.   Convalescent care
       4.   Care of the aged
       5.   Custodial Care
       6.   Educational care
       7.   Subacute care




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Identification Card
The latest card given to you showing your identification and group numbers, the type of coverage you
have and the date coverage became effective.

In-Network Provider
A Provider that has a contract, either directly or indirectly, with the Claims Administrator, or another
organization, to give Covered Services to Members through negotiated payment arrangements. A
Provider that is In-Network for one plan may not be In-Network for another. Please see “How to Find a
Provider in the Network” in the section “How Your Plan Works” for more information on how to find an In-
Network Provider for this Plan.

In-Network Transplant Provider
Please see the “What’s Covered” section for details.

Inpatient
A Member who is treated as a registered bed patient in a Hospital and for whom a room and board
charge is made.

Intensive In-Home Behavioral Health Program
A range of therapy services provided in the home to address symptoms and behaviors that, as the result
of a mental disorder or substance use disorder, put the Members and others at risk of harm.

Intensive Outpatient Program
Structured, multidisciplinary behavioral health treatment that provides a combination of individual, group
and family therapy in a program that operates no less than 3 hours per day, 3 days per week.

Interchangeable Biologic Product
A type of biological product that is licensed (approved) by FDA because it is highly similar to an already
FDA-approved biological product, known as the biological reference product (reference product), and has
been shown to have no clinically meaningful differences from the reference product. In addition to
meeting the biosimilarity standard, it is expected to produce the same clinical result as the reference
product in any given patient.

Late Enrollees
Employees or Dependents who enroll in the Plan after the initial enrollment period. A person will not be
considered a Late Enrollee if he or she enrolls during a Special Enrollment period. Please see the
“Eligibility and Enrollment – Adding Members” section for further details.

Maintenance Medications
Please refer to the “Prescription Drug at a Retail or Home Delivery (Mail Order) Pharmacy” section for
details.

Maintenance Pharmacy
An In-Network Retail Pharmacy that is contracted with the Claims Administrator’s PBM to dispense a 90
day supply of Maintenance Medication.




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Maximum Allowed Amount
The maximum payment that the Claims Administrator will allow for Covered Services.                 For more
information, see the “Claims Payment” section.

Medical Necessity (Medically Necessary)
The Claims Administrator reserves the right to determine whether a service or supply is Medically
Necessary. The fact that a Doctor has prescribed, ordered, recommended or approved a service or
supply does not, in itself, make it Medically Necessary. The Claims Administrator considers a service
Medically Necessary if it is:
 appropriate and consistent with the diagnosis and the omission of which could adversely affect or fail
   to improve the patient’s condition;
 compatible with the standards of acceptable medical practice in the United States;
 not provided solely for your convenience or the convenience of the Doctor, health care provider or
   Hospital;
 not primarily Custodial Care;
 provided in a safe and appropriate setting given the nature of the diagnosis and the severity of the
   symptoms. For example, a Hospital stay is necessary when treatment cannot be safely provided on
   an outpatient basis; and
 cost-effective compared to alternative interventions, including no intervention. Cost effective does not
   always mean lowest cost. It does mean that as to the diagnosis or treatment of the Member’s illness,
   injury or disease, the service is: (1) not more costly than an alternative service or sequence of
   services that is medically appropriate, or (2) the service is performed in the least costly setting that is
   medically appropriate.

Member
People, including the Subscriber and his or her Dependents, who have met the eligibility rules, applied for
coverage, and enrolled in the Plan. Members are called “you” and “your” in this Benefit Booklet.

Mental Health and Substance Abuse
A condition that is listed in the current edition of the Diagnostic and Statistical Manual of Mental Disorders
(DSM) as a mental health or substance abuse condition.

Non-Preferred Provider
A Hospital, Freestanding Ambulatory Facility (Surgical Center), Doctor, Skilled Nursing Facility, Hospice,
Home Health Care Agency, other medical practitioner or Provider of medical services or supplies, that
does not have a Point of Service Contract with Contract with the Claims Administrator but is contracted
with the Claims Administrator’s indemnity network.

Out-of-Network benefits apply when Covered Services are rendered by a Non-Preferred Provider.
Please see the “Important Note” in the Claims Payment section of this Booklet concerning Non-
Preferred Providers effective January 1, 2019.

Open Enrollment
A period of time in which eligible people or their dependents can enroll without penalty after the initial
enrollment. See the "Eligibility and Enrollment – Adding Members" section for more details.

Out-of-Network Provider
A Provider that does not have an agreement or contract with the Claims, or the Claims Administrator’s
subcontractor(s), to give services to Members under this Plan.




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You will often get a lower level of benefits when you use Out-of-Network Providers.

Out-of-Pocket Limit
The most you pay in Copayments, Deductibles, and Coinsurance during a Benefit Period for Covered
Services. The Out-of-Pocket limit does not include your premium, amounts over the Maximum Allowed
Amount, or charges for health care that your Plan doesn’t cover. Please see the “Schedule of Benefits”
for details.

Partial Hospitalization Program
Structured, multidisciplinary behavioral health treatment that offers nursing care and active individual,
group and family treatment in a program that operates no less than 6 hours per day, 5 days per week.

Pharmacy
A place licensed by state law where you can get Prescription Drugs and other medicines from a licensed
pharmacist when you have a prescription from your Doctor.

Pharmacy and Therapeutics (P&T) Process
A process to make clinically based recommendations that will help you access quality, low cost medicines
within your Plan. The process includes health care professionals such as nurses, pharmacists, and
Doctors. The committees of the National Pharmacy and Therapeutics Process meet regularly to talk
about and find the clinical and financial value of medicines for Members. This process first evaluates the
clinical evidence of each product under review. The clinical review is then combined with an in-depth
review of the market dynamics, Member impact and financial value to make choices for the formulary.
Programs may include, but are not limited to, Prescription Drug utilization programs, prior authorization
criteria, therapeutic conversion programs, cross-branded initiatives, and Prescription Drug profiling
initiatives.

Pharmacy Benefits Manager (PBM)
A Pharmacy benefits management company that manages Pharmacy benefits on the Claims
Administrator’s behalf. The Claims Administrator’s PBM has a nationwide network of Retail Pharmacies,
a Home Delivery Pharmacy, and clinical services that include Prescription Drug List management.

The management and other services the PBM provides include, but are not limited to: managing a
network of Retail Pharmacies and operating a mail service Pharmacy. The Claims Administrator’s PBM,
in consultation with the Claims Administrator, also provides services to promote and assist Members in
the appropriate use of Pharmacy benefits, such as review for possible excessive use, proper dosage,
drug interactions or drug/pregnancy concerns.

Physician (Doctor)
Includes the following when licensed by law:

   Doctor of Medicine (M.D.), legally entitled to practice medicine and perform surgery,
   Doctor of Osteopathy (D.O.), legally licensed to perform the duties of a D.O.,
   Doctor of Chiropractic (D.C.), legally licensed to perform the duties of a chiropractor;
   Doctor of Podiatric Medicine (D.P.M.), legally entitled to practice podiatry, and
   Doctor of Dental Medicine (D.D.M.), Doctor of Dental Surgery (D.D.S.), legally entitled to provide
    dental services.

Optometrists, Clinical Psychologists (PhD), and surgical chiropodists are also Providers when legally
licensed and giving Covered Services within the scope of their licenses.




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Plan
The arrangement chosen by the Plan Sponsor to fund and provide for delivery of the Employer’s health
benefits.

Plan Administrator
The person or entity named by the Plan Sponsor to manage the Plan and answer questions about Plan
details. The Plan Administrator is not the Claims Administrator.

Plan Sponsor
The legal entity that has adopted the Plan and has authority regarding its operation, amendment and
termination. The Plan Sponsor is not the Claims Administrator.

Precertification
Please see the section “Getting Approval for Benefits” for details.

Predetermination
Please see the section “Getting Approval for Benefits” for details.

Prescription Drug (Drug) (Also referred to as Legend Drug)
A medicine that is approved by the Food & Drug Administration to treat illness or injury. Under the
Federal Food, Drug & Cosmetic Act, such substances must bear a message on its original packing label
that says, “Caution: Federal law prohibits dispensing without a prescription.” This includes the following:

    1)  Compounded (combination) medications, when all of the ingredients are FDA-approved, as
       designated in the FDA’s Orange Book: Approved Drug Products with Therapeutic Equivalence
       Evaluations, require a prescription to dispense, and are not essentially the same as an FDA-
       approved product from a drug manufacturer.
    2) Insulin, diabetic supplies, and syringes.

Prescription Order
A written request by a Provider, as permitted by law, for a Prescription Drug or medication, and each
authorized refill.

Primary Care Physician (“PCP”)
A Physician who gives or directs health care services for you. The Physician may work in family practice,
general practice, internal medicine, pediatrics, geriatrics or any other practice allowed by the Plan.

Primary Care Provider
A Physician, nurse practitioner, clinical nurse specialist, physician assistant, or any other Provider
licensed by law and allowed under the Plan, who gives, directs, or helps you get a range of health care
services.

Prior Authorization
Please see the “Getting Approval for Benefits”, “Prescription Drug Benefit at a Retail or Home Delivery
(Mail Order) Pharmacy”, and “Prescription Drugs Administered by a Medical Provider” sectionsfor details.




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Provider
A professional or Facility licensed by law that gives health care services within the scope of that license
and is approved by the Claims Administrator. Providers that deliver Covered Services are described
throughout this Booklet. If you have a question about a Provider not described in this Benefit Booklet
please call the number on the back of your Identification Card.

Recovery
Please see the “Subrogation and Reimbursement” section for details.

Referral
Please see the “How Your Plan Works” section for details.

Residential Treatment Center / Facility:
A Provider licensed and operated as required by law, which includes:
1. Room, board and skilled nursing care (either an RN or LVN/LPN) available on-site at least eight hours
   daily with 24 hour availability;
2. A staff with one or more Doctors available at all times.
3. Residential treatment takes place in a structured facility-based setting.
4. The resources and programming to adequately diagnose, care and treat a psychiatric and/or
   substance use disorder.
5. Facilities are designated residential, subacute, or intermediate care and may occur in care systems
   that provide multiple levels of care.
6. Is fully accredited by The Joint Commission (TJC), the Commission on Accreditation of Rehabilitation
   Facilities (CARF), the National Integrated Accreditation for Healthcare Organizations (NIAHO), or the
   Council on Accreditation (COA)

The term Residential Treatment Center/Facility does not include a Provider, or that part of a Provider,
used mainly for:

1.   Nursing care
2.   Rest care
3.   Convalescent care
4.   Care of the aged
5.   Custodial Care
6.   Educational care

Retail Health Clinic
A Facility that gives limited basic health care services to Members on a “walk-in” basis. These clinics are
often found in major pharmacies or retail stores. Medical services are typically given by Physician
Assistants and nurse practitioners.

Skilled Nursing Facility
A Facility operated alone or with a Hospital that cares for you after a Hospital stay when you have a
condition that needs more care than can get at home. It must be licensed by the appropriate agency and
accredited by the Joint Commission or the Bureau of Hospitals of the American Osteopathic Association,
or otherwise approved by the Claims Administrator. A Skilled Nursing Facility gives the following:

1. Inpatient care and treatment for people who are recovering from an illness or injury;
2. Care supervised by a Doctor;
3. 24 hour per day nursing care supervised by a full-time registered nurse.




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A Skilled Nursing Facility is not a place mainly for care of the aged, Custodial Care or domiciliary care,
treatment of alcohol or drug dependency; or a place for rest, educational, or similar services.

Special Enrollment
A period of time in which eligible people or their dependents can enroll after the initial enrollment, typically
due to an event such as marriage, birth, adoption, etc. See the “Eligibility and Enrollment – Adding
Members” section for more details.

Specialist (Specialty Care Physician / Provider or SCP)
A Specialist is a Doctor who focuses on a specific area of medicine or group of patients to diagnose,
manage, prevent, or treat certain types of symptoms and conditions. A non-Physician Specialist is a
Provider who has added training in a specific area of health care.

Specialty Drugs
Drugs that typically need close supervision and checking of their effect on the patient by a medical
professional. These drugs often need special handling, such as temperature-controlled packaging and
overnight delivery, and are often not available at retail pharmacies. They may be administered in many
forms including, but not limited to, injectable, infused, oral and inhaled.

Subscriber
A person who is engaged in active employment with the Employer (the Employee) and is eligible for Plan
coverage under the employment regulations of the Employer.

Telemedicine Medical Service
A health care medical service initiated by a Doctor or provided by a health care professional, the
diagnosis, treatment or consultation by a Doctor, or the transfer of medical data that requires the use of
advanced communications technology, other than by phone or fax including:

   Compressed digital interactive video, audio, or data transmission.

   Clinical data transmission using computer imaging by way of still-image capture; and,

   Other technology that facilitates access to healthcare services or medical specialty expertise.

Neither a telephone conversation nor an electronic mail message between a healthcare practitioner and a
patient is telemedicine.

Transplant Benefit Period
Please see the “What’s Covered” section for details.

Transplant Providers
    Network Transplant Provider - A Provider that has been designated as a “Center of Excellence” for
    Transplants by the Claims Administrator and/or a Provider selected to participate as a Network
    Transplant Provider by the Blue Cross and Blue Shield Association. Such Provider has entered into a
    transplant provider agreement to render Covered Transplant Procedures and certain administrative
    functions to you for the transplant network. A Provider may be a Network Transplant Provider with
    respect to:
     certain Covered Transplant Procedures; or
     all Covered Transplant Procedures.




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    Out-of-Network Transplant Provider - Any Provider that has NOT been designated as a “Center of
    Excellence” for Transplants by the Claims Administrator nor has not been selected to participate as a
    Network Transplant Provider by the Blue Cross and Blue Shield Association.

    Blue Distinction Center (BDC) Facility: Blue Distinction facilities have met or exceeded national
    quality standards for care delivery (quality only).
    Blue Distinction Center+ (BDC+) Facility: Blue Distinction+ facilities have met or exceeded national
    quality standards for care delivery AND have demonstrated that they operate more efficiently(quality
    and cost).
    Designated Transplant Provider: A provider who has achieved designation as a Blue Distinction
    Center+ or Blue Distinction Center for Transplant Procedures.
    In-Network Transplant Provider: Hospitals participating in the network but are NOT designated as
    either Blue Distinction Center+ or Blue Distinction Center).

    Out-of-Network Transplant Provider: Any Provider that does --
                                                               not hold a contractual agreement with
    the Claims Administrator to provide Transplant services.

Urgent Care Center
A licensed health care Facility that is separate from a Hospital and whose main purpose is giving
immediate, short-term medical care, without an appointment, for urgent care.

Utilization Review
Evaluation of the necessity, quality, effectiveness, or efficiency of medical or behavioral health services,
Prescription Drugs (as set forth in the section Prescription Drugs Administered by a Medical Provider),
procedures, and/or facilities.




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